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             8                                       UNITED STATES DISTRICT COURT
             9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                               SAN FRANCISCO DIVISION
           11
           12    Păun Gabriel-Razvan,                                          Case No. 3:20-cv-08034
           13                                                                  COMPLAINT FOR CONSPIRACY TO
                                         Plaintiff,                            CONDUCT AND CONDUCTING
           14                                                                  ENTERPRISE’S AFFAIRS THROUGH
                                                                               A PATTERN OF RACKETEERING
           15                                                                  ACTIVITY IN VIOLATION OF 18
                                 v.                                            U.S.C. §§ 1962(d) AND (c) (RICO),
           16                                                                  CRYPTOCURRENCY MARKET
                                                                               MANIPULATION IN VIOLATION OF 7
           17                                                                  U.S.C. § 9(1) (USE OF DECEPTIVE OR
                 HDR Global Trading Limited (A.K.A.                            MANIPULATIVE DEVICE), 7 U.S.C. §§
           18    BitMEX), ABS Global Trading Limited,                          9(3) AND 13(a)(2) (PRICE
                 Grape Park LLC, Mark Sweep LLC,                               MANIPULATION), PRINCIPAL
           19    Unknown Exchange, Arthur Hayes, Ben Delo,                     AGENT LIABILITY, AIDING AND
                 Samuel Reed, Agata Maria Reed (A.K.A.                         ABETTING PRICE MANIPULATION
           20    Agata Maria Kasza), Barbara A. Reed and                       IN VIOLATION OF 7 U.S.C. § 25(a)(1),
                 Trace L. Reed,                                                NEGLIGENCE, FRAUD, CIVIL
           21                                                                  CONSPIRACY, UNFAIR BUSINESS
                                                                               PRACTICES IN VIOLATION OF CAL.
           22                            Defendants.                           BUS. & PROF. CODE §§ 17200 ET SEQ,
                                                                               UNJUST ENRICHMENT
           23                                                                  (RESTITUTION), CONSTRUCTIVE
                                                                               TRUST, ACCOUNTING,
           24                                                                  CONVERSION, AIDING AND
                                                                               ABETTING CONVERSION, AIDING
           25                                                                  AND ABBETING FRAUD AND
                                                                               VIOLATION OF CAL. PEN. CODE §
           26                                                                  496
           27                                                                  DEMAND FOR JURY TRIAL
           28
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CRYPTOCURRENCY
  ATTORNEYS           COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -1-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                                                                          COMPLAINT
             2
                        Plaintiff Păun Gabriel-Razvan (“Razvan”) (“Plaintiff”), by and through his undersigned
             3
                 attorneys, for his Complaint against Defendant HDR Global Trading Limited (“HDR”),
             4
                 Defendant ABS Global Trading Limited (“ABS”), Defendant Grape Park LLC (“Grape Park”),
             5
                 Defendant Mark Sweep LLC (“Mark Sweep”), Defendant Unknown Exchange (“Unknown
             6
                 Exchange”), Defendant Arthur Hayes (“Hayes”), Defendant Ben Delo (“Delo”), Defendant
             7
                 Samuel Reed (“Reed”), Defendant Agata Maria Reed (A.K.A. Agata Maria Kasza) (“Agata
             8
                 Reed”), Defendant Barbara A. Reed (“Barbara Reed”) and Defendant Trace L. Reed (“Trace
             9
                 Reed”) (collectively “Defendants”) alleges as follows:
           10
                                                        INTRODUCTION
           11          “It just costs more to bribe them.” Defendant Arthur Hayes (about U.S. authorities).
           12           1.         Plaintiff Razvan is informed and believes and thereon alleges that popular
           13    cryptocurrency derivatives exchange platform called Bitcoin Mercantile Exchange or BitMEX
           14    (“BitMEX” or “BitMEX platform”) owned and operated from within this District by Defendants
           15    ABS, HDR, Hayes, Delo and Reed, and each of them, in a brazenly lawless manner, was
           16    deliberately designed from ground up with the purpose to engage in, facilitate, aid, abet, counsel,
           17    induce and/or procure a myriad of illegal activities including, without limitation, racketeering in
           18    violation of 18 U.S.C. §§ 1962(d) and (c) (RICO), wire fraud in violation of 18 U.S.C. § 1343;
           19    money laundering in violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in
           20    property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting,
           21    controlling, managing, supervising, directing, or owning all or part of an unlicensed money
           22    transmitting business in violation of 18 U.S.C. § 1960(a), interstate transportation of stolen
           23    property in violation of 18 U.S.C. § 2314 and cryptocurrency market manipulation in violation of
           24    the Commodity Exchange Act (the “CEA”), 7 U.S.C. §§ 1 et seq. (2018) and Commodity Futures
           25    Trading Commission (“CFTC”) Regulations (“Regulations”) promulgated thereunder, 17 C.F.R.
           26    §§ 1 et seq. (2019). Defendants, and each of them, specifically designed BitMEX to financially
           27    benefit from the alleged racketeering activity and other unlawful conduct, earning Defendants
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -2-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 billions of dollars in illicit profits, Ex. 1, 2, 3.
             2
                         2.         Defendants Hayes, Delo and Reed are notorious fraudsters, who have been
             3
                 criminally charged with felony money laundering related offenses by the U.S. Department of
             4
                 Justice and two of whom are currently fugitives from the U.S. law enforcement. Defendant
             5
                 Hayes publicly admitted to bribery of foreign government officials and bank fraud and even
             6
                 expressed pride in his criminal actions. Ex. C and D are true and correct copies of two sworn
             7
                 declarations by two of the defrauded victims of the Defendants, Frank Amato and Elfio Guido
             8
                 Capone, attesting, under oath, how Defendants defrauded them out of millions of dollars.
             9
                         3.         On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by United
           10
                 States Department of Justice on felony charges of violating the Bank Secrecy Act and conspiring
           11
                 to violate the Bank Secrecy Act, by willfully failing to establish, implement, and maintain an
           12
                 adequate anti-money laundering (“AML”) program at BitMEX. In announcing the indictment,
           13
                 Ex. 4, FBI Assistant Director William F. Sweeney Jr. said: “As we allege here today, the four
           14
                 defendants, through their company’s BitMEX crypto-currency trading platform, willfully violated
           15
                 the Bank Secrecy Act by evading U.S. anti-money laundering requirements. One defendant went
           16
                 as far as to brag the company incorporated in a jurisdiction outside the U.S. because bribing
           17
                 regulators in that jurisdiction cost just ‘a coconut.’ Thanks to the diligent work of our agents,
           18
                 analysts, and partners with the CFTC, they will soon learn the price of their alleged crimes will
           19
                 not be paid with tropical fruit, but rather could result in fines, restitution, and federal prison time."
           20
                 Defendant Reed was apprehended by the FBI in Boston, Massachusetts. Defendants Hayes and
           21
                 Delo remain at large and are currently fugitives wanted by the U.S. Government.
           22
                         4.         On the same day, the CFTC announced the filing of a civil enforcement action in
           23
                 the U.S. District Court for the Southern District of New York charging Defendants HDR, ABS,
           24
                 Hayes, Delo and Reed with operating an unregistered trading platform and violating multiple
           25
                 CFTC Regulations, including failing to implement required anti-money laundering procedures.
           26
                 The CFTC complaint is attached hereto as Ex. 5 and all allegations therein are made part hereof.
           27
                         5.         Among those charged were company owners Defendants Hayes, Delo, and Reed,
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -3-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 who operate BitMEX’s platform through a maze of corporate entities, including Defendants HDR
             2
                 and ABS. BitMEX’s platform has received more than $11 billion in bitcoin deposits and made
             3
                 more than $1 billion in fees, while conducting significant aspects of its business from the U.S.
             4
                 and accepting orders and funds from U.S. customers.
             5
                        6.         The key facts of the racketeering scheme run by Defendants are rather simple and
             6
                 easy to understand. In 2014, Defendants launched the bitcoin derivatives trading platform
             7
                 BitMEX, which enables traders to place bets on direction of cryptocurrency prices. In designing
             8
                 their platform, Defendants decided to sidestep any financial controls mandated by the traditional
             9
                 banking system by transacting only in bitcoin and refused to implement any know your customer
           10
                 (KYC) or anti-money laundering (AML) checks what so ever, Ex. 1. In other words, Defendants
           11
                 would open account and accept unlimited funds from anyone, without a single question asked.
           12
                        7.         In fact, one can open an account, deposit unlimited funds and start trading without
           13
                 furnishing a single document, all is required is a user name and email address, which are not
           14
                 verified by BitMEX in any way. The entire account registration and funding process takes about
           15
                 10 minutes and no documents are even looked at. Understandably, because of total lack of
           16
                 controls of any kind, hackers, tax evaders, money launderers, smugglers, drug dealers all flocked
           17
                 to BitMEX flooding the platform with hot money, Ex. 1. A recent and very telling example is the
           18
                 infamous Twitter hacker, who turned out to be a BitMEX trader, Ex. 6.
           19
                        8.         Having a large pool of hot money at their disposal, Defendants designed the
           20
                 internal workings of their trading platform to enable, encourage and benefit from money
           21
                 laundering and market manipulation. It all has to do with anonymity, lack of trading limits, high
           22
                 leverage and how the index price for bitcoin derivatives is calculated. Defendants deliberately
           23
                 designed this index price to be based on bitcoin spot price on two or three illiquid bitcoin spot
           24
                 exchanges. Illiquid in this context means that, to precipitously move bitcoin price on those
           25
                 exchanges, relatively small market orders will suffice. Therefore, a relatively small market order
           26
                 on a spot exchange results in a relatively large bitcoin index price move on the very liquid
           27
                 BitMEX.
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -4-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                        9.         A money launderer (Defendant) would open two exchange accounts – a helper
             2
                 account on one or more exchanges used by BitMEX to calculate its index price (Coinbase Pro,
             3
                 Kraken and BitStamp) and a winner account on BitMEX. The money launderer would then enter
             4
                 into a large leveraged derivatives position on BitMEX and immediately execute market orders
             5
                 from the helper account with maximum slippage to move the index price in a favorable direction,
             6
                 Ex. 2, 3, 7. Due to disparity in liquidity between BitMEX and the spot exchanges, the aforesaid
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           21
           22    deliberate design of the index price by Defendants, and the cascading liquidations of leveraged
           23    trader positions on BitMEX, the amount spent from the helper account is multiplied greatly and
           24    translates into outsized profit in the winner account on BitMEX, Ex. 2, 3, 7. Because BitMEX
           25    accounts are by design anonymous, the laundered money cannot be traced from the helper
           26    account to the winner account. Thus, the money laundering proceeds in the winner account on
           27    BitMEX appear as legitimate trading gains and the money laundering scheme achieves its
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -5-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 purpose. The described money laundering and other nefarious acts are well documented and take
             2
                 place on BitMEX almost daily, Ex. 2, 3, 7. Moreover, to exacerbate the described price
             3
                 manipulations, BitMEX intentionally locks users out of their accounts during manipulation times,
             4
                 falsely telling the users that their “system is overloaded”.
             5
                         10.       In the described money laundering scheme, the market manipulation gains realized
             6
                 by the launderer in the winner account and the funds confiscated by BitMEX as the result of
             7
                 liquidations induced by the launderer are generated at the expense of Plaintiff and other
             8
                 cryptocurrency traders like Plaintiff. Notably, BitMEX deposits proceeds from the user account
             9
                 liquidations into its so called “Insurance Fund,” which has steadily grown over the years and now
           10
                 amounts to over $427,000,000 dollars, all misappropriated from traders, including Plaintiff.
           11
                         11.       Defendants’ own Leaderboard, which lists the most profitable trading accounts on
           12
                 BitMEX, is replete with evidence of market manipulation and money laundering. For example,
           13
                 BitMEX’s Leaderboard account under assumed name Quick-Grove-Mind shows multimillion-
           14
                 dollar profit spikes, which exactly match known market manipulation events, while entirely
           15
                 avoiding any and all trading losses. Notably, Defendants’ own data shows that this market
           16
                 manipulator generated over $30,000,000 in profit during three market manipulation events that
           17
                 took place on September 24, 2019, November 18-19, 2019 and March 11-12, 2020, at the expense
           18
                 of retail traders, including Plaintiff. In view of the fact that to generate $30,000,000 in profit, the
           19
                 manipulator would need to open at least $100,000,000 leveraged position on the BitMEX
           20
                 platform and know the exact position sizes and liquidation price points as well as parameters of
           21
                 stop loss orders of all the other traders on BitMEX, the information available only to BitMEX
           22
                 insiders, Plaintiff Razvan is informed and believes and thereon alleges that the Leaderboard
           23
                 account under the assumed name Quick-Grove-Mind was a market manipulation winner account
           24
                 used by one of the individual Defendants Hayes, Delo or Reed, who traded on BitMEX despite
           25
                 having a clear conflict of interest.
           26
           27
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -6-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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                        12.        BitMEX directly participates in and financially benefits from the market
           18
                 manipulation and money laundering through its internal trading desk and indirectly, by collecting
           19
                 increased trading fees and also by liquidating users’ accounts. Notably, because profit from
           20
                 liquidating traders like Plaintiff amounts to up to a half of BitMEX revenue, Defendants are the
           21
                 primary financial beneficiaries of the described illegal market manipulation and money
           22
                 laundering activities. In addition to trader liquidations, BitMEX knowingly collects high trading
           23
                 fees for the above money laundering transactions, which constitute “proceeds” of money
           24
                 laundering under 18 U.S.C. §§ 1956 and 1957 and which are deposited into its general account
           25
                 (bitcoin wallet), from which it pays all its employees and even its attorneys (after currency
           26
                 conversion). Thus, the salaries of all BitMEX employees as well as legal fees paid to its lawyers
           27
                 are tainted with the proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -7-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1

             2
                 Manipulation            Manipulative Conduct Involved                     Place of Manipulative Conduct
             3   Component

             4   Helper               Defendants deliberately moved        BitStamp, Coinbase Pro and Kraken, all
                 Component            BitMEX’s .BXBT index price by        located in the United States
             5                        placing large market orders with
                                      maximum slippage from helper
             6
                                      accounts on three illiquid exchanges
             7                        that are used by BitMEX to calculate
                                      .BXBT index
             8
                 The deliberate BitMEX’s .BXBT index price move                      BitMEX, having the majority of cloud
             9   by Defendants directly and proximately caused                       service providers, employees,
                 liquidation cascades on Kraken and BitMEX that                      engineering and software development
           10
                 resulted in Plaintiff’s swap positions on those                     team and the nerve center of operations
           11    exchanges to be liquidated, resulting in monetary                   in this District and Kraken, also located
                 damages as alleged herein.                                          in this District.
           12
           13
           14    Winner               Defendants capturing multiplied                BitMEX, having the majority of cloud
                 Component            (due to disparity in liquidity)                service providers, employees,
           15
                                      manipulation profits caused by the             engineering and software development
           16                         deliberate .BXBT index price move              team and the nerve center of operations
                                      using winner account(s) on BitMEX.             in this District.
           17
                 Facilitation         Defendants freezing BitMEX                     This District, where all three site
           18    Component            servers and accepting orders on only           reliability engineers Jerry Aldrich, Scott
                                      one side of the market to exacerbate           H. and Armando Cerna of BitMEX, who
           19
                                      the price moves during manipulation            are responsible for the trading platform
           20                         times                                          uptime and server freezes, are located
                                                                                     and who personally perpetrated the
           21                                                                        BitMEX server freezes.
           22           13.        Moreover, BitMEX has been recently caught red-handed doing at least
           23    $70,000,000 of business in New York and California without obtaining a money transmitting
           24    license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
           25    § 1960(a), see Paragraph 106, Ex. 8. This violation has been conclusively proven using
           26    BitMEX’s own Leaderboard, see Paragraph 106. Even Defendants themselves acknowledged this
           27    fact by hastily instituting a “User Verification Programme” less than 48 hours after being caught
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -8-    RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 doing unlicensed business in the United States, Ex. 9. In total, BitMEX has 65 individual and 14
             2
                 institutional United States traders that Plaintiff are aware of, without having any benefit of
             3
                 discovery, see Paragraphs 91, 92 and 97. The amount of $70,000,000 of unlicensed United States
             4
                 business exceeds any possible threshold for the obligation to obtain the money transmitting
             5
                 license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella, 39 F. Supp. 3d 544
             6
                 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was $1,000,000 in
             7
                 unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.Mo. 2017), the
             8
                 threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed bitcoin
             9
                 transmissions. Based on these cases, Defendants have exceeded the legal threshold for triggering
           10
                 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty three
           11
                 times). Consequently, all the funds that BitMEX collected from its trading operations and
           12
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
           13
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
           14
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained above).
           15
                        14.        Awash with large amounts of tainted cash and encouraged by perceived lack of
           16
                 any accountability, Defendants grew so brazen that they do not even hesitate to publicly admit to
           17
                 bribery and bank fraud, Ex. 10, 11. Despite the fact that the vast majority of personnel and
           18
                 managers are located in this District, to avoid being subject to United States laws, regulations and
           19
                 taxes, Defendants established 12 false shell companies, including Defendant ABS, with intent to
           20
                 create an appearance that Defendant HDR has no presence, operations or investors in regulated
           21
                 jurisdictions such as the United States. Some of the companies used by Defendants are listed in
           22
                 the table below:
           23
           24
                                    Company Name                          Jurisdiction of     Company              Company Formation
           25                                                             Incorporation       Registry                   Date
                                                                                              Number
           26
                 1.         HDR Global Trading                          Seychelles           148707
           27               Limited
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)    -9-      RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 2.         HDR Virtual Assets                          Seychelles          C8422837
             2              Trading LTD

             3   3.         BITMEX Securities                           Seychelles          C8423247
                            Facility LTD
             4
                 4.         BITMEX Securities                           Seychelles          C8423255
             5              Exchange LTD
             6
                 5.         BITMEX Clearing Agency                      Seychelles          C8423256
             7              LTD

             8   6.         ABS Global Trading                          Delaware, US        6393256              April 27, 2017
                            Limited
             9
                 7.         Shine Effort Inc Limited                    Hong Kong           2129744              August 6, 2014
           10
           11    8.         HDR Total proprietary                       Hong Kong           2661339              March 5, 2018
                            trading limited
           12
                 9.         HDR BMEX limited                            Hong Kong           2668623              March 20, 2018
           13
                 10.        ABS Global trading limited                  Hong Kong           2614000              November 27, 2017
           14
                 11.        ABS Group (HK) Limited                      Hong Kong           2614515              November 28, 2017
           15
                 12.        HDR Global Services                         Bermuda             53775                July 3, 2018
           16
                            (Bermuda) Limited
           17
                 13.        HDR Capital Limited                         Bermuda             54557                April 9, 2019
           18
                 14.        100x Holdings Limited                       Bermuda             55678                June 30, 2020
           19
                        15.        The sheer magnitude of Defendants’ unlawful activity is truly staggering. In
           20
                 addition to being recently caught red-handed doing at least $70,000,000 of business in New York
           21
                 and California without obtaining a money transmitting license, see Paragraphs 106 and 107
           22
                 below, which by itself conclusively establishes the violation of 18 U.S.C. § 1960(a) by Defendant
           23
                 HDR1, “[s]everal sources close to the company” have disclosed to media sources that nearly 15
           24
           25
                 1
           26      In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                 U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27    Klein, 6:17-cr-03056 (W.D.Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less
                 than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants exceeded the
           28    legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x.
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 10 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is attributable to
             2
                 traders located in the United States. Moreover, Defendant HDR’s high volume business with
             3
                 numerous residents of the United States and this District as alleged in detail below is vast and
             4
                 pervasive. Accordingly, Defendants were unquestionably on notice of the need to obtain a money
             5
                 transmission license in the United States, which Defendants willfully and deliberately failed to
             6
                 do. Therefore, according to Defendants’ own data, Defendant HDR’s unlicensed money
             7
                 transmitting business admittedly processed, on average, $3 billion of illegal and unlicensed
             8
                 money transfers each day, all in violation of United States federal statute 18 U.S.C. § 1960(a),
             9
                 which is the record volume for such unlawful activity in the entire history of the monetary
           10
                 regulation in the United States.
           11
                           16.     Being keenly aware of the CFTC and DOJ investigations and imminently
           12
                 forthcoming civil and criminal charges, and while preparing to go on a lam from the U.S.
           13
                 authorities, Defendants Hayes, Delo and Reed siphoned about $440,308,400 of proceeds of
           14
                 various nefarious activities that took place on the BitMEX platform, from accounts of Defendant
           15
                 HDR, Exhibits E, F, G. The looted funds were divided among Defendants and their associate
           16
                 substantially in accordance with the following table, prepared on information and belief of
           17
                 Plaintiffs:
           18
           19                       Shareholder of HDR Global                          Equity Ownership                      Amount of
                                         Trading Limited                                  Percentage                         Distirbution
           20
                 1.              Arthur Hayes                                     31.67%                                $139,430,993.33
           21
                 2.              Benjamin Delo                                    31.67%                                $139,430,993.33
           22
                 3.              Samuel Reed                                      31.67%                                $139,430,993.33
           23
           24    4.              Sean O’Sullivan Ventures (SOSV)                  5%                                    $22,015,420.01

           25                                                                                             Total: $440,308,400.00

           26    These distributions of money laundering proceeds were made on the following dates, after
           27    Defendants learned about government investigations and after receiving a draft complaint in this
           28    action:
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             1

             2
                                                                     Distribution Date
             3
                                                   1.                October 15, 2019
             4
             5                                     2.                November 19, 2019

             6                                     3.                January 2020

             7   Plaintiff Razvan is informed and believes and thereon alleges that Defendants are actively looting
             8   HDR and trying to make funds unavailable for the collection of future judgments against it.
             9   Specifically, the profit distributions at a rate of $440,308,400.00 in just three months were clearly
           10    not performed in the ordinary course of business, as they represent $1,761,233,600 annual profit
           11    distribution rate, which money HDR simply does not generate. Therefore, these extraordinarily
           12    large distributions were clearly designed to deprive Defendant HDR of its assets. Furthermore,
           13    such a remarkable surge in profit distribution may also indicate that Defendants are siphoning the
           14    BitMEX Insurance Fund.
           15           17.        As soon as Plaintiffs became aware of the evidence of siphoning of $440,308,400
           16    of funds from Defendant HDR by other Defendants, which appeared in public court filings in
           17    another civil action against Defendants, filed in California Superior Court, Defendants urgently
           18    moved the Court to strike or seal the discovered evidence of asset dissipation telling the
           19    California Superior Court that the relevant documents were publicly filed in violation of a
           20    protective order in that case and that the revelations caused great damage to Defendants.
           21           18.        A combination of providing traders with extremely high trading leverage (up to
           22    100x), using .BXBT index price for highly liquid perpetual swap contracts calculated based on
           23    prices of two or three illiquid spot exchanges, enabling manipulators and money launderers to
           24    avoid detection by providing them with the ability to open unlimited number of anonymous
           25    document check-free trading accounts without any KYC and AML compliance checks and
           26    without any trading and withdrawal limits, weaponizing deliberate server freezes, using
           27    fraudulent “system overload” events to accept some trading orders and reject others during large
           28
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             1
                 market moves to exacerbate price fluctuations and cause the most liquidations all make BitMEX
             2
                 an exquisite “designer” tool for unsavory actors to launder funds and manipulate cryptocurrency
             3
                 markets. Because of the very high derivatives trading volume on BitMEX, the artificial prices
             4
                 caused by the BitMEX manipulations spread, like forest fires, from BitMEX to other exchanges
             5
                 wreaking havoc on the entire cryptocurrency ecosystem, costing traders and investors billions of
             6
                 dollars in losses and resulting in a domestic injury in the United States (“Domestic Injury”).
             7
                        19.        Moreover, on April 30, 2018, after repeated denials, Defendants finally admitted
             8
                 that BitMEX operates its own for-profit trading desk operated by an employee of Defendant
             9
                 HDR, a Ukrainian national Nick Andrianov (“Andrianov”), who, at all times relevant herein, was
           10
                 an agent and employee of Defendant HDR and who acted within the scope of his agency and
           11
                 employment with Defendant HDR. This desk trades against BitMEX’s own customers on their
           12
                 own exchange, using BitMEX’s inside information about its customers’ existing trading
           13
                 positions, stop loss orders, liquidation prices and open orders and enjoys many other unfair
           14
                 advantages not available to other users of the BitMEX platform. While making money trading
           15
                 against BitMEX’s own customers, this operation, which Defendants refer to as “anchor market
           16
                 maker,” receives many special trading privileges that are not available to other exchange users.
           17
                 This creates even greater financial incentive for Defendants to manipulate cryptocurrency markets
           18
                 and financially benefit from the manipulations through the aforesaid for-profit trading desk
           19
                 operation.
           20
                        20.        A substantial portion of the bitcoin-denominated proceeds of market manipulation,
           21
                 money laundering, operating unlicensed money transmitting business and multitude of various
           22
                 other nefarious acts taking place on the BitMEX platform were subsequently laundered and
           23
                 continue to be laundered, by all Defendants, through the Defendant Unknown Exchange, by
           24
                 means of converting bitcoins into various traditional (“fiat”) currencies, including United States
           25
                 dollars and Hong Kong dollars, and by Defendants Reed, Agata Reed, Barbara Reed and Trace
           26
                 Reed, through a real estate investment scheme that they set up in Wisconsin and Massachusetts.
           27
                 For this purpose, the aforesaid Defendants employed fraudulent nominee shell companies
           28
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             1
                 Defendant Grape Park and Defendant Mark Sweep to disguise or conceal the true illegal nature of
             2
                 the funds in the Defendants’ general account (bitcoin wallet), which were ultimately used to
             3
                 acquire the corresponding real estate properties and the acquired real estate’s true ownership or
             4
                 control, Ex. 12, 13. Defendants Agata Reed, Barbara Reed and Trace Reed are in possession of
             5
                 two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, with
             6
                 the aggregate market value of over $2,500,000, acquired using funds misappropriated from
             7
                 Plaintiff and laundered by Defendants through the Defendant Unknown Exchange and their real
             8
                 estate investment scheme.
             9
                        21.        Despite all the claims to the contrary, Defendants HDR, Hayes, Delo and Reed
           10
                 maintain numerous close connections with the United States and this District. Defendant HDR’s
           11
                 own website BitMEX.com lists San Francisco as the location of one of Defendant HDR’s offices,
           12
                 where all the technology behind BitMEX has been and continues to be developed. Defendants
           13
                 use United States – based Amazon, Inc. AWS infrastructure, with offices in northern California,
           14
                 for storing all of its customer and trading data and for executing its order matching system and its
           15
                 liquidation engine. Moreover, Defendants use Redwood City, California – based SendGrid, Inc.
           16
                 for handling all their bulk email communications with its customers. Finally, Defendants’
           17
                 website BitMEX.com is a commercial website, enabling traders to enter into binding derivative
           18
                 purchase and sale contracts, through which Defendants HDR, Hayes, Delo and Reed conduct
           19
                 high-volume derivatives trading business with numerous individuals and companies residing in
           20
                 the United States, State of California and this District and which by itself is sufficient for
           21
                 subjecting Defendants to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com,
           22
                 Inc., 952 F. Supp. 1119 (W.D. Pa. 1997).
           23
           24                                                      NATURE OF ACTION
                        22.        This is an action for conspiracy to conduct and conducting enterprise’s affairs
           25
                 through a pattern of racketeering activity, arising under Racketeer Influenced and Corrupt
           26
                 Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for cryptocurrency market
           27
                 manipulation arising under the CEA, 7 U.S.C. §§ 1 et seq. (2018).
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 14 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1                                                                PARTIES
             2           23.        Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-22 above as

             3   if fully set forth herein.

             4           24.       Plaintiff Razvan is an individual, who is a citizen of European Union, and who

             5   also presently resides in Bucuresti, Romania.

             6           25.       Plaintiff Razvan is the real party in interest.

             7           26.       Defendant HDR was created by individual Defendants in order to perpetrate fraud

             8   and dodge regulation and taxes and purports to be a Republic of Seychelles International Business

             9   Company, company number 148707, with a registered office at Suite 23, 1st Floor, Eden Plaza,

           10    Vistra Corporate Services Centre, Eden Island, Mahe, Seychelles. Defendant HDR was

           11    organized by Defendants Hayes, Delo and Reed, who are the three primary ultimate owners of

           12    HDR and its various subsidiaries, each holding approximately a one-third ownership interest in

           13    Defendant HDR, in or about 2014. Despite being incorporated in the Seychelles, Defendant HDR

           14    does not have, and never has had, any operations or employees in the Seychelles. Defendant HDR

           15    operates, or has operated during the Relevant Period, out of various locations and offices

           16    throughout the world, including in New York, San Francisco, Milwaukee, Hong Kong,

           17    Singapore, and Bermuda. When asked about the reasons for incorporating Defendant HDR in the

           18    Republic of Seychelles, Defendant HDR’s Chief Executive Officer (CEO) Defendant Hayes has

           19    publicly claimed, in July of 2019, that the government of Seychelles was cheaper to bribe than the

           20    government of the United States and when asked how much he had to pay Seychelles to bribe

           21    them, Defendant Hayes answered “a coconut”, Ex. 11.

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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)    - 15 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                        27.        When, in July of 2019, an early investor in BitMEX Elfio Guido Capone asked
             2
                 Defendants Hayes, Delo and Reed about a status of his investment in the BitMEX platform,
             3
             4
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           15
           16    Defendant Delo responded with a meme image, cynically suggesting that BitMEX could dodge

           17    its legal obligations to its own investors simply by using a shell company incorporated in the

           18    Seychelles to defeat personal jurisdiction of the United States Courts.

           19           28.        In addition to publicly admitting to bribery of foreign government officials as

           20    alleged in the preceding Paragraphs, Defendant Hayes has publicly admitted to perpetrating bank

           21    fraud by falsifying his residence address on bank account application documents with the purpose

           22    of opening a bank account in China, to which he, as a resident of Hong Kong, was not entitled,

           23    Ex. 10. The Chinese bank account was admittedly opened by Defendant Hayes using a fake

           24    Chinese residence address, which he personally falsified, in order to enrich himself on 40%

           25    premium in the price of bitcoin in China compared to the rest of the world, Ex. 10. In

           26    perpetrating the admitted bank fraud, Defendant Hayes was motivated by personal greed.

           27           29.        Admissions of multiple instances of personal greed-motivated illegal conduct as

           28    alleged in the previous Paragraphs, attempting to dodge legitimate legal obligations to its own
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             1
                 investors using sham offshore companies as well as the alleged patently illegal manner in which
             2
                 BitMEX platform operates, all establish a clear pattern of brazen lawlessness on part of all
             3
                 Defendants.
             4
                        30.        Defendant HDR is controlled by Defendants Hayes, Delo and Reed, who all hold
             5
                 themselves out as co-founders of BitMEX. In fact, name “HDR” is an abbreviation composed of
             6
                 first letters of last names of Defendants Hayes, Delo and Reed. Defendant Hayes serves as the
             7
                 CEO of Defendant HDR. Defendant Reed serves as the Chief Technology Officer (CTO) of
             8
                 Defendant HDR.
             9
                        31.        According to BitMEX’s website (https://www.BitMEX.com) (“BitMEX
           10
           11
           12
           13
           14
           15
           16    website”), its owner HDR Global Trading Limited maintains three offices throughout the world,

           17    located in San Francisco, Hong Kong and Singapore. BitMEX’s Terms of Service (“Terms of

           18    Service”), posted on the BitMEX website, provide that: “BitMEX (website:

           19    https://www.BitMEX.com) is a Bitcoin-based trading platform that is wholly owned by HDR

           20    Global Trading Limited.”

           21           32.        The San Francisco office of Defendant HDR is the largest of all three by both the

           22    employee headcount and technical staff headcount. Its addresses are 301 Battery Street, 4th

           23    Floor, San Francisco, California 94111, 340 Brannan Street, 2nd Floor, San Francisco, California

           24    94107 and/or 2 Embarcadero Center, 8th Floor, San Francisco, California 94111. Defendant

           25    HDR closed its other United States offices and consolidated all of its United States personnel into

           26    an office location in San Francisco sometime in April of 2019, as confirmed by Defendant Hayes

           27    in an email to Defendant HDR’s early investor Mr. Elfio Guido Capone stating, “Consolidation of

           28    people in one office in SF.”
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             1
                        33.        Hong Kong office of Defendant HDR is located at 45/F, Cheung Kong Centre, 2
             2
                 Queen's Road Central, Hong Kong Central, Hong Kong Island, Hong Kong Special
             3
                 Administrative Region of the People’s Republic of China. The employee headcount in the Hong
             4
                 Kong office of Defendant HDR is about half of the headcount in Defendant HDR’s San Francisco
             5
                 office. Singapore office of Defendant HDR is the smallest of all three.
             6
                        34.        Defendant HDR’s affiliates and subsidiaries, including Defendant HDR’s wholly-
             7
                 owned subsidiary and alter ego Defendant ABS, are so organized and controlled, and their affairs
             8
                 are so conducted, as to make them merely an instrumentality, agency, conduit, or adjunct of a
             9
                 single unitary BitMEX enterprise. See Las Palmas Assoc. v. Las Palmas Ctr. Assoc., 235
           10
                 Cal.App. 3d 1220, 1249 (1991). Each Defendant HDR affiliate or subsidiary is so dominated in
           11
                 its finances, policies, and practices that these controlled corporations have no separate mind, will,
           12
                 or existence of their own, and are but business conduits for their principal, Defendant HDR, such
           13
                 that all of the affiliated corporations may be deemed to be a single business enterprise. See Toho-
           14
                 Towa Co., Ltd. v. Morgan Creek Prods., Inc., 217 Cal.App.4th 1096, 1107 (2013); Greenspan v.
           15
                 LADT LLC 191 Cal.App.4th 486, 514 (2010).
           16
                        35.        On information and belief, each entity in the BitMEX enterprise functions solely to
           17
                 contribute to and develop the BitMEM.com commercial website, which revenues then flow solely
           18
                 to Defendant HDR and its owners. These entities are analogous to departments within a single
           19
                 corporation and are run as such. On information and belief, each sub-entity in the BitMEX
           20
                 enterprise is funded solely by revenues provided by Defendant HDR.
           21
                        36.        Further, as Defendant Hayes has explained in a publicly filed sworn declaration, as
           22
                 CEO of Defendant HDR, he is “advised by an advisory body currently comprised of twelve
           23
                 individuals responsible for different departments within the HDR Group.” (emphasis added).
           24
                 Hayes labels Defendant HDR and its affiliates collectively as the “HDR Group” as opposed to the
           25
                 BitMEX enterprise, but in function the entities operate as a single corporate enterprise, and they
           26
                 may be properly held to account for each other’s wrongdoing.
           27
                        37.        Defendant Hayes himself has also admitted that the BitMEX enterprise entities are
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 18 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 really a single entity. In a Monthly Report circulated on March 2, 2018, Defendant Hayes wrote
             2
                 “Ben [Delo], Sam [Reed], and myself are very excited to host the entire company at our Hong
             3
                 Kong office from March 12th – 25th. Given the rapid and continued growth in terms of headcount
             4
                 in 2017 and 2018, this offsite is our first chance to bond as a company.” (emphasis added).
             5
                        38.        All of this notwithstanding that Defendant HDR has submitted in multiple public
             6
                 filings that its only offices are in the Seychelles. It claims the offices in Hong Kong belong to
             7
                 another BitMEX-affiliated entity.
             8
                        39.        On April 11, 2018, Defendant Hayes wrote again to say that the Hong Kong
             9
                 “company offsite was a resounding success. Ben, Sam, and I were delighted to meet many of you
           10
                 for the first time. We continue to be amazed at the quality of people that work for the
           11
                 organization. BitMEX is a collection of individuals who are all interesting.” On information and
           12
                 belief, employees from all of the BitMEX enterprise’s entities were present at the March 2, 2018
           13
                 company-wide offsite, including those from San Francisco-based Defendant ABS.
           14
                        40.        Defendants’ casual disregard of corporate form and their regular usage of shell
           15
                 companies is also apparent through their latest corporate conduct: on July 15, 2020, Defendant
           16
                 Hayes announced that a new entity, “100x,”2 “will become the new holding structure for HDR
           17
                 Global Trading Limited” and all of BitMEX’s other assets, “including the BitMEX platform.” In
           18
                 turn, the “HDR Group” was also rebranded as the “100x Group.” This re-labeling makes little
           19
                 difference to the continued functioning of the entities as a single enterprise, however; Defendant
           20
                 Hayes explained that “[t]he BitMEX platform, brand and legal structure remain entirely
           21
                 unchanged.”
           22
                        41.        This further demonstrates that the unitary BitMEX enterprise consists of the
           23
                 various affiliates and subsidiaries worldwide, and that the enterprise and each of its constituent
           24
                 parts are fully dominated and controlled by Defendants Hayes, Delo, Reed and the other
           25
                 stakeholders as a single enterprise.
           26
           27
                 2
                   The name 100x is a reference to traders’ ability on the BitMEX platform to trade at 100 times
           28    the leverage of their deposited bitcoin.
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 19 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                        42.        Defendant ABS is a California-based wholly owned subsidiary and alter ego of
             2
                 Defendant HDR, which designs, develops, implements, operates and supports the online
             3
                 derivatives trading platform BitMEX from within this District. Defendant ABS purports to be a
             4
                 Delaware corporation, Delaware Secretary of State file number 6393256, with registered office at
             5
                 3411 Silverside Road Tatnall Building, Ste 104, Wilmington, DE 19810. Defendant ABS was
             6
                 organized by Defendants Hayes, Delo and Reed on or about April 27, 2017. Name “ABS” is an
             7
                 abbreviation constructed of first letters of first names (Arthur, Ben and Samuel) of individual
             8
                 Defendants Hayes, Delo and Reed, who ultimately own and control Defendant ABS. Defendant
             9
                 Hayes asserted that Defendant HDR owns the entire issued share capital of Defendant ABS, and
           10
                 that Defendant ABS has an office in San Francisco, California.
           11
                        43.        Specifically, Defendant ABS, which is a United State-based alter ego of Defendant
           12
                 HDR, has two offices: 301 Battery St., 4th Fl., San Francisco, CA, 94111 and 340 Brannan Street,
           13
                 2nd Floor, San Francisco, California. Defendants Hayes, Delo and Reed continue to control
           14
                 Defendant ABS with Defendant Hayes serving as the President, CEO, Secretary and Chief
           15
                 Financial Officer thereof and Defendant Reed serving as a Chief Technology Officer of
           16
                 Defendant ABS.
           17
                        44.        Plaintiff Razvan is informed and believes and thereon alleges that Defendant HDR
           18
                 dominates and controls every aspect of Defendant ABS’ operations and uses its San Francisco
           19
                 offices to manage BitMEX’s engineering, security and back-office operations, such that
           20
                 Defendant ABS is a mere instrumentality of the BitMEX enterprise. In particular, all its
           21
                 operations are controlled by its principal and alter ego, Defendant HDR, wherein Defendant ABS
           22
                 provides development, software engineering, containerized application deployment, site
           23
                 reliability and digital security services, including development of the interface of the BitMEX
           24
                 Platform, through which all trading transactions take place. Thus, Defendants ABS and HDR
           25
                 operate as a single business enterprise for the purpose of operating the BitMEX derivatives
           26
                 trading platform.
           27
                        45.         Plaintiff Razvan is informed and believes and thereon alleges that Defendant
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 20 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 HDR funds all of Defendant ABS operations, including paying for all of its employees, overhead,
             2
                 and lease and rent obligations, and is Defendant ABS’ sole source of income.
             3
                        46.        Defendants Hayes, Delo and Reed, collectively own a controlling interest in
             4
                 Defendant ABS through their ownership of Defendant HDR, which wholly owns Defendant ABS.
             5
                 Defendant Hayes is the sole director, president, secretary, and treasurer of Defendant ABS, and
             6
                 executes agreements on its behalf. Defendant Hayes runs Defendant ABS’s activities without
             7
                 regard to its corporate form and for the sole benefit of Defendant HDR.
             8
                        47.        Defendants Hayes, Delo and Reed have created Defendant ABS as a false “shell”
             9
                 company as part of a broader United State federal and state law, regulation and tax dodge
           10
                 designed to tell regulators and tax authorities that BitMEX has no California or United States
           11
                 operations or investors.
           12
                        48.        However, in reality, California is where most or all of its technology and services
           13
                 are managed and developed, and where almost all of the key personnel who perform those
           14
                 functions live, work and run BitMEX’s operations. Specifically, Defendant ABS handles the
           15
                 majority of the development of the BitMEX Platform, and it is both the heart of the BitMEX
           16
                 enterprise and its nerve center.
           17
                        49.        Plaintiff Razvan is informed and believes and thereon alleges that Defendants
           18
                 intentionally and specifically targeted California when locating and developing the nerve center
           19
                 of the operations of the BitMEX enterprise. This is because, from the beginning of BitMEX’s
           20
                 existence, traders based in the United States accounted for the vast majority of the enterprise’s
           21
                 revenues, and even presently United States and California traders, as described below, are the
           22
                 most active and lucrative traders on the BitMEX Platform. This is also due to the fact that
           23
                 California’s Silicon Valley has some of the world’s best engineers and developers, and as such,
           24
                 Defendant ABS houses the most engineering personnel out of any BitMEX entity.
           25
                        50.        Defendant ABS aided and abetted, authorized, ratified and controlled Defendant
           26
                 HDR illegal acts described herein.
           27
                        51.        Defendants HDR and Hayes relied upon their domestic agents, employees and
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 21 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 affiliates, including without limitation ABS, to help implement and conceal the illegal acts
             2
                 alleged herein. The agency relationships formed among the Defendants with respect to the acts,
             3
                 violations, and common course of conduct alleged herein were consensually formed.
             4
                        52.        Defendant ABS acted in the United States and abroad within the scope of its
             5
                 agency with the full knowledge, consent, permission, authorization and ratification, either express
             6
                 or implied, of each of the other Defendants in carrying out the acts alleged herein.
             7
                        53.        Defendants are individually sued as principals, participants, agents, aiders and
             8
                 abettors, and co-conspirators in the wrongful conduct complained of and the liability of each
             9
                 arises from each Defendant’s engagement in all or part of the illegal acts alleged herein.
           10
                        54.        Additional and other facts regarding Defendants’ joint action, alter ego status and
           11
                 aiding and abetting of one another regarding the misconduct against Defendants is hidden from
           12
                 Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody and
           13
                 control. Plaintiff accordingly reserve the right to supplement and amend these allegations if
           14
                 appropriate or necessary following completion of relevant fact discovery.
           15
                        55.        Defendant HDR is the sole and exclusive owner of BitMEX brand, as evidenced,
           16
                 for example, by the Terms of Service and by numerous trademark filings for the protection of this
           17
                 brand made by Defendant HDR in the United States and throughout the world.
           18
                        56.        Defendant Grape Park is a State of Delaware limited liability company, Delaware
           19
                 Secretary of State file number 7554178, with registered office at 3411 Silverside Road Tatnall
           20
                 Building, Ste 104, Wilmington, DE 19810, which was used by Defendants to further launder
           21
                 funds derived from money laundering, market manipulation, operating unlicensed money
           22
                 transmitting business and other nefarious acts taking place on the BitMEX platform through
           23
                 investments into United States real estate, Ex. 12. Defendant Reed dominates and controls every
           24
                 aspect of business of Defendant Grape Park and funds its operations. Defendant Grape Park is an
           25
                 alter ego of Defendant Reed.
           26
                        57.        Defendant Mark Sweep is a State of Delaware limited liability company, Delaware
           27
                 Secretary of State file number 7449568, with registered office at 3411 Silverside Road Tatnall
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 22 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                 Building, Ste 104, Wilmington, DE 19810, which was used by Defendants to further launder
             2
                 funds derived from money laundering, market manipulation, operating unlicensed money
             3
                 transmitting business and other nefarious acts taking place on the BitMEX platform through
             4
                 investments into United States real estate, Ex. 13. Defendant Reed dominates and controls every
             5
                 aspect of business of Defendant Mark Sweep and funds its operations. Defendant Mark Sweep is
             6
                 an alter ego of Defendant Reed. It should be noted that Defendants ABS, Grape Park and Mark
             7
                 Sweep share the same registered office address in the State of Delaware.
             8
                        58.        Defendant Unknown Exchange is a cryptocurrency-to-fiat off-ramp exchange
             9
                 (over-the-counter exchange services provider). Defendant Unknown Exchange was and is being
           10
                 used by Defendants to launder funds derived from money laundering, market manipulation,
           11
                 operating unlicensed money transmitting business and other nefarious acts taking place on the
           12
                 BitMEX platform through converting the illegally obtained bitcoins into various fiat currencies,
           13
                 including United States dollars and Hong Kong dollars. Plaintiff will amend this Complaint
           14
                 when they ascertain the identity of the Defendant Unknown Exchange based on discovery
           15
                 propounded on Defendants.
           16
                        59.        Defendant Hayes is an individual, who is a United States citizen. On papers filed
           17
                 with California Secretary of State, Defendant Hayes claimed to have resided in Kennedy Town,
           18
                 Hong Kong Special Administrative Region of the People’s Republic of China. However,
           19
                 Plaintiff is informed and believes and thereon alleges that Defendant Hayes also resides in
           20
                 Buffalo, NY 14221-1840 and was last seen at his residence there on August 18, 2020. Defendant
           21
                 Hayes owns property in the U.S., and files U.S. income tax returns. During the Relevant Period,
           22
                 Defendant Hayes held his ownership interest in the BitMEX entities through a Delaware limited
           23
                 liability company that maintains bank accounts at financial institutions in the U.S. and owns
           24
                 property in the U.S. Defendant Hayes is sued as sui juris.
           25
                        60.        Defendant Delo is an individual, who is a citizen of United Kingdom, and who
           26
                 resides in Hong Kong Special Administrative Region of the People’s Republic of China.
           27
                 Defendant Delo is sued as sui juris.
           28
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             1
                        61.        Defendant Reed is an individual, who is a United States citizen and who resides in
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                 Milwaukee, WI 53202. Defendant Reed is sued as sui juris. United States residence of
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           16
                 Defendant Reed is further evidenced by his own professional profile on LinkedIn professional
           17
                 network, where he lists the United States as his country of residence. Defendant Reed maintains
           18
                 an office in and conducts business from Milwaukee, Wisconsin.
           19
                        62.        Defendant Agata Reed is an individual, who is a citizen of the United States, and
           20
                 who resides in Norwell, MA 02061. Defendant Agata Reed is sued as sui juris.
           21
                        63.        Defendant Barbara Reed is an individual, who is a citizen of the United States, and
           22
                 who resides in Lake Tomahawk, WI 54539. Defendant Barbara Reed is sued as sui juris.
           23
                        64.        Defendant Trace Reed is an individual, who is a citizen of United States, and who
           24
                 resides in Lake Tomahawk, WI 54539. Defendant Trace Reed is sued as sui juris.
           25
                        65.        Plaintiff Razvan is informed and believes and thereon alleges that each of the
           26
                 individual Defendants sued herein was the agent and employee of each of the remaining
           27
                 Defendants and was at all times acting within the purpose and scope of such agency.
           28
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             1            DEFENDANTS’ EXTENSIVE CONTACTS WITH THE UNITED STATES
                                            AND THIS DISTRICT
             2
                         66.       Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-64 above as
             3
                 if fully set forth herein.
             4
                         67.       Defendant ABS is qualified to do business in California and has appointed an
             5
                 agent for service of process in this State. Despite all the claims to the contrary, Defendants HDR,
             6
                 Hayes, Delo and Reed maintain numerous close connections with the United States, State of
             7
                 California and this District.
             8
                         68.       Corporate Defendants HDR and ABS were established by individual Defendants
             9
                 Hayes, Delo and Reed due to seed funding provided by at least two United States-based entities –
           10
                 Ohio-based RGB COIN LTD. and a startup accelerator SOSV with offices in San Francisco and
           11
                 New York.
           12
                         69.       Defendant HDR is managed by Defendants Hayes, Delo and Reed with advice of
           13
                 an advisory board consisting of 12 members, three of which are located in the United States.
           14
                         70.       Due to his role as the President, CEO, Secretary and Chief Financial Officer of
           15
                 Defendant ABS and his CEO position with Defendant HDR, Defendant Hayes manages and
           16
                 directs operations of both Defendants HDR and ABS in the United States and in this District.
           17
                         71.       On the most recent California Secretary of State Statement of Information form
           18
                 filed by Defendant ABS with the State of California on or about August 22, 2019, Defendant
           19
                 Hayes’s address in the State of California is listed as: 340 Brannan Street, 2nd Floor, San
           20
                 Francisco, California 94107.
           21
           22
           23
           24
           25            72.       Due to his role as the CTO of both Defendants HDR and ABS and his supervisory

           26    involvement in the software development of the BitMEX platform, Defendant Reed, who resides

           27    in Wisconsin, manages and directs operations of both Defendants HDR and ABS in the United

           28    States and in this District, where the majority of the software developers and engineers working
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             1
                 on the BitMEX platform are located.
             2
                        73.        As evidenced by BitMEX website, on or about April 27, 2018, Defendant Reed
             3
                 stated: “We serve customers all over the world, in five languages, and have become the premier
             4
                 platform for Bitcoin price discovery and liquidity” (emphasis added). This statement constitutes
             5
                 an admission that Defendants knowingly serve customers in the United States and the State of
             6
                 California.
             7
                        74.        BitMEX website www.BitMEX.com/careers/ lists San Francisco as the location of
             8
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           12
           13    one of the Defendant HDR’s offices, where all the technology behind BitMEX is being

           14    developed. Defendant HDR actively recruited individuals for this office using recruiting websites

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             1
                 such as GlassDoor.com, Angel.co and LinkedIn.com. According to professional network
             2
                 LinkedIn, BitMEX’s owner Defendants HDR has at least 74 current and former employees in the
             3
                 United States, most of which are residents of this District.
             4
                        75.        In a publicly released and publicly available video first aired on CNBC news
             5
                 channel, Defendant Hayes can be seen broadcasting from the San Francisco office of CNBC, on
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           15
           16    or about July 19, 2018.
           17           76.        United States residents can freely trade on BitMEX platform from the United
           18    States because, as Defendant Hayes concedes and journalists and other commentators have
           19    explained, and BitMEX’s marketing of itself in the United States demonstrates, accessing
           20    BitMEX is trivially easy from the United States using widely available and inexpensive virtual
           21    private network (VPN) software that masks trader’s geographical location. This is because
           22    Defendants purport to restrict access to the BitMEX Platform for residents in the United States
           23    and California, by using an impotent IP-address check mechanism. Defendants, however,
           24    knowingly allow United States and California residents to circumvent the IP-address check
           25    mechanism via simple, inexpensive, and widely available software tools such as by using a VPN.
           26    Defendants have exploited this loophole to avail themselves of United States and California
           27    markets. Defendant Hayes stated in a January 2019 interview that BitMEX users can mask their
           28
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             1
                 location using VPNs to assign their computer an IP address from other countries, bypassing filters
             2
                 put in place. In fact, all web pages on BitMEX.com commercial website, except for a user
             3
                 account page, are freely accessible from the United States without any VPN. This is done
             4
                 purposefully in order to entice United States persons to trade on the BitMEX platform. If
             5
                 Defendants truly wanted to exclude United States traders from their platform, they would have
             6
                 blocked access to all web pages on the BitMEX.com commercial website from the United States.
             7
                        77.        In fact, in an interview in January of 2019, Defendant Hayes himself publicly
             8
                 taunted the fact that users from banned jurisdictions like the United States can easily bypass the
             9
                 cryptocurrency exchange’s geoblock by using the VPN service, thereby directly encouraging
           10
                 United States traders to trade on the BitMEX platform in violation of its own Terms of Service.
           11
                        78.        Defendant HDR uses United States based Amazon, Inc.’s Amazon Elastic
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                 Kubernetes Service (“Amazon EKS”), which combines Amazon Web Services (“Amazon AWS”)
           26
                 with managed high-availability Kubernetes infrastructure for containerized deployment of all of
           27
                 its order matching and liquidation engines and for storing all of its customer and trading data.
           28
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           13
                 Amazon AWS has offices in San Francisco, California. San Francisco office of Defendant HDR
           14
                 employs at least five Kubernetes engineers who interact with Amazon AWS in this District on a
           15
                 daily basis.
           16
                         79.       Moreover, the recent email data leak of BitMEX has shown that Defendant HDR
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             1
                 uses San Francisco, California – based Twilio Inc. and its subsidiary SendGrid, Inc., with offices
             2
                 at 889 Winslow St., Redwood City, California 94063, United States, for handling all of its bulk
             3
                 email communications with its customers. Twilio Inc. and its subsidiary SendGrid, Inc. as well as
             4
                 Intercom, Inc. store a database of all BitMEX users in this District, including email addresses and
             5
                 all other contact information of all users, which BitMEX uses for all its customer
             6
                 communications.
             7
                        80.        Defendants use ReCAPTCHA service provided by Google, Inc., headquartered in
             8
                 this District to provide human verification for the users of the BitMEX’s platform.
             9
                        81.        Defendants further use YubiKey device and YubiCloud service provided by Palo
           10
                 Alto-based YubiKey, located in this District, to provide 2-factor authentication capability to the
           11
                 users of BitMEX’s platform.
           12
                        82.        Defendants further use service operated by Jumio Netverify, based in Palo Alto,
           13
                 California, through which Jumio collects personal data from BitMEX users directly, including
           14
                 photos of user’s faces and ID documents and performs identity verification of the users for
           15
                 BitMEX platform.
           16
                        83.        Defendants further use Freshdesk service provided by Palo Alto-based
           17
                 FreshWorks, headquartered in this District, for handling all customer support queries, notes and
           18
                 replies associated with the BitMEX platform.
           19
                        84.        Defendants further use segment.io service provided by San-Francisco based
           20
                 Segment.io, Inc., and Google Analytics service provided by Google, Inc., both of which are
           21
                 headquartered in this District, for gathering data collected on BitMEX.com servers and generating
           22
                 visitor statistics for BitMEX platform.
           23
                        85.        Defendants further use services provided by San Francisco-based Functional
           24
                 Software, Inc. (Sentry.io), San Francisco-based Pagerduty and Austin, Texas-based Solarwinds
           25
                 (Papertrail) to monitor all site and service issues associated with the BitMEX platform.
           26
                        86.        Defendants further use services provided by Google Firebase and Amazon SNS
           27
                 platforms, operated by Google, Inc. and Amazon Web Services, Inc., respectively, both of which
           28
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             1
                 are headquartered in this District, to deliver mobile push notifications to all user devices.
             2
                        87.        The above-alleged facts clearly show that the vast majority of the vital services
             3
                 used by BitMEX platform are provided by United States vendors located in this District and that
             4
                 without such services of United States and California origin, BitMEX platform would not have
             5
                 existed in its present form. Therefore, BitMEX is able to operate its platform only due to its
             6
                 connections with the service providers located in the United States and this District.
             7
                            Service Provider to                                                                     Service Provider
             8                                                     Services Provided to BitMEX
                                    BitMEX                                                                                Location
             9
                 1.      Amazon Web Services                     Kubernetes infrastructure for                 San Francisco, California
           10
                                                                 containerized deployment of all
           11
                                                                 of its order matching and
           12
                                                                 liquidation engines and for
           13
                                                                 storing all of its customer and
           14
                                                                 trading data
           15
                 2.      Twilio, Inc.                            Communications with all                       San Francisco, California
           16
                                                                 BitMEX users
           17
                 3.      SendGrid, Inc.                          Email communications with all                 Redwood City, California
           18
                                                                 BitMEX users
           19
                 4.      Google, Inc.                            Human verification for the users,             Mountain View,
           20
                                                                 and generating visitor statistics             California
           21
           22    5.      YubiKey, Inc.                           2-factor authentication capability            Palo Alto, California

           23    6.      Jumio, Inc.                             Identity verification of the users            San Francisco, California

           24    7.      FreshWorks                              Customer support queries, notes               Palo Alto, California

           25                                                    and replies

           26    8.      Segment.io, Inc.                        Generating visitor statistics                 San Francisco, California

           27    9.      Functional Software,                    Monitor all site and service issues           San Francisco, California

           28            Inc.                                    for BitMEX platform
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             1
                 10.     Intercom, Inc.                          Electronic communications with               San Francisco, California
             2
                                                                 all BitMEX users
             3
                 11.     ProofPoint, Inc.                        Hosting of BitMEX’s internal                 Sunnyvale, California
             4
                                                                 corporate email accounts,
             5
                                                                 outbound data loss prevention,
             6
                                                                 social media, mobile devices,
             7
                                                                 digital risk, email encryption,
             8
                                                                 electronic discovery, and email
             9
                                                                 archiving.
           10
           11
                        88.        Furthermore, Plaintiff Razvan is informed and believes and thereon alleges that
           12
                 San Francisco, California-based quant trading firm Galois Capital freely trades on BitMEX from
           13
                 this District generating millions of dollars of business for Defendant HDR. This trading is done
           14
                 with the knowledge, permission, approval, assistance and encouragement of Defendants.
           15
                        89.        Defendants knowingly and willfully permitted United States citizens and residents
           16
                 of this District as well as United States based companies to freely trade on the BitMEX exchange
           17
                 because of the lucrative business relationships between Defendants and the aforesaid individuals
           18
                 and companies, which financially benefitted Defendants.
           19
                        90.        Moreover, Defendant’s HDR website BitMEX.com is a commercial website, in
           20
                 English language, enabling traders to enter into binding derivative purchase and sale contracts,
           21
                 through which Defendants conduct substantial business with the residents of the United States,
           22
                 the State of California and this District and which by itself is sufficient for subjecting Defendants
           23
                 to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp.
           24
                 1119 (W.D. Pa. 1997). Instead of performing a proper document check before allowing users to
           25
                 open an account on BitMEX.com, Defendants deliberately and knowingly use utterly ineffective
           26
                 IP address check, which they all well know is uniformly subverted by very simple, inexpensive
           27
                 and widely available software tools. Using the aforesaid commercial website operated by
           28
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             1
                 Defendants, residents of the United States, the State of California and this District are able to
             2
                 place binding trading orders of virtually unlimited monetary size, enter into binding derivative
             3
                 purchase and sale contracts, and transfer virtually unlimited amount of funds anywhere in the
             4
                 world.
             5
                          91.      Moreover, Defendants deliberately made their commercial website BitMEX.com
             6
                 accessible from the United States even without using VPN software in violation of BitMEX’s
             7
                 own Terms of Service (“Terms of Service”) in order to entice United States residents to trade on
             8
                 the BitMEX’s platform. Specifically, BitMEX’s Terms of Service provide: ”[y]ou are not
             9
                 allowed to access or use the Services or the Trading Platform if you are located, incorporated or
           10
                 otherwise established in, or a citizen or resident of: (i) the United States of America… ‘Services’
           11
                 means websites, applications and any services provided by any member of the HDR Group,
           12
                 including: a) … the BitMEX Testnet Platform.” However, BitMEX.com website specifically
           13
                 induces United States resident users to try BitMEX Testnet Platform, by clearly stating: “please
           14
           15
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           21
           22    try our BitMEX Testnet.” This is not an innocent mistake, it is intentionally done by Defendants
           23    in order to entice United States traders to subsequently trade on the BitMEX Trading Platform in
           24    direct violation of the prohibition contained in its own Terms of Service. In fact, all web pages
           25    on BitMEX.com commercial website, except for a user account page, are freely accessible from
           26    the United States without any VPN. This is purposefully done to entice United States persons to
           27    trade on the BitMEX platform. If Defendants truly wanted to exclude United States traders from
           28
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             1
                 their platform, they would have blocked access to all web pages on the BitMEX.com commercial
             2
                 website from the United States.
             3
                        92.        Therefore, any and all provisions contained in the Terms of Service prohibiting
             4
                 United States users from using the BitMEX’s platform were in fact sham provisions and lacked
             5
                 any meaningful enforcement by Defendants. In fact, Defendants’ own actions clearly
             6
                 demonstrated complete disregard of the provisions of their own Terms of Service. Moreover,
             7
                 Defendants willfully and deliberately used IP country blocking, which has been proven utterly
             8
                 ineffective for its intended purpose and easily subverted, to leave a back door for the United
             9
                 States residents to trade on the BitMEX platform.
           10
                        93.        Furthermore, Defendants purposefully invoked the benefits and protections of the
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           19
           20    United States Federal laws when they filed for and obtained from the United States government

           21    official Notices of Allowance for seven (7) United States trademark applications all relating to

           22    BitMEX’s platform that is the subject of this Complaint.

           23           94.        For example, trademark applications serial Nos. 87856272 and 87607952, both for

           24    mark “BITMEX” were filed by Defendants in connection with “[d]ownloadable software for

           25    trading crypto-products and providing crypto-currency information” and “exchanging money,

           26    financial management, futures brokerage, capital investment, electronic funds transfer, providing

           27    financial information via a website, financing services, investment of funds, business liquidation

           28    services, financial services, namely, operation and management of hedge funds, commodity pools
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             1
                 and other collective investment vehicles, and trading for others of cryptocurrency, decentralized
             2
                 application tokens and protocol tokens, blockchain based assets and other cryptofinance and
             3
                 digital assets, securities, options, futures, derivatives, debt instruments and commodities,”
             4
                 respectively, which are BitMEX’s core services. Invoking benefits and protections of the United
             5
                 States Federal laws clearly made it foreseeable for Defendants that they would end up in a United
             6
                 States Court.
             7
                           95.        In the aforesaid trademark filings with the United States Patent and Trademark
             8
                 Office, Defendant HDR swore, under penalty of perjury, that it “has a continued bona fide
             9
                 intention, and is entitled, to use the mark[s] in commerce [in the United States] on or in
           10
                 connection with all of the goods/services listed in the Notice of Allowance or as subsequently
           11
                 modified for this specific class.”
           12
                           96.        In a recent legal filing, Defendant Hayes swore that: “[i]n my capacity as CEO, I
           13
                 am advised by an advisory body currently comprised of twelve individuals responsible for
           14
                 different departments within the HDR Group. A majority of the HDR Group’s advisory
           15
                 committee has always been located in Hong Kong, and nine of the twelve members currently on
           16
                 the committee are located outside of the United States.” Therefore, three out of 12 members of
           17
                 the advisory committee of Defendant HDR are located in the United States.
           18
                           97.        Professional network LinkedIn, as well as other information available on the
           19
                 Internet, provides publicly available evidence of dozens individuals, who reside in the United
           20
                 States and in this District and who identify themselves as cryptocurrency derivative traders on the
           21
                 BitMEX platform. Forty three examples of the Unites States resident BitMEX traders, who trade
           22
                 on BitMEX through the aforesaid commercial website BitMEX.com, are provided in the below
           23
                 table:
           24
           25                                    BitMEX Trader Name                                       BitMEX Trader Residence
           26     1.                                     Scrembo Paul                                        Los Angeles, California
           27     2.                                     Aaron Aloyan                                   Greater San Diego, California,

           28
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             1                                                                                                           Area
             2    3.                          Christopher Smitherman                                             Atlanta, Georgia

             3    4.                                  Daniel Spivak                                           Greater Chicago Area
                  5.                                 Harrison Davis                                   Greater New York City Area
             4
                  6.                                      Vesko P.                                      Greater Los Angeles Area
             5
                  7.                              Matthew Wellman                                             Lexington, Kentucky
             6
                  8.                                    Uriel Scott                                              Chicago, Illinois
             7
                  9.                                 Sahand Akbari                                     Sacramento, California Area
             8   10.                                  Malik Crypto                                            Orlando, Florida Area
             9   11.                                     Saif Amer                                            Greater Chicago Area
           10    12.                                   Nelson Riley                                              Aspen, Colorado

           11    13.                                   John Roberts                                   Greater New York City Area
                 14.                                 Andres Santana                                   Greater New York City Area
           12
                 15.                                  Thomas Chen                                               Evanston, Illinois
           13
                 16.                                  Alex Sherman                                            San Jose, California
           14
                 17.                                  Phillip James                                     St. Cloud, Minnesota Area
           15    18.                                 David Siddiqui                                            La Jolla, California
           16    19.                                  Zach Brodsky                                                Talent, Oregon
           17    20.                         Philip Dustin Du Amarell                                    Laguna Beach, California

           18    21.                                 Jiale (Etta) Qin                                         Cupertino, California

           19    22.                                 Bokmoon Jung                                                   Boise, Idaho
                 23.                                 Lionel Girardin                                          Greater Chicago Area
           20
                 24.                                   Arijit Santra                                          Berkeley, California
           21
                 25.                                Sankha Banerjee                                   Greater New York City Area
           22
                 26.                              Connor Van Dorpe                                            Madison, Wisconsin
           23    27.                                     Ryan Rim                                         San Francisco Bay Area
           24    28.                               Gianny R. Banda                                                Miami, Florida
           25    29.                               Michael Peterson                                     Syracuse, New York Area

           26    30.                                 Anthony Agrait                                              Tempe, Arizona
                 31.                                     Dustin G.                                      Burlington, Vermont Area
           27
                 32.                                 Kevin Cotugno                                              Phoenix, Arizona
           28
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             1   33.                                  Calvin Leung                                           Santa Monica, California
             2   34.                             Anthony Wittemann                                           Santa Monica, California

             3                                                                                            Greater New York City Area,
                 35.                                Catherine Wood
                                                                                                                          New York
             4
                 36.                                     Ryan Gill                                                   Delaware, Ohio
             5
                 37.                              Eric J. Waidergorn                                      Greater Chicago Area, Illinois
             6
                 38.                                    Eric Crown                                                  Hillsboro, Oregon
             7
                 39.                       Like Martin (Venturecoinist)                                     Knoxville, Tennessee Area
             8   40.                                Edward Ornelas                                          Albuquerque, New Mexico
             9   41.                                   Richard Bae                                                     United States
           10     42                                     Roger Xu                                                  Brooklyn, New York

           11    43.                                     Wen Hou                                                    Irvine, California

           12
           13           98.         Professional network LinkedIn as well as other Internet resources further provide
           14    evidence of at least fourteen companies, which are incorporated and based in the United States
           15    and which trade derivatives using Defendant’s HDR commercial website BitMEX.com:
           16
           17           Name of U.S. Company Trading on
                                                                                                     Company Address
                                             BitMEX
           18
                                                                                       156 N Jefferson St., Suite 102, Chicago, IL
           19     1.          CMT Capital Markets Trading
                                                                                                                  60661
           20
                                Eastmore Group / Eastmore                              40 Wall Street, Suite 1700, New York, NY
                  2.
           21                         Management, LLC                                                             10005
           22                                                                     90 State Street Ste 700, Office 40, Albany, NY
                  3.     Clerkenwell Asset Management LLC
           23                                                                                                     12207

           24                                                                     150 Post Street, Suite 442, San Francisco, CA
                  4.                     Galois Capital
                                                                                                                  94108
           25
                  5.                 Adaptive Fund I, LP                                 16192 Coastal Hwy, Lewes, DE 19958
           26
                  6.                   Swing Trade Pros                                 1600 S. Indiana Ave, Chicago, IL 60616
           27
                  7.                          FalconX                                  66 Bovet Rd #380, San Mateo, CA 94402
           28
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             1    8.                  Cumberland DRW                                   540 W Madison St Chicago, IL 60661
             2                                                                           1395 Brickel Avenue, Suite 913
                  9.                     Circle Partners
             3                                                                                      Miami, FL 33131
                 10.           Fund3 Capital LP/Fund3 LLC                         11244 Huntley Place, Culver City, CA 90230
             4
                                                                                                   82 W Highway 50,
             5   11.               South Lake Computers
                                                                                                  Clermont, FL 34711
             6
                                                                                            3 East 28th Street, 7th Floor,
             7   12.      ARK Investment Management LLC
                                                                                                New York, NY 10016
             8   13.                  Coincident Capital                          310 Lake Street, Huntington Beach, CA 92648
             9                                                                     250W 50th Street, Apt. 3d2, New York, NY
                 14.                    Leotank Capital
           10                                                                                                  10019

           11           99.        Adaptive Fund I, LP, which is a Delaware limited partnership, funded primarily by
           12    investors who are United States residents, as the result of market manipulation which took place
           13    on BitMEX’s platform on or about March 13, 2020, lost 60% of its equity, or roughly
           14    $12,000,000. These catastrophic monetary losses were suffered by numerous Unites States
           15    residents who invested in that fund. In communications to investors following the losses, fund
           16    manager Murad Mahmudov admitted to personally executing trades on BitMEX’s platform with
           17    United States investors’ money. Due to the high profile of the fund and fund managers involved,
           18    Defendants clearly knew of the United States origin of the money that the Adaptive Fund I, LP
           19    was trading on BitMEX platform and Defendants deliberately and willfully allowed such trading
           20    to proceed.
           21           100.       Internet video portal YouTube is replete with video evidence of traders residing in
           22    the United States and in this District freely placing high dollar bets through Defendant’s HDR
           23    commercial website BitMEX.com. The following table identifies just 40 examples of such video
           24    evidence:
           25          BitMEX Trader’s
                                                           Trader             Video
           26          YouTube Account                                                                          Video Title
                                                        Residence             Date
           27                User Name

           28
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             1                                             Florida,                           How Wales Manipulate Bitcoin Using
             2    1.      Jacob Canfield                   United             02/25/2020       Spoofing on Bitmex (Live $400,000

             3                                              States                                                Short Trade)
                                                           United                                    Bitmex Leveraging Tutorial
             4    2.     Edward Ornelas                                       08/21/2018
                                                            States                                     Introduction for Beginner
             5
                                                                                                 Bitmex, Deribit, & Bybit Bitcoin
             6                                             United
                  3.      Crypto Gnome                                        06/03/2019     Leverage Trading - Afternoon Trading
                                                            States
             7                                                                                                      Session
             8           Bitcoin Trading                   United                            Copy-Trading with Bitmex Trollbox +
                  4.                                                          05/24/2019
             9               Challenge                      States                                      New Trading Challenge

           10                                                                                    WATCH ME TURN $350 INTO
                                                           United
                  5.       Crypto Corny                                       01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
           11                                               States
                                                                                                                   Challenge
           12
                                                           United                            Bitmex Leverage Trading Tutorial For
           13     6.      Scrembo Paul                                        08/27/2018
                                                            States                                          Beginners Bitcoin
           14                                                                                Weekly Trading Bot Update - Binance
                                                           United
           15     7.      Crypto Gnome                                        04/03/2020       Futures, Bybit, & Bitmex Bitcoin &
                                                            States
           16                                                                                                        Crypto

           17                                              United                                How to Automate Your Trades on
                  8.      Crypto Gnome                                        05/14/2019
                                                            States                                          Bitmex & Deribit
           18
                                                           United                                Goat Alerts - TradingView Bot &
           19     9.      Crypto Gnome                                        09/25/2019
                                                            States                             Shadow Trading for Bybit & Bitmex
           20
                                                           United
                 10.      Crypto Gnome                                        08/12/2018     How to Set a STOP LOSS on BitMEX
           21                                               States
           22                                              United                           How to use a Trailing Stop on BitMEX -
                 11.      Crypto Gnome                                        11/29/2018
           23                                               States                                          MORE PROFITS!

           24                                              United
                 12.      Crypto Gnome                                        07/25/2018          How to Short Bitcoin on Bitmex
                                                            States
           25
                                                           United                            How to Save on Fees When Trading on
           26    13.      Crypto Gnome                                        08/11/2018
                                                            States                                                  BitMEX
           27
                 14.      Crypto Gnome                     United             07/25/2018    How to SHORT/LONG Bitcoin Futures
           28
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             1                                              States                                        on BITMEX Tutorial
             2                                             United                              Free Profit Tracking Spreadsheet for
                 15.      Crypto Gnome                                        07/30/2018
             3                                              States                                         Trading on Bitmex
                                                           United                              Bitmex & Deribit Pivot Point Robot
             4   16.      Crypto Gnome                                        01/04/2019
                                                            States                                                  Trading
             5
                                                                                              Get rich trading crypto? Secret tips on
             6                                             United
                 17.      Richard Heart                                       08/14/2018         Bitcoin & Ethereum 100x margin
             7                                              States
                                                                                                      trading on Bitmex, futures
             8                                             United
                 18.          Lazy MF                                         07/02/2018                  Bitmex LiveTrading
             9                                              States

           10                                              United
                 19.          Lazy MF                                         03/12/2019          Bitmex Live trading BitcoinMF
                                                            States
           11
                                                                                                    Trading BitMEX Bitcoin On
           12                                              United
                 20.    Slingshot Futures                                     02/05/2018                          NinjaTrader;
           13                                               States
                                                                                                     www.SlingshotFutures.com
           14                                              United                            BITMEX trading during Crash-Buying
                 21.       CryptoSailor                                       01/22/2018
           15                                               States                                       the Dip with Leverage
           16                                              United                             BEST TIME TO SHORT BITCOIN!
                 22.       CryptoSailor                                       03/07/2018
           17                                               States                                                 BITMEX
                         Bitcoin Trading                   United
           18    23.                                                          01/08/2019            Scalping Bitmex Liquidations
                             Challenge                      States
           19
                                                                                             BitMEX Tutorial For Beginners - How
           20                                              United
                 24.   Digital Millionaire                                    10/31/2019     To LONG AND SHORT Bitcoin With
                                                            States
           21                                                                                                     LEVERAGE!
           22                                                                                  Beginner Method: $100-$1000/Day
                                                           United
           23    25.     Patrick Corsino                                      01/13/2020     Passive Cryptocurrency Trading 2020!
                                                            States
                                                                                                   Bitcoin Bitmex, Binance, Bybit
           24
                                                                                                 WATCH ME TURN $350 INTO
           25                                              United
                 26.       Crypto Corny                                       01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
           26                                               States
                                                                                                                   Challenge
           27    27.       Crypto Corny                    United             01/31/2019      70% DOWN, 9930% TO GO... 0.1 To
           28
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             1                                              States                          10 BITCOIN TRADING CHALLENGE
             2                                                                                                      – Bitmex

             3                                                                                 My Algorithmic Trading BOT trades
                                                           United
                 28.      MiningTrades                                        01/23/2018     $XBT Bitcoin Futures LIVE! | BitMex
             4                                              States
                                                                                                                  Jan 23rd 2018
             5
                                                           United                              How to Long and Short Bitcoin and
             6   29.      Crypto Minds                                        09/07/2018
                                                            States                                         Altcoins on Bitmex
             7                                          California,
                          Jaydn's Crypto                                                    How to get a Bitmex account in the U.S.
             8   30.                                       United             05/06/2018
                               Channel                                                       + Bitmex Cryptocurrency Walkthrough
             9                                              States

           10                                            Michigan,
                                                                                               Live BitMEX trading!!! 1 to 100 btc
                 31.       Crypt0W1SE                      United             12/30/2018
           11                                                                                                      challenge!
                                                            States
           12
                                                                                            $100,000 1 DAY PROFIT LEVERAGE
           13          ORACLE CRYPTO                       United
                 32.                                                          02/08/2020          TRADING BITSEVEN BYBIT
                           AVENGER!                         States
           14                                                                                                       BITMEX
           15          ORACLE CRYPTO                       United                            BITMEX WATCH A SHORT TRADE
                 33.                                                          10/15/2018
           16              AVENGER!                         States                               THE ENDED OVER 103% WIN!

           17                                                                                 50X BITMEX LIKE A BOSS OVER
                       ORACLE CRYPTO                       United
                 34.                                                          01/23/2018        98% ROI -WHY YOU CAN'T DO
           18              AVENGER!                         States
                                                                                                                      THIS.
           19
                       ORACLE CRYPTO                       United                             BCH MARKET MANIPULATION -
           20    35.                                                          11/07/2018
                           AVENGER!                         States                          MANIPULATE BITMEX TO PROFIT!
           21                                          Gainesville,
           22    36. Alexander Lorenzo                  FL, United            01/26/2019           Scavenger Bot Bitmex SCAM

           23                                               States
                                                           1600 S.
           24
                                                           Indiana
           25                                                                                 Live Bitcoin Trading on Bitmex with
                 37.    Swing Trade Pros                     Ave.             03/09/2020
           26                                                                                       Swing Trade Pros Indicators!
                                                        Chicago, IL
           27                                               60616
           28
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             1                                          Burlington,
                                                                                              How to use a TRAILING STOPLOSS
             2   38.      Sell The Spike                  Vermont             07/03/2019
                                                                                                                  on Bitmex
             3                                               Area
                                                        Burlington,                              Bitmex Tutorial - Placing Orders,
             4
                 39.      Sell The Spike                  Vermont             06/09/2018           Setting Stoplosses and Targets,
             5
                                                             Area                              Leverage and Margin, Walkthrough
             6
                             Bitcoin for                   United                              How To Use BitMEX Exchange For
                 40.                                                          12/22/2018
             7               Beginners                      States                                 Beginners! (BitMEX Tutorial)
             8
             9
                        101.       “Several sources close to the company” have disclosed to media sources that
           10
                 nearly 15 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is
           11
                 attributable to traders located in the United States. This number is consistent with the evidence
           12
                 available on YouTube and LinkedIn.
           13
                        102.       YouTube is also replete with dozens of videos teaching how to access Defendant’s
           14
                 HDR commercial website BitMEX.com from the United States using inexpensive and widely
           15
                 available VPN software to avoid Internet protocol (IP) address blocking. Below are 11 examples
           16
                 of such videos:
           17
           18           BitMEX Trader’s                     Trader              Video
                                                                                                                  Video Title
           19          YouTube User Name Residence                               Date

           20                                                United
                  1.       Crypto Gnome                                       08/09/2018      How to Sign Up for BitMEX in the US
                                                             States
           21
                                                            Atlanta
           22
                  2.        Bot Mentality                    United           03/22/2018     How to use Bitmex in the United States
           23
                                                             States
           24                                             California                            How to get a Bitmex account in the
                           Jaydn's Crypto
           25     3.                                         United           05/06/2018            U.S. + Bitmex Cryptocurrency
                                Channel
           26                                                States                                               Walkthrough

           27                                                United
                  4.        CryptoJunkies                                     08/15/2019        How To Trade Bitmex In America!
                                                             States
           28
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             1                                               United                           How to Trade on Bitmex for USA and
                  5.         Crypto Guru                                      03/16/2019
             2                                               States                            Canada Residents | Bitcoin Generator

             3                                                                                How to trade on BITMEX in the USA
                                                             United                              100X LEVERAGE ‼ Bitcoin BTC
             4    6.     Crypto Kam Kam                                       01/08/2020
                                                             States                              ETH LTC EOS XRP TRX BCH &
             5
                                                                                                                        ADA
             6
                                                                                               Crypto VPN - Do I Need A VPN For
                                                             United
             7    7.     Crypto Renegade                                      06/24/2019         Crypto Transactions? | Best Crypto
                                                             States
             8                                                                                      VPN's For Bitcoin Exchanges
             9                                               United                          BitMex Bitcoin Trading - How to setup
                  8.      RChrisFord.com                                      10/31/2017
           10                                                States                                               a U.S. account
                                                             United
           11     9.       Casey Watkins                                      08/23/2018         Bitmex - Signing up from the USA
                                                             States
           12
                                                                                                        ***MEX Millionaire***
           13                                                United
                 10.   Krown's Crypto Cave                                    05/07/2018         EVERYTHING You Must Know!-
                                                             States
           14                                                                                          ***BITMEX Tutorial***
           15                                                United                                Como Usar Bitmex desde USA
                 11.   CRYPTOCASH 305                                         02/01/2019
           16                                                States                                  (Bitmex Tutorial). [Spanish]

           17
           18           103.       Defendant HDR assigns a six-symbol alphanumeric affiliate codes to all BitMEX
           19    account holders and uses these affiliate codes to pay compensation to its users for enticing other
           20    users, including United States residents, to open accounts on BitMEX.com commercial website
           21    by posting a URL pointing to the BitMEX registration page and incorporating the aforesaid
           22    assigned affiliate code. The so assigned affiliate code uniquely identifies the corresponding
           23    account holder and its BitMEX account. Thus, presence of the affiliate code indicates that a
           24    person who invites others to register with Defendant’s HDR commercial website by way of an
           25    affiliate link himself has a BitMEX account. Table below provides 22 examples of BitMEX
           26    affiliate codes being assigned to the United States residents for receiving compensation for
           27    enticing other United States residents to join the BitMEX platform:
           28
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             1           BitMEX Trader’s                            Trader                BitMEX Assigned Affiliate Code
             2              Name or Alias                        Residence              (identifies trader’s BitMEX account)

             3    1.           Tone Vays                       United States                               cMvHXg
                  2.               Flood                       United States                                   ir2Xqa
             4
                  3.         Crypto Corny                      United States                                   0rsCIx
             5
                                                                  Hillsboro,
             6
                                                              Oregon, United
             7    4.    Krown's Crypto Cave                                                                    ou4vcl
                                                               States, United
             8                                                       States
             9    5.   Crypto Hippo Trading                    United States                                   gZ0Y10

           10                                                  Albuquerque,
                  6.        Edward Ornelas                     New Mexico,                                     kpdzGl
           11
                                                               United States
           12
                  7.          CryptoSailor                     United States                                   AOIyp0
           13
                  8.         MiningTrades                      United States                                   i110zC
           14     9.         Crypto Minds                      United States                                   OIv1fe
           15    10.          Moonin Papa                      United States                                   GG2kor
           16                                                Washington DC-

           17    11.        Josh Olszewicz                   Baltimore Area,                                   s7sqNI
                                                               United States
           18
                 12.      Digital Millionaire                  United States                                   P2DBFt
           19
                                                             New York, New
           20
                 13.        Patrick Corsino                     York, United                                   TD6yks
           21                                                        States
           22                                                     Michigan
                 14.          Crypt0W1SE                                                      rLMJ0, DYBmFQ, rLMJ0L
           23                                                  United States

           24    15.        Casey Watkins                      United States                                   lf9P89
                        ORACLE CRYPTO
           25    16.                                           United States                                   WXNej9
                              AVENGER!
           26
                                                             New York, New
           27    17.      Swing Trade Pros                                                                     G4cfM4
                                                                York, United
           28
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             1                                                       States
             2   18. Bitcoin for Beginners                     United States                                     5i7rOb

             3   19.        Crypto Gnome                       United States                                 EOsLBm
                                                                 Burlington,
             4   20.         Sell The Spike                                                                  KO33NC
                                                               Vermont Area
             5
                                                                Los Angeles,
             6   21.         Scrembo Paul                                                                        BlQzsA
                                                                  California
             7                 Like Martin                       Knoxville,
                 22.                                                                                             9e4hqj
             8             (Venturecoinist)                   Tennessee Area
             9
           10
                        104.       Professional network LinkedIn provides publicly available evidence of 74
           11
                 individuals, who are United States residents and who identify themselves as present and former
           12
                 employees of Defendant HDR, located in the United States and in this District:
           13
           14          LinkedIn Member Name                                   Position at BitMEX                            Residence

           15     1.             Max Shapiro                        Associate at BitMEX Ventures                   New York, New York

           16     2.         Kumar Dandapani                           Head of BitMEX Ventures                    San Francisco Bay Area
                                                                      Senior Software Engineer at
           17     3.         Alena Gilevskaya                                                                    San Francisco, California
                                                                                   BitMEX
           18
                                                                      Senior Frontend Engineer at
           19     4.             Alex Manusu                                                                     San Francisco, California
                                                                                   BitMEX
           20                                                            Former Head of Venture
                  5.          Maxim Wheatley                                                                     San Francisco, California
           21                                                            Development at BitMEX
           22                                                          Former CMO Operations at                   Greater New York City
                  6.               Lisa Loud
                                                                                   BitMEX                                       Area
           23
                                                                      Senior Software Engineer at
           24     7.            Lucky Odisetti                                                                    Menlo Park, California
                                                                                   BitMEX
           25
                  8.         Niroj Shankhadev                          Web Developer at BitMEX                   San Francisco, California
           26                                                            Co-Founder and CTO at
                  9.             Samuel Reed                                                                              United States
           27                                                                      BitMEX
           28
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             1   10.             Eric Zinnikas                       Security Engineer at BitMEX                San Francisco, California
             2                                                      Talent Acquisition Specialist at            San Francisco Bay Area,
                 11.            Molly Lubow
             3                                                                    BitMEX                                   California
                                                                      Senior Software Engineer at
             4   12.            Evan Ricketts                                                                     Milwaukee, Wisconsin
                                                                                  BitMEX
             5
                                                                    Security Engineering Manager,
             6   13.          Michael Carlson                                                                   San Francisco, California
                                                                   Application Security at BitMEX
             7                                                        Technical Program Manager
                 14.         Monzer Aldimassi                                                                      Campbell, California
             8                                                                (TPM) at BitMEX
             9                                                       Vice President Of Engineering              San Francisco Bay Area,
                 15.            Patrick Fiscina
           10                                                                    at BitMEX                                 California
                                                                                                                San Francisco Bay Area,
           11    16.          Allison Sommers                        Security Engineer at BitMEX
                                                                                                                           California
           12
                 17.        Conner McNicholas                         Data Engineering at BitMEX                San Francisco, California
           13
                                                                         Engineering Manager at
           14    18.        Brandon Schlenker                                                                   San Francisco, California
                                                                                  BitMEX
           15    19.          Riley Hutchinson                         Director, People at BitMEX               San Francisco, California
           16                                                        Senior IT Support Engineer at
                 20.            Benson Wong                                                                       San Carlos, California
           17                                                                     BitMEX
                 21.                Peter M.                         Security Engineer at BitMEX                San Francisco, California
           18
                                                                       Site Reliability Engineer at
           19    22.             Jerry Aldrich                                                                      Seattle, Washington
                                                                                  BitMEX
           20
                 23.            Emilio Rivera                       Technical Recruiter at BitMEX               San Francisco, California
           21                                                          Senior Product Manager at
                 24.          Tom Dimopoulos                                                                    San Francisco, California
           22                                                                     BitMEX
           23                                                        Head of Security Assurance at
                 25.            Mahmoud Ali                                                                     San Francisco, California
           24                                                                     BitMEX
                                                                      Head of DevOps at BitMEX
           25
                                                                     (Powering the world’s largest
           26    26.           Quentin Machu                                                                    San Francisco, California
                                                                    cryptocurrency trading platform
           27
                                                                    with Kubernetes, at the edge of
           28
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             1                                                         financial and infrastructure
             2                                                     technologies. Scaling BitMEX’s

             3                                                          infrastructure, culture and
                                                                    practices from 10 employees to
             4
                                                                      150 employees, from $1B to
             5
                                                                      $11B traded daily, and 150x
             6
                                                                                  more trades.)
             7                                                       Security Engineering Manager
                 27.             Maus Stearns                                                                     San Francisco, California
             8                                                                     at BitMEX
             9                                                       Security Engineer - Detection
                 28.       Andrew MacPherson                                                                      San Francisco, California
           10                                                           and Response at BitMEX
                                                                   Director of Offensive Security at               Washington, DC Metro
           11    29.              Chris Gates
                                                                                    BitMEX                                       Area
           12
                                                                    Software Engineer - Kubernetes
           13                                                            at BitMEX (Working on
           14                                                                 building Kubernetes
           15                                                         Infrastructure that can handle
                 30.        Supriya Premkumar                                                                     San Francisco, California
           16                                                      tens of thousands of low latency
                                                                   transactions per second at one of
           17
                                                                         the world's largest crypto
           18
                                                                                  exchanges.)
           19
                 31.             David Vidal                         Security Engineer at BitMEX                  San Francisco, California
           20                                                          Site Reliability Engineering
                 32.                Scott H.                                                                      San Francisco, California
           21                                                                   Lead at BitMEX
           22                                                                 Vice President, Chief

           23                                                       Information Security Officer at
                                                                    BitMEX (Leading the Security
           24
                 33.            Chris McCann                             & IT organizations at the                   Palo Alto, California
           25
                                                                          world’s highest volume
           26                                                                   Cryptocurrency
           27                                                         exchange. Building a world
           28
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             1                                                        class Security team to protect
             2                                                          our customers, assets and

             3                                                                       brand.)
                                                                        Staff Security Engineer at
             4   34.     Javier Marcos de Prado                                                                    San Francisco, California
                                                                                     BitMEX
             5
                                                                         Senior Manager Security
             6   35.             Shivali Singh                                                                     San Francisco, California
                                                                              Assurance at BitMEX
             7   36.      Felipe Loyola Andrade                      Software Engineer at BitMEX                   San Francisco, California
             8                                                        Senior Software Engineer at
             9   37.              Felix Böhm                           BitMEX (Tech lead for the                   San Francisco, California

           10                                                         institutional side of BitMEX)
                                                                    Engineering Leader, Lead Data
           11    38.               Neel Patel                                                                       Burlingame, California
                                                                              Engineer at BitMEX
           12
                                                                      Senior Software Engineer at
           13    39.        Taylor Hesselgrave                                                                     San Francisco, California
                                                                                     BitMEX
           14                                                        Product Manager at Bitmex at
                 40.              Alisa Isovic                                                                     San Francisco, California
           15                                                                        BitMEX
           16                                                          Site Reliability Engineer at

           17                                                        BitMEX (Primary on call in a
                 41.           Armando Cerna                                                                       San Francisco, California
                                                                              high traffic production
           18
                                                                                  environment.)
           19
                 42.          Miguel Bernadin                      Kubernetes Engineer at BitMEX                   San Francisco, California
           20
                                                                    Senior Software Engineer - API
                 43.                Elliot S.                                                                      San Francisco, California
           21                                                          Technical Lead at BitMEX
           22                                                      Security Investigations Manager
                 44.               Bernard S.                                                                               United States
           23                                                                      at BitMEX

           24                                                          HR Operations Specialist at
                 45.             Josie Pappas                                                                      San Francisco, California
                                                                                     BitMEX
           25
                 46.              Jinny Wong                          Product Designer at BitMEX                   San Francisco, California
           26
                                                                         Information Technology
           27    47.                Claire F.                                                                      San Francisco, California
                                                                         Management at BitMEX
           28
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             1                                                        Senior Software Engineer at
                 48.               Can Selcik                                                                    San Francisco, California
             2                                                                     BitMEX

             3                                                         Threat Intelligence, Insider
                 49.           Eoghan McKee                           Threat, Incident Response at               San Francisco, California
             4
                                                                                   BitMEX
             5
                                                                       Head of User Experience at
             6   50.            Lawson Kight                                                                     San Francisco, California
                                                                                   BitMEX
             7   51.              Shawhin M.                          Project Manager at BitMEX                  San Francisco, California
             8                                                       Platform Security Engineer at
                 52.                 Ladi D.                                                                     San Francisco, California
             9                                                                     BitMEX

           10                                                            Quality Assurance (QA)
                 53.               Neil Eads                                                                     San Francisco, California
                                                                              Manager at BitMEX
           11
                                                                   Vice President, Head of Product
           12    54.            Michael Curry                                                                    Oakland, California
                                                                                  at BitMEX
           13
                                                                    Principal Visual Designer, User
                 55.           Joshua Philippe                                                                   San Francisco, California
           14                                                             Experience at BitMEX
           15                                                         IT Infrastructure Engineer at
                 56.                 Tim L.                                                                      San Francisco, California
           16                                                                      BitMEX

           17                                                         Communication Director and
                 57.             Hunter Shaw                                                                     San Francisco, California
                                                                                   BitMEX
           18
                                                                         Senior Security Program
           19    58.             Brian Rankin                                                                    San Francisco, California
                                                                              Manager at BitMEX
           20
                                                                       Senior Product Manager at
                 59.            Bradley Cruce                                                                    San Francisco, California
           21                                                                      BitMEX
           22                                                         Senior Software Engineer at
                 60.         Simone Bottecchia                                                                   San Francisco, California
           23                                                                      BitMEX

           24    61.                Julia Zhu                      Former Head of Data at BitMEX San Francisco, California
                 62.                Yifan Gu                       Kubernetes Engineer at BitMEX San Francisco, California
           25
                                                                      Product Manager at BitMEX
           26
                 63.            Uday Shankar                         (My average week at BitMEX                  San Francisco, California
           27
                                                                        involves product research,
           28
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             1                                                       market research, data analysis,
             2                                                     scouring through support tickets,

             3                                                        watching social channels for
                                                                      opportunities in terms of new
             4
                                                                     features and improvements to
             5
                                                                     existing features collaborating
             6
                                                                   with Engineering, Program, QA,
             7                                                      Security, Legal and Compliance
             8                                                        teams. I manage expectations

             9                                                      across Design, Engineering and
                                                                    Management orgs and ensuring
           10
                                                                    the product ideas and solutions
           11
                                                                    are communicated, wireframed
           12
                                                                    and pitched in the right fidelity
           13                                                        to get all stakeholders onboard
           14                                                         and scope our short term and
           15                                                         long term roadmaps for each
                                                                                  projects.)
           16
                                                                    Principal / Lead senior software
           17
                                                                   engineer at BitMEX focused on
           18    64.          Victor Levasseur                                                                   San Francisco, California
                                                                     a product driven approach and
           19                                                                 with great business
           20                                                             Former Executive Vice
           21                                                            President of Product and

           22                                                       Engineering ( Built and led the
                                                                        North American arm of an
           23
                 65.          Jason Bond Pratt                           overseas cryptocurrency                 San Francisco, California
           24
                                                                     derivatives exchange, hiring a
           25
                                                                      team of 40 during a period of
           26                                                      100x growth. (BitMEX was then
           27                                                        and remains the largest crypto
           28
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             1                                                        exchange, by volume, in the
             2                                                                    world.)

             3                                                      • Grew product and engineering
                                                                        team from 1 to 40 across 5
             4
                                                                    operational groups, and hired or
             5
                                                                     developed hiring managers for
             6
                                                                              each of them.
             7                                                          • Established a culture that
             8                                                           valued diversity, respect,

             9                                                         inclusion and appreciation,
                                                                          emphasizing team-first
           10
                                                                   principles and a humble, servant
           11
                                                                    leadership ethic throughout our
           12
                                                                               organization.
           13                                                          • Hired or developed global
           14                                                          leads for Security, DevOps,
           15                                                      Recruiting, IT, UX, Mobile, and
                                                                     API/Web Engineering, and led
           16
                                                                     the first D&I initiatives at the
           17
                                                                      company. Secured long term
           18
                                                                        Class A space in the FiDi.
           19                                                      • Served on the global exec team
           20                                                        and coordinated regularly with
           21                                                          peers and founders in Hong

           22                                                           Kong, London, and NYC.
                                                                    Managed a budget of $15mm.)
           23
                                                                    Former Project Office Manager
           24
                                                                          – Global Marketing and
           25    66.    Ska Ska Morales-Murray                                                                    New York, New York
                                                                        Business Development at
           26                                                                    BitMEX
           27    67.              Tim Tickel                          Head of Security at BitMEX                  San Mateo, California
           28
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             1                                                          (Securing cryptocurrency
             2                                                           exchange infrastructure)

             3                                                           Data Science Manager at
                 68.         Chenqi 'Ashley' X.                                                                     San Francisco, California
                                                                                     BitMEX
             4
                                                                         Former Senior Software
             5   69.              Kev Zettler                                                                           Oakland, California
                                                                              Engineer at BitMEX
             6
                                                                    Former Art Director at BitMEX
             7                                                      (Led a cross-functional rebrand
             8                                                     project with Marketing, Product,
             9                                                     and Brand collaborators to build

           10                                                                 the BitMEX brand for
                 70.               Cynthia P.                                 institutional and retail                New York, New York
           11
                                                                   audiences. Deliverables included
           12
                                                                       brand and style guidelines,
           13                                                        visual assets, content strategy,
           14                                                            digital and print editorial
           15                                                                      campaigns.)

           16    71.             Natalie Case                         Technical Writer at BitMEX                    Walnut Creek, California
                                                                       Former Content Manager at
           17    72.              Deb Baratz                                                                          New York, New York
                                                                                     BitMEX
           18
                                                                   Former Operations Supervisor at
           19    73.             Robbin Kyle                                                                         Livingston, New Jersey
                                                                                     BitMEX
           20                                                      Former Senior DevOps Engineer
           21                                                         at BitMEX (Migrated legacy
           22                                                             services to Kubernetes,

           23                                                      Established effective CI patterns
                 74.                Jacob H.                           and provisioning strategies,                    Indianapolis, Indiana
           24
                                                                     Worked with security team to
           25
                                                                        integrate auth/sso into dev
           26                                                       workflows, Created tooling for
           27                                                          use by DevOps and Product
           28
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             1                                                                   Teams)
             2
                        105.       Based on the publicly available LinkedIn data, while 74 of Defendant HDR
             3
                 employees are located in the United States, only 34 are located in Hong Kong, which is the home
             4
                 for second largest Defendant HDR office. Therefore, more than two thirds of Defendant HDR
             5
                 employees worldwide are residing in the United States and in this District. Moreover, the vast
             6
                 majority of the 74 United States employees of Defendant HDR are engaged in software
             7
                 development and engineering, while in Hong Kong, there are only six software developers and
             8
                 engineers employed by Defendant HDR. Moreover, all three Site Reliability Engineers Jerry
             9
                 Aldrich, Scott H. and Armando Cerna, personally responsible for the fraudulent system overloads
           10
                 and server freezes, are located in this District. Therefore, the United States and, specifically, this
           11
                 District is unquestionably the central location where all the technology behind the BitMEX
           12
                 platform has been and continues to be developed, from which the BitMEX platform is operated
           13
                 and managed by Defendants and where the illegal acts alleged in this Complaint took place.
           14
                        106.       In addition, BitMEX website lists 17 job openings for Defendant HDR San
           15
                 Francisco office. For comparison, the other two offices of Defendant HDR – Hong Kong and
           16
                 Singapore list 14 and two job openings, respectively. Furthermore, out of 17 advertised job
           17
                 openings in Defendant HDR San Francisco office, 15 are openings in engineering and software
           18
                 development. On the other hand, in Hong Kong office, only four job openings are in software
           19
                 development and engineering. This fact further supports the conclusion that the United States
           20
                 and, specifically, this District is unquestionably the central location where all the technology
           21
                 behind the BitMEX platform has been and continues to be developed, from which the BitMEX
           22
                 platform is operated and managed and where the illegal acts alleged in this Complaint took place.
           23
                        107.       BitMEX conducts offsites for the entire company hosted at its San Francisco office
           24
                 location, at least one of which occurred in November of 2017, in which Defendant Hayes and the
           25
                 rest of BitMEX’s employees globally came to San Francisco and the San Francisco office.
           26
                        108.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 104,
           27
                 almost the entire engineering team (all but six) as well as all three Site Reliability Engineers Jerry
           28
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             1
                 Aldrich, Scott H. and Armando Cerna, as alleged in Paragraph 105, and almost all vital external
             2
                 service providers to BitMEX, as alleged in Paragraph 87, are located in this District, and because
             3
                 Defendant ABS, which develops, operates, enables, supports and services BitMEX platform is
             4
                 located in this District, this District is the home base of the largest operation of Defendant DHR,
             5
                 the nerve center of the operation of the BitMEX platform, and it is the location where the illegal
             6
                 acts alleged in this complaint took place, including, without limitation, racketeering in violation
             7
                 of 18 U.S.C. §§ 1962(d) and (c), wire fraud in violation of 18 U.S.C. § 1343; money laundering in
             8
                 violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in property derived from
             9
                 specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting, controlling, managing,
           10
                 supervising, directing, or owning all or part of an unlicensed money transmitting business in
           11
                 violation of 18 U.S.C. § 1960(a), interstate transportation of stolen property in violation of 18
           12
                 U.S.C. § 2314 and cryptocurrency market manipulation in violation of the CEA, 7 U.S.C. §§ 1 et
           13
                 seq. (2018) and CFTC Regulations promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2019).
           14
                 Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           15
                 and operated by United States based Amazon EKS. Furthermore, the illegal acts alleged herein
           16
                 were all perpetrated by Defendants through their commercial website BitMEX.com, accessible,
           17
                 via widely available and inexpensive VPN software, by users located in the United States and this
           18
                 District. Defendants knew that users located in the United States and this District were accessing
           19
                 their commercial website BitMEX.com.
           20
                         109.      Numerous citizens and residents of the United States and this District conducted
           21
                 and continue to conduct a high volume derivatives trading on the BitMEX platform using
           22
                 Defendants’ commercial website BitMEX.com.
           23
                         110.      The same commercial website BitMEX.com was used by Defendants to perpetrate
           24
                 all the illegal acts alleged in Paragraph 104, resulting in injuries to Plaintiff, for which Plaintiff
           25
                 seeks redress in this Complaint. Accordingly, Defendants’ connections with the United States
           26
                 and this District through the commercial website BitMEX.com, used by the United States
           27
                 residents and residents of this District, are directly related to the causes of action asserted by
           28
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             1
                 Plaintiff in this Complaint.
             2
                        111.       For the reasons stated in the previous Paragraphs of this Complaint, BitMEX is a
             3
                 domestic United States cryptocurrency exchange.
             4
                                               U.S. TRADERS ON BITMEX LEADERBOARD
             5
                        112.       While Defendants and their counsel are busy disingenuously swearing to Courts
             6
                 that “U.S. persons are expressly prohibited from trading on BitMEX platform,” Defendants’ own
             7
                 public Leaderboard posted on Defendants’ website (https://www.bitmex.com/app/leaderboard)
             8
                 reveals that just four U.S.-based traders who decided to reveal their real names (evidently in an
             9
                 effort to assist with fundraising): Roger Xu of Leotank Capital Inc. and Bryce Gilleland, Wen
           10
                 Hou and Sunil Shah of Coincident Capital (Ex. 14) generated almost $70,000,000 in trading
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26
           27    profits on Defendants’ BitMEX platform. As attached Ex. 8 clearly shows, Bryce Gilleland, Wen
           28
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             1
                 Hou and Sunil Shah reside in California, while Roger Xu resides in New York.
             2
                        113.       Moreover, the above staggering amount of business was conducted by Defendants
             3
                 in the United States and the State of California without obtaining a money transmission license
             4
                 and without complying with the mandatory FinCEN regulations in violation of 18 U.S.C.
             5
                 § 1960(a). Notably, all the above evidence was obtained from Defendants’ own public website
             6
                 without any benefit of discovery. Plaintiff is informed and believes that this is a mere tip of the
             7
                 iceberg and that up to third of all traders on the BitMEX Leaderboard generating half a billion
             8
                 dollars of profits are U.S. persons.
             9
                                        ATTEMPTS TO MISLEAD COURTS REGARDING
           10                                            MATERIAL FACTS
                                  “U.S. persons are expressly prohibited from accessing and trading on
           11
                                       the BitMEX platform.” Mr. Hibbard, Defendants’ counsel.
           12           114.       It is simply inconceivable that Defendants and their litigation counsel somehow
           13    did not know that some of their top traders who generated almost $70,000,000 in profits on
           14    Defendants’ own platform were U.S. persons, Ex. 8. Obviously, such high profile traders are
           15    universally known by name. Yet, with full knowledge that some of BitMEX’s top trading
           16    accounts which generated almost $70,000,000 in trading gains were in fact operated by U.S.
           17    persons, Defendant Hayes, with the assistance and encouragement of Defendants’ counsel,
           18    nevertheless disingenuously swore under the penalty of perjury in a California Superior Court
           19    proceeding, in a motion challenging Court’s jurisdiction that “U.S. persons are expressly
           20    prohibited from accessing or trading on the BitMEX platform.” Defendants’ counsel, not to be
           21    outdone, repeated this travesty thirteen (!) more times throughout his various motions and
           22    oppositions. Various representations of material facts made by Defendant Hayes and his counsel
           23    to Courts as well as the true facts are summarized in the table below:
           24
                  Court Name,
                                                     Defendant Hayes’           Defendants counsel’s                The True Facts and
           25       Case and            Date
                                                      Representations             Representations                        Exhibits
                   Document
           26    N.D. Cal. 3:20-      6/12/20                                 “No further time and              “Contrary to requirements
                 cv-3345-WHO,                                                 attention of this Court is        imposed on DCMs and
           27    Defendants’                                                  warranted as there is no          SEFs, BitMEX has failed
                 Opposition to                                                need for a court to order         to maintain required
           28    Ex Parte                                                     someone to do what they           records, and in fact has
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             1   Application for                                               are already doing.”               actively deleted required
                 Evidence                                                                                        records including critical
             2   Preservation                                                  “Our clients understand           customer identification
                 Order [Dkt.                                                   their document                    information.” Ex. 5, p. 16,
             3   No. 26, p. 3, 5].                                             preservation                      ¶ 49.
                                                                               responsibilities and have
             4                                                                 acted responsibly to              Defendants also falsified
                                                                               fulfill them. As such,            records: “Delo altered a
             5                                                                 there is no dispute, and          U.S. resident’s (and
                                                                               there is no need for a            prominent BitMEX user)
             6                                                                 document preservation             account location to Canada
                                                                               order.”                           for a user that brought in
             7                                                                                                   1,336 user accounts
                                                                                                                 through BitMEX’s affiliate
             8                                                                                                   program.” Ex. 5, p. 24, ¶
                                                                                                                 90.
             9   San Francisco         2/27/20       “U.S. persons are                                           “BitMEX operated its
                 County                              expressly                                                   trading platform in large
           10    Superior Court,                     prohibited from                                             part from the United States,
                 CGC19581267,                        accessing or trading                                        and engaged in transactions
           11    Declaration in                      on the BitMEX                                               with thousands of U.S.
                 Support of                          platform under the                                          persons. BitMEX accepted
           12    Motion to                           terms of service.”                                          bitcoin deposits worth
                 Quash                                                                                           more than $11 billion from
           13    San Francisco         2/27/20                                 “HDR is a holding                 at least 85,000 user
                 County                                                        company that                      accounts with a U.S.
           14    Superior Court,                                               ultimately owns the               nexus.” Ex. 5, p. 3, ¶ 3.
                 CGC19581267,                                                  BitMEX-branded trading
           15    MPA in                                                        platform that allows the          “BitMEX even maintained
                 Support of                                                    trading of digital assets         an internal dashboard of
           16    Motion to                                                     (such as cryptocurrency           open accounts from
                 Quash                                                         derivatives) by certain           supposedly restricted
           17                                                                  non-U.S. persons.”                jurisdictions… Delo
                 San Francisco         2/27/20                                 “Further, U.S. persons            altered a U.S. resident’s
           18    County                                                        are prohibited                    (and prominent BitMEX
                 Superior Court,                                               from accessing and                user) account location to
           19    CGC19581267,                                                  trading on the BitMEX             Canada for a user that
                 MPA in                                                        platform.”                        brought in 1,336 user
           20    Support of                                                                                      accounts through
                 Motion to                                                                                       BitMEX’s affiliate
           21    Quash                                                                                           program… Hayes, Delo,
                 San Francisco         2/27/20                                 “U.S. persons are                 and Reed received or had
           22    County                                                        prohibited from trading           access to spreadsheets and
                 Superior Court,                                               on the BitMEX                     reports that showed the
           23    CGC19581267,                                                  platform.”                        trading volume, revenue to
                 MPA in                                                                                          BitMEX, and other account
           24    Support of                                                                                      and transactional
                 Motion to                                                                                       information for U.S. based
           25    Quash                                                                                           traders. For example,
                 San Francisco         6/16/20       “U.S. persons are                                           BitMEX country revenue
           26    County                              expressly                                                   reports from October 2018
                 Superior Court,                     prohibited from                                             contain information about
           27    CGC19581267,                        accessing or trading                                        the number of U.S traders
                 Declaration in                      on the BitMEX                                               on its platform.” Ex. 5, p.
           28
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             1   Support of                         platform under the                                          24, ¶ 91.
                 Motion to                          terms of service.”
             2   Quash                                                                                          In addition, some of
                 San Francisco        6/16/20                                 “HDR is a holding                 BitMEX’s most profitable
             3   County                                                       company that                      trading accounts openly
                 Superior Court,                                              ultimately owns the               listed on BitMEX’s public
             4   CGC19581267,                                                 BitMEX-branded trading            Leaderboard, which
                 MPA in                                                       platform that allows the          generated almost
             5   Support of                                                   trading of digital assets         $70,000,000 in trading
                 Motion to                                                    (such as cryptocurrency           profits, were and continue
             6   Quash                                                        derivatives) by certain           to be operated by four U.S.
                                                                              non-U.S. persons.”                persons Bryce Gilleland,
             7   San Francisco        6/16/20                                 “U.S. persons are                 Wen Hou, Sunil Shah and
                 County                                                       expressly prohibited              Roger Xu.
             8   Superior Court,                                              from accessing and
                 CGC19581267,                                                 trading on                        Bryce Gilleland resides at:
             9   MPA in                                                       the BitMEX platform.”             1400 Calle De Las Flores,
                 Support of                                                                                     San Dimas, CA 91773, Ex.
           10    Motion to                                                                                      8.
                 Quash
           11    San Francisco        6/16/20                                 “Plaintiffs allege that …         Wen Hou resides at: 2253
                 County                                                       U.S. persons trade on the         Martin Ct. Apt. 113, Irvine,
           12    Superior Court,                                              BitMEX platform despite           CA 92612, Ex. 8.
                 CGC19581267,                                                 being prohibited from
           13    MPA in                                                       doing so.                         Sunil Shah resides at: 310
                 Support of                                                   Regardless of the truth of        Lake St., Unit #310,
           14    Motion to                                                    these allegations—most            Huntington Beach, CA
                 Quash                                                        of which are false                92648, Ex. 8.
           15                                                                 or otherwise
                                                                              misleading…”                      Roger Xu resides at: 250W
           16    San Francisco        6/16/20                                 “Further, U.S. persons            50th Street, Apt. 3d2, New
                 County                                                       are prohibited                    York, NY 10019, Ex. 8.
           17    Superior Court,                                              from trading on the
                 CGC19581267,                                                 BitMEX platform.”                 Due to the enormous sizes
           18    MPA in                                                                                         of the trading gains
                 Support of                                                                                     involved and the high
           19    Motion to                                                                                      profile of the traders, it is
                 Quash                                                                                          absolutely inconceivable
           20    San Francisco        6/16/20                                 “U.S. persons are                 for Defendants and their
                 County                                                       prohibited from trading           counsel not to have known
           21    Superior Court,                                              on the BitMEX                     this fact at the time
                 CGC19581267,                                                 platform.”                        Defendants and their
           22    MPA in                                                                                         counsel made the material
                 Support of                                                                                     representations to the
           23    Motion to                                                                                      courts regarding
                 Quash                                                                                          jurisdictional facts.
           24    San Francisco        6/23/20                                 “U.S. persons are
                 County                                                       expressly prohibited
           25    Superior Court,                                              from accessing and
                 CGC19581267,                                                 trading on the BitMEX
           26    Opposition to                                                platform.”
                 Motion to
           27    Compel
                 San Francisco        6/23/20                                 “Plaintiffs allege that …
           28
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             1   County                                                       some U.S. persons trade
                 Superior Court,                                              on the BitMEX platform
             2   CGC19581267,                                                 despite being prohibited
                 Opposition to                                                from doing so.
             3   Motion to                                                    Regardless of the truth of
                 Compel                                                       these allegations—most
             4                                                                of which are false or
                                                                              otherwise misleading.”
             5   San Francisco        6/25/20                                 “U.S. persons are
                 County                                                       expressly prohibited
             6   Superior Court,                                              from accessing and
                 CGC19581267,                                                 trading on the BitMEX
             7   MPA in                                                       platform.”
                 Support of
             8   Motion for
                 Protective
             9   Order
                 San Francisco        6/25/20                                 “Plaintiffs allege that …
           10    County                                                       some U.S. persons trade
                 Superior Court,                                              on the BitMEX platform
           11    CGC19581267,                                                 despite being prohibited
                 MPA in                                                       from doing so.
           12    Support of                                                   Regardless of the truth of
                 Motion for                                                   these allegations—most
           13    Protective                                                   of which are false or
                 Order                                                        otherwise misleading.”
           14
                        115.       While the conduct of Defendants and their counsel alleged in the previous
           15
                 paragraph may not be technically a perjury, a plain and clear attempt to mislead Courts as to very
           16
                 material facts critical for the jurisdictional inquiry is evident. This speaks volumes as to the
           17
                 “catch me if you can” strategy adopted by all Defendants. Defendants’ counsel, on the other
           18
                 hand, who is an officer of the court and who is charged to act as a gatekeeper, seems to take
           19
                 special pride in perpetuating untruths concocted by Defendants to try to wiggle their way out of
           20
                 facing justice for their misdeeds.
           21
                        116.       Less than 48 hours after Plaintiff brought the above facts to the attention of the
           22
                 Court in the CMC Statement filed on August 11, 2020, Dkt. 33, Defendants abruptly instituted a
           23
                 so called “BitMEX User Verification Programme,” solely intended to create an apparent excuse
           24
                 for previously misleading Courts regarding U.S. traders on BitMEX platform, Ex. 9. Evidently,
           25
                 Defendants intend to disingenuously claim to the Court that, prior to the sudden institution of the
           26
                 aforesaid 11th hour “BitMEX User Verification Programme,” Defendants somehow did not know
           27
                 that U.S. persons were trading on BitMEX en masse and also did not know who their top traders
           28
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             1
                 were, despite maintaining an official Leaderboard for more than 4 years. In view of all the above
             2
                 facts, Defendants’ 11th hour firefighting efforts are clearly disingenuous.
             3                   ACCEPTANCE OF TAINTED FUNDS AS PAYMENT FOR
                                 MISLEADING COURTS BY DEFENDANTS’ ATTORNEYS
             4
                        117.       Not only was Defendants’ counsel eagerly willing to mislead Courts regarding
             5
                 material jurisdictional facts to get Defendants off the hook no matter the cost, he also gladly
             6
                 accepted funds tainted with proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and
             7
                 1957 and proceeds of operating an unlicensed money transmitting business in violation of 18
             8
                 U.S.C. § 1960(a) as his fee for doing so.
             9
                        118.       As alleged above, BitMEX knowingly collects hundreds of millions of dollars in
           10
                 trading fees from the money laundering transactions taking place on its platform on a daily basis,
           11
                 including during each of the specific Manipulation Times alleged in Paragraph 353 below, which
           12
                 constitute “proceeds” of money laundering under 18 U.S.C. §§ 1956 and 1957 and which are
           13
                 deposited into its general account (bitcoin wallet), from which all legal fees of BitMEX attorneys
           14
                 are paid (after currency conversion). Thus, BitMEX’s employee salaries, office rents and even
           15
                 legal fees that BitMEX attorneys collect are tainted with the proceeds of money laundering in
           16
                 violation of 18 U.S.C. §§ 1956 and 1957.
           17
                        119.       Moreover, BitMEX has been recently caught red-handed doing at least
           18
                 $70,000,000 of business in New York and California without obtaining a money transmitting
           19
                 license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
           20
                 § 1960(a), Ex. 8. This violation has been conclusively proven using BitMEX’s own Leaderboard,
           21
                 Ex. 8. Even Defendants themselves acknowledged this fact by hastily instituting a “User
           22
                 Verification Programme” less than 48 hours after being caught doing unlicensed business in the
           23
                 United States, Ex. 9. In total, BitMEX has 65 individual and 14 institutional United States traders
           24
                 that Plaintiff is aware of, see Paragraphs 93, 94, 99. The amount of $70,000,000 of unlicensed
           25
                 United States business exceeds any possible threshold for the obligation to obtain the money
           26
                 transmitting license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella, 39 F.
           27
                 Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was
           28
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             1
                 $1,000,000 in unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.
             2
                 Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed
             3
                 bitcoin transmissions. Based on these cases, Defendants have exceeded the legal threshold for
             4
                 triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty
             5
                 three times).
             6
                        120.       Consequently, all the fees that BitMEX collected from its trading operations and
             7
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
             8
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
             9
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained in Paragraph 114 above). Legal fees for
           10
                 Defendants’ counsel’s “services” aimed at misleading Courts were paid from the same general
           11
                 account, which contained the tainted funds.
           12
                        121.       It should be further noted that the Safe Harbor Provision of 18 U.S.C. § 1957(f)(1)
           13
                 applies to criminal matters only, while Defendants’ counsel received tainted funds for
           14
                 representing Defendants in civil cases. Therefore, the Safe Harbor Provision of 18 U.S.C. §
           15
                 1957(f)(1) does not apply and the acceptance of tainted funds for counsel’s efforts to mislead
           16
                 Courts, itself constitutes money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
           17
                        122.       Thus, all the fees paid to Defendants’ legal counsel in this and other civil matters
           18
                 by Defendants, including fees paid for misleading Courts regarding material jurisdictional facts as
           19
                 alleged in Paragraphs 110 and 111, were tainted with proceeds of money laundering in violation
           20
                 of 18 U.S.C. §§ 1956 and 1957 and proceeds of operating an unlicensed money transmitting
           21
                 business in violation of 18 U.S.C. § 1960(a). Moreover, Defendants’ counsel was clearly on
           22
                 notice of very serious issues with Defendant Hayes, as Mr. Hayes has previously publicly
           23
                 admitted to bribery of foreign government officials and bank fraud, Ex. 10, 11, of which
           24
                 Defendants’ counsel was specifically informed. Thus, Defendants’ counsel’s conduct of
           25
                 misleading Courts about material facts and accepting tainted money as fees for doing so was
           26
                 clearly intentional. Notably, some of the Defendants used the same tainted funds from their
           27
                 general account to acquire real state in Wisconsin and Massachusetts as alleged in Paragraph 334.
           28
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             1
                                                             JURISDICTION AND VENUE
             2
                         123.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 121 above as
             3
                 if fully set forth herein.
             4
                         124.      This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. §
             5
                 1964 as well as 28 U.S.C. §§ 1331 and 1332(a). Specifically, this action arises under RICO and
             6
                 CEA, both of which present a federal question.
             7
                         125.      This Court has jurisdiction over the statutory and common law claims of violations
             8
                 under California law pursuant to this Court’s supplemental jurisdiction under 28 U.S.C. §
             9
                 1367(a).
           10
                         126.      This Court has personal jurisdiction over Defendants, and each of them, pursuant
           11
                 to California long arm statute codified in Cal. Code Civ. Proc. § 410.10 as well as RICO personal
           12
                 jurisdiction provisions of 18 U.S.C. § 1965(a) and (b).
           13
                         127.      Defendant HDR conducts and has conducted a substantial, systematic, and
           14
                 continuous business in the State of California as alleged hereinabove.
           15
                         128.      Defendant ABS conducts and has conducted a substantial, systematic, and
           16
                 continuous business in the State of California as alleged hereinabove.
           17
                         129.      Defendant Hayes conducts and has conducted a substantial, systematic, and
           18
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant
           19
                 Hayes transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least
           20
                 through his alter ego Defendant ABS, headquartered in this District, of which is he a founder,
           21
                 CEO, CFO, secretary and director. As alleged in Paragraph 38, name “ABS” is an abbreviation
           22
                 constructed of first letters of first names (Arthur, Ben and Samuel) of individual Defendants
           23
                 Hayes, Delo and Reed.
           24
                         130.      Defendant Delo conducts and has conducted a substantial, systematic, and
           25
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant Delo
           26
                 transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
           27
                 alter ego Defendant ABS, headquartered in this District, of which is he a founder. As alleged in
           28
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             1
                 Paragraph 38, name “ABS” is an abbreviation constructed of first letters of first names (Arthur,
             2
                 Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
             3
                        131.       Defendant Reed conducts and has conducted a substantial, systematic, and
             4
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant Reed
             5
                 transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
             6
                 alter ego Defendant ABS, headquartered in this District, of which is he a founder and CTO. As
             7
                 alleged in Paragraph 38, name “ABS” is an abbreviation constructed of first letters of first names
             8
                 (Arthur, Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
             9
                        132.       This Court clearly has personal jurisdiction over at least one of the participants in
           10
                 the alleged multi-district RICO conspiracy – Defendant ABS, which is headquartered in this
           11
                 District. In fact, this Court also has personal jurisdiction over Defendant HDR as well as other
           12
                 Defendants. In a San Francisco County Superior Court case CGC19581267, Judge Schulman
           13
                 flatly rejected some of the same Defendants’ fraudulent shell games and held that Defendants
           14
                 operated as a single enterprise for California law purposes. Therefore, Defendant HDR as well its
           15
                 California alter ego Defendant ABS is a single enterprise with extensive presence in this district
           16
                 (over 80 employees). See Systems Div., Inc. v. Teknek Elect., Ltd. 253 F. App’x 31, 37 (Fed.
           17
                 Cir. 2007) (“The exercise of jurisdiction over an alter ego is compatible with due process because
           18
                 a corporation and its alter ego are the same entity—thus, the jurisdictional contacts of one are the
           19
                 jurisdictional contacts of the other for purposes of the International Shoe due process analysis.”).
           20
                 Defendant ABS, which is an alter ego of Defendant HDR, has its headquarters and over 70
           21
                 employees in California. Attributing these contacts to Defendants HDR clearly subjects it to the
           22
                 personal jurisdiction of this Court. Moreover, Defendants and their counsels’ failed attempts to
           23
                 hide the fact that BitMEX’s top traders generating almost $70,000,000 in trading profits are U.S.
           24
                 persons clearly supports holding Defendants accountable for their actions in a United States
           25
                 District Court.
           26
                        133.       There is no other District within the United States in which a Court would have a
           27
                 personal jurisdiction over all of the alleged RICO co-conspirators. Defendants Reed, Barbara
           28
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             1
                 Reed and Trace Reed reside in Wisconsin. Defendant Agata Reed resides in Massachusetts.
             2
                 Defendants Grape Park and Mark Sweep are incorporated in Delaware. Therefore, it is in the
             3
                 interests of justice to bring all the remaining Defendants before this Court pursuant to RICO's
             4
                 nationwide jurisdiction provision of 18 U.S.C. § 1965(b).
             5
                         134.      Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
             6
                 1391(b)(1). Venue is similarly proper pursuant to 7 U.S.C. § 25(c) in that this is a District
             7
                 wherein a defendant is found, resides, or transacts business, or wherein any act or transaction
             8
                 constituting the violation occurred.
             9
                                                          INTRADISTRICT ASSIGNMENT
           10
                         135.      Pursuant to Civil Local Rule 3-5 of the United States District Court for the
           11
                 Northern District of California, the San Francisco division is the proper venue because substantial
           12
                 part of the events or omissions, which give rise to this action has occurred in San Francisco
           13
                 county, where Defendants’ HDR and ABS principal offices are located.
           14
                                                               BACKGROUND - BITCOIN
           15
                         136.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-134 above
           16
                 as if fully set forth herein.
           17
                         137.      Bitcoin is form of cryptocurrency. It is a trustless, decentralized digital currency
           18
                 without a central bank or single centralized administrator that can be sent from user to user on the
           19
                 peer-to-peer bitcoin network without the need for intermediaries or a trusted central authority.
           20
                         138.      Bitcoin was invented in or about 2008 and described in a whitepaper entitled
           21
                 “Bitcoin: A Peer-to-Peer Electronic Cash System” authored by an unknown person or group of
           22
                 people using the name Satoshi Nakamoto and started in 2009 when its source code was released
           23
                 as an open-source software. Bitcoins are created as a reward for a process known as mining.
           24
                 They can be exchanged for other currencies, products, and services.
           25
                         139.      Bitcoin transactions are verified by a network of nodes through cryptography and
           26
                 recorded in a public distributed ledger called a blockchain, which is maintained by multiple
           27
                 bitcoin network nodes through the use of a consensus protocol. Every bitcoin transaction starting
           28
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             1
                 from the very first one may be viewed and verified using the blockchain. The blockchain consists
             2
                 of a chronologically ordered sequence of blocks holding records of bitcoin network transactions.
             3
                 A new block is generated by miners every 10 minutes. The integrity of the blockchain is
             4
                 maintained by including a hash of each block in to the subsequent block. This way, if any block
             5
                 is altered (forged) after its creation, all the subsequent blocks would have to be also modified or
             6
                 the hash discrepancy caused by the modification will be immediately detected by all the network
             7
                 nodes.
             8
                          140.     Bitcoins are traded for United States dollars, Euros and other fiat currencies and
             9
                 cryptocurrencies on centralized online marketplaces called exchanges. Usually, transactions
           10
                 taking place inside exchanges, such as executions of buy and sell orders are not recorded on the
           11
                 public blockchain and, therefore, it is hard to independently verify them using the blockchain.
           12
                 Most exchanges do not have internal protections against bitcoin price manipulation as well as
           13
                 other fraudulent behavior, which is rampant due to low trading liquidity of the bitcoin market.
           14
                          141.     Stablecoins are cryptocurrencies designed to minimize the volatility of the price of
           15
                 the stablecoin, relative to some "stable" asset or basket of assets. The value of a stablecoin can be
           16
                 pegged to a cryptocurrency, fiat money, or to exchange-traded commodities (such as precious
           17
                 metals or industrial metals). Most frequently used stablecoins are those pegged to United States
           18
                 dollar, including, without limitation, Tether (USDT), USDC and the like.
           19
                          142.     Since at least 2015, the CFTC has maintained that bitcoin, and other virtual
           20
                 currencies, fit the definition of a commodity primarily through administrative actions. In re
           21
                 Coinflip, Inc., CFTC Docket No. 15-29, 2015 WL 5535736 at *3 (Sept. 17, 2015). CFTC v.
           22
                 McDonnell, 287 F. Supp. 3d 213, 228 (E.D.N.Y. 2018) was the first time the CFTC’s position
           23
                 was given judicial approval. The court noted that “[v]irtual currencies can be regulated by the
           24
                 CFTC as a commodity,” because virtual currencies can be exchanged in a market for a uniform
           25
                 quality and value. The Court’s reasoning makes clear that bitcoin and other virtual currencies fall
           26
                 within both the common law definition of commodity and the CEA’s definition of a commodity.
           27
           28
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             1

             2                             BITCOIN PRICE MANIPULATION TECHNIQUES
                         143.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-141 above
             3
                 as if fully set forth herein.
             4
                         144.      On or about September 9, 2019, Chairman of the United States Security Exchange
             5
                 Commission (“SEC”) Jay Clayton stated: “[i]n the trading area, it troubles me that people look on
             6
                 these venues and think it has got the same level of protection that you’d have on an equity market
             7
                 in the US NASDAQ and MYSZ. Nothing could be further from the truth, we have lengthy
             8
                 rulebooks, all sorts of protections to make sure that prices are not manipulated in the equity
             9
                 markets, I don’t see those in the Crypto asset markets.”
           10
                         145.      Bitcoin derivatives and especially spot markets remain thinly traded making them
           11
                 particularly susceptible to pumps-and-dumps, Barts, stop loss hunts, liquidation cascades,
           12
                 spoofing, as well as other forms of market manipulation. The primary beneficiaries of such
           13
                 illegal manipulation are the perpetrators, who are able to fill their orders at better than market
           14
                 prices at the expense of other traders, as well as cryptocurrency exchanges, such as BitMEX,
           15
                 which benefit through increased trading volumes as well as trader position liquidations. This
           16
                 provides very strong financial incentive for exchanges to manipulate cryptocurrency markets.
           17
                         146.      Pump-and-dump is the fraudulent practice of perpetrators encouraging unwitting
           18
                 investors to buy an asset, such as bitcoin, to inflate its price artificially, and then selling it when
           19
           20

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           23
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           25
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             1
                 the price reaches a predetermined threshold. Pumps-and-dumps are designed to deceive the
             2
                 inventors as to the state of market supply and demand for the asset by means of artificially
             3
                 increasing the price and trading volume of the asset that is designed to entice unwitting investors
             4
                 to join the hype, and to buy the asset at an artificially inflated price, which they would not have
             5
                 done otherwise. When the perpetrators behind the scheme sell (dump) their bitcoins and stop
             6
                 pumping it, the price plummets, and other investors are left holding the asset that is worth
             7
                 significantly less than they paid for it. As the result, traders who bought the bitcoin on margin,
             8
                 may be subject to execution of stop losses as well as liquidations.
             9
                        147.       Bart patterns or simply “Barts” are a variety of pumps-and-dumps involving
           10
                 intense pumps or dumps occurring within a very short time frame causing price action to find a
           11
                 new high or low for a very short period, followed by equally violent return to the previous level.
           12
                 Perpetrators using this manipulation tactic benefit by having their sell/buy orders filled, and
           13
                 causing the unwitting investors to open positions against the trend.
           14
                        148.       Barts are created by perpetrators using Momentum Ignition Algorithms, which
           15
                 work by creating a sharp spike in buy or sell action within a market with the purpose of deceiving
           16
           17
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             1
                 the market participants as to market-based forces of supply and demand for an asset and enticing
             2
                 unsuspecting traders, or other trading algorithms, to follow the trade and place orders that they
             3
                 would not have otherwise placed. Barts are intended to trick other market participants into
             4
                 reacting to an apparent change and imbalance of supply and demand by buying and selling bitcoin
             5
                 derivatives at times, prices and quantities that they otherwise would likely not have traded.
             6
                 Additionally, unsuspecting traders will place buy orders above significant zones, to catch up
             7
                 trends, and short sellers will place stops losses in similar areas, these are effectively buy orders. In
             8
                 order for the malicious algorithm to be most effective it has to push price into these liquidity
             9
                 zones, triggering buys, and from there it can disengage. Sometimes, several hours later, a floor of
           10
                 buy orders is removed, and a momentum ignition may be activated in the opposite direction
           11
                 causing a dump.
           12
                        149.       Stop loss hunting is a type of market manipulation, when the perpetrators attempt
           13
                 to artificially move the price for an asset to a predetermined price value to force other market
           14
                 participants out of their positions. This type of manipulation is performed by executing one or
           15
                 more buy or sell orders with the purpose to drive the price of an asset to a level where many
           16
                 market players have chosen to set their stop-loss orders. Stop loss orders are orders that get
           17
                 automatically executed at market price should the price of bitcoin reach a predetermined price
           18
                 threshold. The perpetrator buys or sells spot bitcoin or bitcoin derivative until the price threshold
           19
                 is reached. When the stop loss orders are triggered due to a stop loss hunt manipulation, the
           20
                 trader’s asset holdings are sold at prevailing market prices causing the market to be filled with a
           21
                 large number of market orders, which has the ability to move the asset price even further
           22
                 triggering more stop loss orders and can even result in liquidations. The result is a cascading
           23
                 execution of a large number of market orders. The perpetrators place their buy or sell orders such
           24
                 as to have them filled at the bottom or at the top of the resulting stop loss execution cascade at
           25
                 artificially below or artificially above market prices, respectively. After the initial market move,
           26
                 the price of the asset sometimes recovers and perpetrators generate a profit due to their illicit
           27
                 actions.
           28
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             1
                        150.       Liquidation cascade is an extreme case of the stop loss hunt, when the perpetrator
             2
                 pushes the price of the asset or derivative to reach position liquidations levels for multiple traders
             3
                 and the resulting multiple market liquidations take place in a very short time interval moving the
             4
                 price even further. This triggers additional liquidations causing a cascading execution of a large
             5
                 number of liquidation orders. Similarly to the stop loss hunt, the perpetrators place their buy or
             6
                 sell orders such as to have them filled at the bottom or at the top of the resulting liquidations
             7
                 cascade, at artificially below or artificially above market prices, respectively.
             8
                        151.       The manipulative price actions alleged hereinabove perpetrated by culprits on one
             9
                 cryptocurrency spot or derivatives exchange quickly propagate to all other exchanges due to the
           10
                 widespread use of arbitrage bots, which are algorithms coded in software that take advantage of
           11
                 the price discrepancy between exchanges by buying or selling an asset in one market and
           12
                 simultaneously selling or buying it in another market at a more favorable price. Thus, a
           13
                 manipulative price action on one cryptocurrency exchange results in a substantially similar price
           14
                 action on all other exchanges.
           15
                        152.       Because cryptocurrency derivatives exchanges contracts are based heavily on
           16
                 bitcoin spot index price on a handful of relatively illiquid spot exchanges, a large bitcoin spot
           17
                 price move may be accomplished by executing relatively small market orders on the illiquid spot
           18
                 exchanges. For example, .BXBT index price used by Defendants for BitMEX’s XBTUSD
           19
                 Perpetual Swap contract is based substantially on bitcoin prices on United States based exchanges
           20
                 BitStamp USA Inc., which owns and operates cryptocurrency exchange online platform
           21
                 BitStamp.net (“BitStamp”), see Ex. 14; Coinbase Inc. (“Coinbase Pro”) and Kraken3 (“Kraken”),
           22
                 which are much less liquid than BitMEX itself.
           23
                        153.       Once initiated using helper accounts on BitStamp, Coinbase Pro and/or Kraken,
           24
                 the aforesaid price move spreads, through the aforesaid index, to order books of very liquid
           25
                 derivatives exchanges, such as BitMEX and causes massive, multimillion dollar instant
           26
           27
                 3
                  Kraken is owned and operated by Payward, Inc. with offices at 237 Kearny Street Suite 102,
           28    San Francisco, CA 94108 United States.
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             1
                 liquidations of derivatives positions of retail traders like Plaintiff. Such liquidations provide a
             2
                 financial windfall to derivatives exchanges such as BitMEX due to the increased trading volume
             3
                 as well as confiscation by the exchanges of the residual collateral of the liquidated retail traders, if
             4
                 the exchange is able to close the traders’ positions at prices better than bankruptcy price. In
             5
                 BitMEX, the amount of funds so confiscated from liquidated traders exceeded, as of August 24,
             6
                 2020, 36,341 bitcoins valued at $427,000,000, which amount is stored in a winner account on the
             7
                 BitMEX exchange.
             8
                        154.       Pumps-and-dumps, Barts, stop loss hunts and liquidation cascades may be utilized
             9
                 by perpetrators for purposes of money laundering, especially when exchanges do not require any
           10
                 documents to open an account. For example, in case of a liquidation cascade, a first person or
           11
                 entity may execute a relatively small market order to trigger the liquidation cascade and a second,
           12
                 separate, person or entity, acting from a separate exchange account, opened on the same or
           13
                 different exchange, may place large buy or sell orders, respectively, to have them filled at the
           14
                 artificially low or high (below or above market) prices caused by the liquidation cascade triggered
           15
                 by the actions of the first person or entity. The first entity generally would book a loss, while the
           16
                 second entity would book a profit. The first entity may be officially located in a high tax
           17
                 jurisdiction, such as California, while the second entity may be incorporated in a tax-heaven
           18
                 jurisdiction, such as British Virgin Islands. Furthermore, the first entity may execute the order on
           19
                 an illiquid spot exchange, such as BitStamp, to amplify the effect of the initiating market order
           20
                 while the second entity may operate on a high liquidity derivatives exchange such as BitMEX,
           21
                 which uses the price of the spot exchange in calculating its index.
           22
                        155.       In a criminal commodity derivatives market manipulation case USA v. Smith et al.
           23
                 (N.D. IL 2019), the United States Department of Justice (DOJ) took a position that placing orders
           24
                 for commodity derivatives contracts in a manner that was intended to deliberately trigger or
           25
                 deliberately avoid triggering a specific price-based event, such an option execution, is unlawful.
           26
                 Consistent with that position, the all above alleged price manipulation actions are also unlawful.
           27
                        156.       In SEC v. Shuang Chen et. al. Civil Action: 1:19-cv-12127-WGY (D. MA 2019)
           28
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             1
                 “[t]he Defendants generally used at least two brokerage accounts when manipulating the price of
             2
                 a particular publicly traded stock. The Defendants first typically used at least one account to place
             3
                 multiple small purchase or sale orders to create upward or downward pressure on the stock price
             4
                 (hereinafter referred to as a “helper” account). Then, the Defendants typically used at least one
             5
                 other account (hereinafter referred to as a “winner” account) to purchase or sell larger quantities
             6
                 of stock at prices that had been affected by the manipulative orders placed by the helper
             7
                 account(s). The Defendants often held the winner and helper accounts at different brokerage firms
             8
                 to conceal from each brokerage firm the coordination between the two types of accounts.” The
             9
                 illegal stock price manipulation technique alleged by SEC is identical to the techniques alleged
           10
                 hereinabove and used as well as aided and abetted by Defendants on a daily basis during the time
           11
                 period starting on January 1, 2017 and until now (“Relevant Period”) to manipulate the prices of
           12
                 cryptocurrencies. According to SEC, all those techniques are illegal.
           13
                        157.       Spoofing is an unlawful practice of making buy or sell orders, called deceptive
           14
                 orders, with an intent to cancel them before execution. The deceptive orders are used by
           15
                 perpetrators to inject false and misleading information about genuine supply and demand for
           16
                 bitcoin or bitcoin derivatives into the markets and to deceive other participants in the market into
           17
                 believing something untrue, namely that the visible order book accurately reflected market-based
           18
                 forces of supply and demand. This false and misleading information was intended to trick other
           19
                 market participants into reacting to an apparent change and imbalance of supply and demand by
           20
                 buying and selling bitcoin derivatives at times, prices and quantities that they otherwise would
           21
                 likely not have traded.
           22
                        158.       Bitcoin price manipulation such as pumps-and-dumps, Barts, stop hunts,
           23
                 liquidation cascades, and spoofing, as well as numerous other forms of illicit market manipulation
           24
                 are generally believed to be the abuses that prevent SEC from approving numerous bitcoin
           25
                 Exchange Traded Fund (ETF) applications that have been filed throughout the years by various
           26
                 cryptocurrency industry players.
           27
           28
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             1                             BITMEX WAS DESIGNED FROM GROUND UP TO
                                                   BENEFIT FROM MANIPULATION
             2                              “Regulatory agencies can be bought.” Defendant Arthur Hayes
             3           159.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-157 above
             4   as if fully set forth herein.
             5           160.      BitMEX was launched in 2014 by Defendants Hayes, Delo and Reed. BitMEX
             6   was one of the first cryptocurrency exchanges that offered derivative products based on the price
             7   of bitcoin. At its inception, as Defendant Hayes described it, BitMEX was to serve Wall Street
             8   institutional investors “who were going to want the same type of products” they were used to
             9   trading at sophisticated multinational banks. Yet for the first six months after BitMEX went live
           10    in late 2014, “no one came” to the trading platform, including traders from Wall Street.
           11    Therefore, BitMEX changed its business model to “focus[] on degenerate gamblers; [also known
           12    as] retail investors” by offering “100X leverage” trades. Since then, its first-mover advantage has
           13    paid off: it is consistently among the largest cryptocurrency derivatives traders by volume and has
           14    been for years. It now frequently trades over $3 billion worth of transaction in a single day.
           15            161.      In allowing retail customers to leverage their bets at the extraordinary ratio of
           16    100:1—about twenty times higher than the common ratio in derivatives trading — BitMEX
           17    positioned itself to benefit consistently, significantly, and predictably from the combination of
           18    attracting overly hopeful investors and small price fluctuations on other exchanges. This structure
           19    creates substantial incentives for Defendants to surreptitiously cause such fluctuations.
           20            162.      Implementing its business approach, Defendants deliberately based the index price
           21    of their Perpetual Swaps on spot-market exchanges that have limited liquidity and are thus
           22    relatively easy to manipulate. BitMEX would then engage in manipulative trading on those
           23    exchanges to change the price of bitcoin or ether. Even if only temporary, these price changes
           24    would then affect the prices of the Perpetual Swaps offered on BitMEX in a way that benefitted
           25    BitMEX by allowing it to make margin calls and liquidate its highly leveraged traders.
           26            163.      Automatically liquidating contracts that were out of the money, BitMEX would
           27    cover the trader’s losses but would also take all of the trader’s collateral. By setting the
           28
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             1
                 liquidation point higher than necessary to protect against the risk of a loss greater than the trader’s
             2
                 collateral, BitMEX consistently profited from these liquidations. BitMEX would place these
             3
                 profits in its insurance fund (“Insurance Fund”), marketed as a way to ensure that BitMEX has
             4
                 cash on hand for the rare occasions where the losses exceeded the collateral. Despite its name, the
             5
                 Insurance Fund is almost never drawn upon and instead has grown consistently such that it now
             6
                 contains assets worth hundreds of millions of dollars.
             7
                         164.      BitMEX also acted on similar financial incentives by trading against its customers,
             8
                 a secret BitMEX kept as long as it could. BitMEX employed an undisclosed trading desk with
             9
                 special privileges and insights that allowed BitMEX to take favorable positions opposite its own
           10
                 customers. BitMEX only revealed the existence of the desk in 2018, under pressure from an
           11
                 independent analyst armed with trade data reflecting its existence. As a desk with access to
           12
                 otherwise-hidden information, it was in a perfect position to enhance BitMEX’s manipulation.
           13
                         165.      BitMEX has compounded the effect of these manipulative schemes by routinely
           14
           15
           16
           17
           18    freezing its servers—which BitMEX blames on technical glitches and limitations—to profit
           19    during moments of high volatility. During these freezes, customers are unable to change their
           20    positions, but the market continues to operate and BitMEX trades. BitMEX would thus prevent its
           21    customers from escaping positions until they fell to a level at which BitMEX could liquidate
           22    those positions at a profit to itself.
           23            166.      BitMEX’s operations on March 13, 2020, are a recent and good example. During a
           24    period in the day with high market volatility and crashing bitcoin prices (from nearly $8,000 to
           25    $4,000 per bitcoin), resulting in a substantial sell-off, BitMEX’s trading platform went offline for
           26    twenty-five minutes. As a result of the outage, BitMEX did not dip into its Insurance Fund, but
           27    rather liquated $800 million of its customers’ highly leveraged positions for its own profit. This
           28
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             8
             9   server outage, in short, effectively protected BitMEX and the Insurance Fund from the cascading

           10    effects of sell-offs of BitMEX’s highly leveraged and volatile products. It should be noted that

           11    BitMEX’ three Site Reliability Engineers, responsible for the bitMEX trading platform uptime,

           12    are all located in this District and the deliberated and fraudulent outage on March 13, 2020 was

           13    perpetrated by them from this District. To cover up their fraud, Defendants first concocted a

           14    story of a hardware failure that allegedly caused the BitMEX platform outage.

           15           167.       However, Defendants soon realized that all hardware used by BitMEX platform

           16    was managed by Amazon EKS and not Defendants themselves and that such a fake excuse would

           17    clearly not hold up if Amazon is asked to investigate the alleged hardware issue. Therefore,

           18    Defendants quickly changed their story and invented a fake distributed denial-of-service attack

           19    (DDoS attack) as an excuse for deliberately shutting down their own trading platform to avoid

           20

           21
           22
           23
           24
           25
           26
                 severe financial losses to themselves.
           27
                        168.       Defendants and each of them have thus manipulated the price of bitcoin and ether,
           28
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             1
                 harming Plaintiff and other traders who had their positions liquidated, in violation of the
             2
                 Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2018).
             3
                        169.       BitMEX’s founder and CEO, Defendant Hayes, is cryptocurrency’s P.T. Barnum.
             4
                 Describing trading on cryptocurrency as “the entertainment business,” he has embraced a role as
             5
                 showman and promoter for the “degenerate gamblers” he solicits, and encourages speculative
             6
                 trading by flaunting his lavish lifestyle and making bold predictions designed to elicit responses
             7
                 and move the market in a way that is profitable for BitMEX.
             8
                        170.       Defendant Hayes repeatedly flaunts his wealth like this to followers of the
             9
                 BitMEX platform, while also sharing his positions and profits he makes by betting on the price of
           10
                 bitcoin and other cryptocurrencies. The implication of these types of promotion is clear: you too
           11
                 could live like this, if you trade on my platform.
           12
                        171.       For example, when promoting BitMEX at a large conference in New York, Hayes
           13
                 flaunted his arrival in an exotic Lamborghini car.
           14
                        172.       The BitMEX platform also has casino features built in. It promotes “winners” with
           15
                 a leaderboard of successful traders, just like casinos showcase their successful players. All these
           16
                 features are designed to serve only one purpose - entice more gamblers to place even riskier bets.
           17
                        173.       BitMEX also runs promotions for its products to promote gambling, providing
           18
                 prizes to “[t]he trader who continuously quotes the largest two-sided volume within a 0.5 percent
           19
                 spread” or “[t]he trader who has the largest profit (in XBT) from trading the NEO (NEOG18)
           20
                 contract gets the third prize.”
           21
                        174.       These promotions attract numerous retail investors and distract them from the fact
           22
                 that BitMEX created an exchange that facilitates its own manipulative and fraudulent behavior.
           23
                        175.       Since its inception, BitMEX has flouted financial regulators worldwide for
           24
                 operating as an unregistered exchange, hiding behind its offshore status.
           25
                        176.       In 2018, the financial regulator for the province of Quebec, Canada, ordered
           26
                 BitMEX to close accounts linked to customers in Quebec because it was operating as an
           27
                 unregistered exchange.
           28
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             1
                        177.       In July 2019, according to reports, the CFTC opened an investigation to determine
             2
                 whether the exchange is targeting and allowing United States traders to use the platform, after
             3
                 numerous press reports detailed the lack of any “know your customer” practices at BitMEX and
             4
                 the ease with which users can access the site from the United States - indeed one New York
             5
                 journalist has detailed his use of BitMEX.
             6
                        178.       Most recently, on March 3, 2020, the United Kingdom’s Financial Conduct
             7
                 Authority (FCA) issued a notice that BitMEX “is not authorised by us and is targeting people in
             8
                 the UK. Based upon information we hold, we believe it is carrying on regulated activities which
             9
                 require authorisation.”
           10
                        179.       BitMEX’s flouting of financial regulators is consistent with the attitude of its
           11
                 founders, as Defendant Hayes has freely admitted to falsifying banking documentation in China
           12
                 in order to take advantage of arbitrage opportunities in the price of bitcoin.
           13
                        180.       BitMEX is not the only entity that offers swaps and futures products on bitcoin.
           14
                 BitMEX, however, structures its products and operations with features more akin to a casino,
           15
                 focusing on products that expose customers to greater volatility and an increased risk of loss.
           16
                        181.       One of BitMEX’s earliest and still most popular products is the XBTUSD
           17
                 Perpetual XBTUSD Leveraged Swap (“Perpetual Swap”).
           18
           19
           20

           21
           22
           23
           24
           25
           26
           27           182.       This product allows traders to buy or sell a contract that tracks the price of the
           28
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             1
                 exchange rate between bitcoin and the U.S. Dollar. If you buy the contract, you will make a profit
             2
                 if the price of bitcoin goes up in U.S. Dollars. Conversely, if you sell the contract, you will make
             3
                 a profit if the price of bitcoin goes down in U.S. Dollars—effectively a short sale on the price of
             4
                 bitcoin.
             5
                        183.       Unlike a typical futures contract, XBTUSD Perpetual Swap has no set expiry date.
             6
                 Further, unlike a traditional futures product, the XBTUSD Perpetual Swap price closely tracks the
             7
                 price of the underlying asset, bitcoin. Put differently, in a traditional futures market, there are
             8
                 separate prices for the futures product and for the underlying asset. If ACME Corp. is trading at
             9
                 $100 a share today, the contract to buy one share of ACME Corp. at $120 in three months might
           10
                 trade for $5. Instead, XBTUSD Perpetual Swap tracks the price of bitcoin by exchanging among
           11
                 contract holders that are long (or short) a “funding rate” every eight hours if the price of bitcoin is
           12
                 higher (or lower) than what the contract is trading for on BitMEX. These mechanics incentivize
           13
                 buying the contract when the price of the contract is lower than the price of bitcoin, thus raising
           14
                 the contract’s price, and vice- versa. The “funding rate” amount depends on the spread between
           15
                 the XBTUSD contract price and the referenced exchange rate. The funding rate is exchanged
           16
                 directly peer-to-peer among contract holders. BitMEX does not charge a fee for it.
           17
                        184.       Because BitMEX does not list bitcoin itself, it must look to other exchanges that
           18
                 do trade bitcoin to determine the price of bitcoin for products like XBTUSD. For BitMEX to
           19
                 function properly, the data from the other exchanges must be trustworthy. If the spot market for
           20
                 the underlying cryptocurrencies listed on those exchanges is thinly traded and illiquid, then the
           21
                 price of the cryptocurrency becomes susceptible to price manipulation, which in turn could affect
           22
                 the price of the products on BitMEX. BitMEX knows this. BitMEX’s products are particularly
           23
                 sensitive to price manipulation because BitMEX allows traders to operate on substantial amounts
           24
                 of leverage. BitMEX allows traders to leverage their position up to 100 times the amount of
           25
                 collateral, or “margin,” they post. Put differently, traders can buy or sell 100 bitcoin worth of
           26
                 XBTUSD contracts for only 1 bitcoin of collateral. This leverage magnifies both gains and losses:
           27
                 if the price of the XBTUSD goes up, a buyer who is 100x leveraged will experience 100 times the
           28
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             1
                 profit, but if the price declines even 1 percent, the buyer will have lost all his collateral. In this
             2
                 way, BitMEX structures its products to offer the allure of large, lottery-ticket payoffs for very
             3
                 limited money.
             4
                         185.      BitMEX’s fees, however, are calculated based on the leveraged position, not on
             5
                 the underlying collateral. Thus, where BitMEX advertises a fee of 0.075 percent for bitcoin
             6
                 Perpetual Swaps, that percentage refers to the amount of the unleveraged position. For a 100x
             7
                 leveraged Perpetual Swap, BitMEX is effectively charging a fee of 7.5 percent.
             8
                         186.      In a leveraged trade, BitMEX limits a trader’s loss to solely the posted margin. In
             9
                 contrast, major derivatives exchanges, such as the Chicago Mercantile Exchange, expose traders
           10
                 to unlimited risk. When the unrealized loss of their position exceeds the posted margins, those
           11
                 exchanges will ask traders to post additional collateral to supplement their margin. This is known
           12
                 as a margin call. For example, if you had a $10,000 position supported by $100 of margin, and
           13
                 the position fell 1 percent to $9,900, it would trigger a margin call.
           14
                         187.      To limit traders’ losses to the posted margin, BitMEX uses a liquidation engine to
           15
                 close positions with unrealized losses close to the amount of the posted collateral and prevent
           16
                 losses greater than the collateral posted by the trader while ensuring that the winner receives their
           17
                 full profits. While the promise that a trader can only lose the minimal margin put up for a highly
           18
                 leveraged bet may be alluring to retail investors, in reality BitMEX uses this promise to lure them
           19
                 into a false sense of security. BitMEX’s system encourages traders to place highly leveraged bets
           20
                 under this pseudo-protection but takes their money in liquidations. Put differently, when BitMEX
           21
                 liquidates a position, there is going to be a winning trader and a losing trader, but even beyond
           22
                 receiving the transaction fees, BitMEX almost always takes a large part of one trader’s collateral,
           23
                 allowing it to profit from the liquidation.
           24
                         188.      BitMEX’s model of encouraging its users to experience volatility disproportionate
           25
                 to their collateral through substantial leveraging requires a mechanism that prevents those users
           26
                 from experiencing losses greater than they can handle—there is, after all, someone on the other
           27
                 end of the transaction that expects to get paid. BitMEX achieves this through the use of an
           28
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             1
                 automatic liquidation system. This system, however, does more than liquidate positions with
             2
                 insufficient collateral—it also creates substantial profits for BitMEX at the expense of its
             3
                 customers.
             4
                         189.      Because BitMEX allows traders to make purchases with large amounts of
             5
                 leverage, there is a risk that that a trader may not be able to pay the winner for his position. In
             6
                 order to prevent winners from being adversely affected by the lack of a counterparty’s collateral,
             7
                 BitMEX agrees to cover their winnings. In exchange, it automatically takes the loser’s collateral.
             8
                 It then seeks to sell the position on the market at the best price available, with the purchaser
             9
                 stepping into the shoes of the liquidated party with responsibility for covering the counterparty’s
           10
                 profits after sale.4 This process of taking the loser’s collateral in exchange for covering the
           11
                 winner’s profits until a counterparty is found is the automatic-liquidation system. BitMEX,
           12
                 however, does not wait to liquidate until the collateral can no longer cover the losses. Instead, it
           13
                 liquidates when the collateral is worth approximately twice the losses incurred, even though the
           14
                 trader has half of the initial collateral remaining. Even if the system is able to find a price for the
           15
                 position after the liquidation that would have allowed the trader to recoup some his losses,
           16
                 however, the trader receives nothing. Instead, BitMEX keeps that recovery for itself and puts it
           17
                 into the Insurance Fund.
           18
                         190.      To use an example from BitMEX’s own website, consider a trader who has taken a
           19
                 long position on 100 ether using only 1 bitcoin as collateral while bitcoin and ether are each
           20
                 trading at $4,000. This trader is 100x leveraged, such that a rise in the price of ether by $10 will
           21
                 cause the trader to gain $1,000. Because of this level of leverage, the trader runs a substantial risk
           22
                 of not being able to pay off an unsuccessful contract; his collateral can absorb only a $40 decrease
           23
                 in the price of ether. The price at which the trader’s collateral can no longer cover the losses on
           24
                 the position is the “bankruptcy price.” In this example, the bankruptcy price is slightly over
           25
                 $3,960, as ether falling to that price would mean that the 1 bitcoin used as collateral would
           26
                 exactly cover the losses. Rather than using this bankruptcy price as the liquidation point, BitMEX
           27
                 imposes a 0.5 percent “maintenance margin,” such that the position will automatically be
           28
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             1
                 liquidated if the price of ether falls to $3,980. This maintenance margin is remarkable relative to
             2
                 the amount of leverage in the position, as a change of less than 1 percent in the price of bitcoin
             3
                 can result in an automatic liquidation. If the price hits $3,980 and this liquidation occurs, BitMEX
             4
                 will seize the collateral and then seek to sell the 100-bitcoin position to another customer, while
             5
                 covering the gains of and without terminating the contract of the original counterparty. If this sale
             6
                 occurs at a price of $3,978, reflecting a $2 bid-ask spread, the purchase as a whole will have
             7
                 incurred a loss of $2,200 against the initial $4,000 wagered—a $22 loss multiplied by the 100x
             8
                 leverage. BitMEX, which takes the full collateral, has accordingly profited $1,800 from the
             9
                 liquidation of its customers’ position and places this profit in the Insurance Fund. The trader,
           10
                 meanwhile, loses the full $4,000.
           11
                        191.       It is possible for BitMEX to lose money in a liquidation if the market lacks
           12
                 sufficient liquidity to allow BitMEX to sell the liquidated position at the bankruptcy price. If, for
           13
                 example, the price of ether hits $3,980 but BitMEX is not able to find a purchaser to take over
           14
                 Perpetual Swap at a price above $3,920, the 1 bitcoin used as collateral will not cover BitMEX’s
           15
                 losses. Hypothetically, the Insurance Fund would be used to cover BitMEX’s losses in this
           16
                 scenario.
           17
                        192.       The profitability of the Insurance Fund is thus tied to the liquidity of the market—
           18
                 as BitMEX itself has stated, the Insurance Fund will profit from each liquidation as long as the
           19
                 bid-ask is smaller than the maintenance margin.
           20
                        193.       Despite being described as a mechanism intended “to help ensure winners receive
           21
                 their expected profits, while still limiting the downside liability for losing traders” by making sure
           22
                 that BitMEX always has cash on hand to pay off losing trades, BitMEX’s Insurance Fund shows
           23
                 substantial overall profit from these liquidations. As their own data shows, the Insurance Fund
           24
                 has grown every year, as BitMEX takes in far more from liquidating its customers’ positions than
           25
                 it pays out to cover contracts it cannot close quickly enough. Despite its role as an insurance
           26
                 backstop, it grows in value nearly every day: over the last 100 (volatile) days, it has begun only
           27
                 five of them with a balance less than it began with the day before. Its largest posted one-day loss
           28
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             1
                 in the last 100 days has been around 20 bitcoin. In fact, on August 24, 2020, the Insurance Fund
             2
                 contained over 36,341 bitcoins, representing 0.2 percent of the total bitcoin in circulation and
             3
                 valued over $427,000,000. Moreover, BitMEX partitions the fund by contract type, and, when no
             4
                 more contracts of a given type remain (because, for example, the contract was tied to a time
             5
                 period that expired) the portion of the Insurance Fund for that contract type is given to BitMEX as
             6
                 profit.
             7
                           194.    BitMEX has thus profited from the vast majority of the automatic liquidations it
             8
                 conducts on behalf of its customers. Even independent of how these automatic liquidations can be
             9
                 used with market manipulation, the structure of BitMEX’s automatic liquidations creates an
           10
                 incentive for BitMEX to induce liquidations as long as there is sufficient liquidity in the market
           11
                 that the bid-ask spread is smaller than the maintenance margin. As long as this liquidity is
           12
                 present, BitMEX profits when it causes its customers’ positions to automatically liquidate.
           13
                 Defendants’ ability to manipulate the prices on BitMEX for their own profit and at the expense of
           14
                 Plaintiff and other cryptocurrency traders was protected and enhanced by persistent issues
           15
                 BitMEX maintained in its server that locked out users at crucial times that enabled BitMEX to
           16
                 profit.
           17
                           195.    BitMEX’s risk-management process, which performs the system’s automatic
           18
                 liquidations, must check the entire system whenever the price of a Perpetual Swap changes. This
           19
                 process, although sometimes completed quickly, supposedly causes BitMEX’s servers to freeze
           20
                 on average between two and three times a day. During these server freezes, customers lose the
           21
                 ability to trade until the servers unfreeze.
           22
                           196.    These server issues are not present in other exchanges that regularly handle far
           23
                 more transactions per second. While BitMEX has purposefully not made all of the data about its
           24
                 server capacity public, it has indicated that, as of May 2019, it was processing around
           25
                 200,000,000 trades a week, purportedly taxing its system and leading to server shutdowns. This
           26
                 works out to an average load of around 330 trades a second. BitMEX has indicated that its peak
           27
                 transactions can reach 30 times the average, for a peak of just under 10,000 trades a second.
           28
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             1
                 ByBit, which also transacts primarily in swaps and derivatives, can process 100,000 transactions
             2
                 a second. Binance, another large exchange, can process 1.4 million transactions a second, more
             3
                 than 100 times the peaks that purportedly cause BitMEX’s servers to freeze.
             4
                        197.       When BitMEX’s servers are frozen, preventing customers from executing any
             5
                 trades, the prices of the Perpetual Swap contracts are not frozen. Instead, they continue to move,
             6
                 processing some transactions while refusing to accept transactions from others. This means that a
             7
                 BitMEX trader can be prevented from executing a trade by a server freeze only to find, once the
             8
                 server reopens, that the price at which they wished to transact is no longer available. They can
             9
                 also find that an offer they had made before the freeze but wished to retract during it has since
           10
                 been accepted. Any trader with the ability to have its transactions prioritized over others during
           11
                 this period could reap substantial profits. The digital assets on which the BitMEX Perpetual
           12
                 Swaps are based, such as bitcoin or the Tokens, continued to trade on other exchanges with
           13
                 functioning servers while BitMEX’s remained frozen to most users. A privileged trader—such as
           14
                 those that operate BitMEX’s internal trading desk—could see that the price of bitcoin had risen
           15
                 during a freeze and arbitrage on that information before the regular traders had the ability to react.
           16
                 Additionally, because most traders are unable to operate during these freezes, a trader who is able
           17
                 to act could survey all of the items on offer during the freeze and cherry-pick whichever seemed
           18
                 most appealing in light of the market’s movements.
           19
                        198.       The limitations of BitMEX’s server also helps enable profitable automatic
           20
                 liquidations, because these liquidations continue to occur during the freeze. A customer who has a
           21
                 100x leveraged position on one bitcoin that will liquidate if the price of bitcoin falls from $4,000
           22
                 to $3,980, for example, would be heavily incentivized to sell when the price hits $3,985,
           23
                 accepting a loss of $1,500 but retaining the capital. If the frozen servers prevent this sale from
           24
                 transpiring, however, the customer will lose all of their capital when the price hits $3,980. Such a
           25
                 scenario profits BitMEX, which collects the capital.
           26
                        199.       The timing of these freezes is not random. The most important and profitable time
           27
                 for BitMEX to freeze is during a period of high volatility. BitMEX’s automatic liquidations
           28
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             1
                 exacerbate the volatility of the derivatives that BitMEX markets, particularly in periods of high
             2
                 volatility. Specifically, by automatically executing sell orders in response to a market decline,
             3
                 BitMEX pushes prices even lower. This response could result in catastrophically cascading sell
             4
                 orders during a period of a rapid decline—that is, a “flash crash.” BitMEX does not disclose those
             5
                 risks to retail investors and, instead, uses server freezes to protect its Insurance Fund and its
             6
                 derivatives market as a form of undisclosed “circuit breaker.”
             7
                         200.      Moreover, high volatility and rapidly changing prices allow more customers to be
             8
                 liquidated. Indeed, an expert statistical analysis conducted of freeze periods reported on
             9
                 BitMEX’s website has revealed that these server freezes occur 80 percent more often during
           10
                 periods of high volatility in bitcoin prices. This result is statistically significant at a 95 percent
           11
                 confidence level. Moreover, the statistical analysis reveals that compared to periods without a
           12
                 server incident, the volatility is 130 percent higher when there is a server incident. This result is
           13
                 also statistically significant at 95 percent confidence level.
           14
                         201.      BitMEX server freezes most often occurred during the highest periods of volatility
           15
                 when BitMEX could effectively liquidate traders’ positions.
           16
                         202.      These server freezes are not justifiably caused by transaction volume, which would
           17
                 approximate server load. For example, on May 12, 2019, BitMEX announced a new record of
           18
                 over $10 billion in transaction volume, with no server incidents reported that day.
           19
                         203.      The interaction between BitMEX’s server problems and its liquidation policy was
           20
                 recently demonstrated on March 13, 2020, when the price of bitcoin fell from $7,200 to a 10-
           21
                 month low of $5,678 in just 15 minutes. This sort of event is precisely why BitMEX claims to
           22
                 maintain the Insurance Fund—a series of cascading liquidations in the face of such a rapid fall
           23
                 could prevent BitMEX from selling the liquidated positions above their bankruptcy price, causing
           24
                 losses that are designed to be covered by the Insurance Fund. Yet BitMEX’s servers shut down in
           25
                 the middle of the crash. BitMEX first blamed the server shut down on “a hardware issue with our
           26
                 cloud service provider,” before later claiming, without any support, that the server failure was the
           27
                 result of an attack by a “botnet.”
           28
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             1
                         204.      When the servers were restored, bitcoin’s price had stabilized, preventing the need
             2
                 for BitMEX to dip into its Insurance Fund. The traders who had hit their margins during the
             3
                 crash, however, were liquidated nonetheless. In short, a conveniently timed server outage turned a
             4
                 potentially catastrophic loss for BitMEX’s Insurance Fund into a profit-item.
             5
                         205.      BitMEX could remove the potential for these manipulative actions and prevent
             6
                 users from suffering from periods of denied access to a moving market by prohibiting its system
             7
                 from accepting any transactions during these freezes. Instead, BitMEX profits from the system it
             8
                 employs, either by having its for-profit trading desk manipulate the markets in such freezes, by
             9
                 selling the right to do so, or by profiting from liquidations that occur while customers are unable
           10
                 to escape increasingly unfavorable positions.
           11
                                              BITMEX TRADES AGAINST ITS CUSTOMERS
           12
                         206.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-204 above
           13
                 as if fully set forth herein.
           14
                         207.      On April 28, 2018, an independent researcher requested comment from BitMEX
           15
                 regarding “information on record about insider accounts (possibly friends / acquittances of
           16
                 Bitmex staff) having special advantages over other Bitmex users.” BitMEX responded the same
           17
                 day, denying that it gave “preferential treatment” to any “customers.” This proved to be false, and
           18
                 that its prior statements had been materially misleading.
           19
                         208.      On April 30, 2018, BitMEX updated its terms of service and for the first time
           20
                 revealed that “BitMEX has a for-profit trading business that, among other things, transacts in
           21
                 products traded on the BitMEX platform.” BitMEX also revealed that its trading desk had the
           22
                 monopoly on making a market in its bitcoin options product. BitMEX hid the role of its trading
           23
                 desk by labeling the employee in charge of the desk as part of “Risk Management.” Prior to April
           24
                 30, 2018, BitMEX had never disclosed that it played a role on its exchange that extended beyond
           25
                 the management and administration of the exchange itself.
           26
                         209.      BitMEX had never indicated that it took direct positions on the assets it was
           27
                 trading. Traders, when traded on the BitMEX platform, had done so on the belief that the other
           28
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             1
                 participants were on similar footing to them. If traders knew that its counterparty could be
             2
                 BitMEX itself, equipped with proprietary knowledge, they would have recognized the possibility
             3
                 that they were participating in an unfair game.
             4
                         210.      As an inside entity trading against its own customers, the BitMEX trading desk
             5
                 enjoys a number of advantages. First, an internal BitMEX desk could have a higher trade priority
             6
                 than other traders, allowing its trades to be processed first when the total number of trades
             7
                 exceeds BitMEX’s server capacity. Second, an internal BitMEX trading desk could potentially
             8
                 view the leverage amounts for previously created positions and the price at which its liquidation
             9
                 will be triggered. This information would make it easy to profitably manipulate the market. If, for
           10
                 example, the trading desk sees that a number of short bitcoin Perpetual Swaps are near their
           11
                 liquidation point, it could enter a large buy order. This order would cause the price of bitcoin on
           12
                 the BitMEX exchange to rise, triggering the liquidation of these Perpetual Swaps. The liquidation
           13
                 would create a buy order for the liquidated contract, further increasing the price. Once this chain
           14
                 of liquidations had caused the price to rise far beyond the price at which the internal desk made
           15
                 its initial purchase, it could sell bitcoin at this higher price to fulfill the forced buy orders.
           16
                 Because these trades are automatic, an inside desk could execute this trade very quickly and with
           17
                 a high confidence of success.
           18
                         211.      Even without placing trades that cause cascading liquidations, however, the
           19
                 BitMEX desk helps create the liquidity that keeps the forced liquidations profitable, including
           20
                 those that occur during server freezes. As BitMEX has admitted, it profits from each liquidation
           21
                 as long as the bid-ask is smaller than the maintenance margin. By creating liquidity through
           22
                 market-making, and freed from the possibility of being liquidated itself, BitMEX’s desk helps
           23
                 maintain an environment that keeps the liquidations profitable.
           24
                         212.      The interaction between the Insurance Fund and the trading desk creates a
           25
                 pernicious result when the desk serves as the purchaser of a liquidated position. When a customer
           26
                 stakes $4,000 on a position only to have BitMEX liquidate it, sell it to its own desk at a price that
           27
                 recovers $3,500 of that $4,000, and then keep the $3,500, the customer has essentially been
           28
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             1
                 robbed. BitMEX has walked away with both the position and the initial capital, leaving the
             2
                 customer with nothing.
             3
                        213.       Nor is the trading desk the only inside entity trading on BitMEX. Defendant Hayes
             4
                 has admitted that he himself trades on the platform, against BitMEX’s customers. The customers
             5
                 on the other side of Hayes’s contracts have no way of knowing that they are trading against an
             6
                 insider with access to non-public information about their trades, including their liquidation limits.
             7
                 Hayes has even gloated about the possibility of such misconduct, stating that “[t]he digital token
             8
                 trading markets like traditional forex markets are not regulated, and will struggle to be. Therefore,
             9
                 if you can’t stomach insider trading, then don’t take on short-term positions.”
           10
                        214.       On information and belief, BitMEX has manipulated the price of the assets
           11
                 underlying the derivatives on the exchange in order to force liquidations of traders for the benefit
           12
                 of its Insurance Fund.
           13
                        215.       Through 2019, BitMEX looked to a relatively limited number of exchanges to
           14
                 price bitcoin and ether for its derivative products. This made the exchange susceptible to price
           15
                 manipulation. In part of mid-2019, for example, BitMEX determined the price of ether by
           16
                 referring to just three exchanges: BitStamp, Coinbase Pro, and Kraken.
           17
                        216.       Any swaps trader would have an incentive to manipulate the price of bitcoin or
           18
                 ether on those exchanges to cash in on their leverage trade. For example, a trader who was short
           19
                 bitcoin on BitMEX would be incentivized to go to BitStamp and suddenly drive down the price of
           20
                 bitcoin by selling it, making the Perpetual Swap position more valuable. The trader’s profitability
           21
                 would depend on the liquidity available at BitStamp for bitcoin and the details of the Perpetual
           22
                 Swap positions on BitMEX. Lower liquidity in bitcoin trading would make it easy for the trader
           23
                 to move the price on BitStamp quickly and cheaply. A large, highly leveraged position at
           24
                 BitMEX would justify a large selloff of bitcoin below prevailing market prices. Moreover, this
           25
                 could be an ongoing process: as the price of bitcoin falls and the Perpetual Swap positions
           26
                 become profitable, the trader could cash out some existing Perpetual Swap positions for more
           27
                 bitcoin and then continue to sell that new bitcoin on BitStamp while opening additional Perpetual
           28
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             1
                 Swap short positions.
             2
                        217.       Structurally, however, this kind of manipulation is more likely to succeed on short
             3
                 positions rather than long, because BitMEX settles all of its Perpetual Swaps in bitcoin. If the
             4
                 trader attempts to manipulate the price of bitcoin up because of outstanding long positions, she
             5
                 would be unable to continue the process after the initial “pump” because her Perpetual Swap
             6
                 contracts are all paid out in bitcoin. She would have no way to buy additional bitcoin with those
             7
                 proceeds without selling the proceeds—thus defeating the purpose of the pump. Thus, to pull off
             8
                 a manipulation scheme when long on bitcoin, the trader would need a large reservoir of
             9
                 traditional currency with which to buy bitcoin, and could not use any proceeds from the
           10
                 manipulation itself to continue driving up the price of bitcoin. Nonetheless, throughout 2019,
           11
                 BitStamp was subject to numerous pumps and dumps of bitcoin and ether including on days when
           12
                 Kraken was down for maintenance and unavailable for pricing derivatives on BitMEX. For
           13
                 example, on April 2, 2019, there was a massive pump on BitStamp’s bitcoin price by nearly 20
           14
                 percent. Then on May 17, 2019, bitcoin lost 20 percent of its value on BitStamp for about thirty
           15
                 minutes before recovering. Later, on July 14, 2019 when Kraken was down for maintenance—
           16
                 thus increasing the weight of BitStamp on BitMEX’s Perpetual Swaps products—the price of
           17
                 ether dropped dramatically due to the sell order on BitStamp by a single user that accounted for
           18
                 over 15 percent of BitStamp’s entire volume for the day, causing $164 million worth of
           19
                 liquidations on BitMEX.
           20
                        218.       Of the possible manipulators, BitMEX is the best positioned to take advantage of
           21
                 the consequences of these schemes. First, BitMEX operates its own proprietary trading desk that
           22
                 can take long and short positions and engage in a pump and dump scheme, like the hypothetical
           23
                 trader described above. Second, beyond profiting from any positions it takes, BitMEX alone
           24
                 profits greatly from liquidations, even during severe price movements. Third, BitMEX alone
           25
                 knows the trading positions of its users and can precisely tailor its manipulation to generate mass
           26
                 liquidations with minimal effort and risk. Fourth, as a large institution, BitMEX would be one of
           27
                 the entities with sufficient resources to engage in pump schemes that require a lot of capital in
           28
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             1
                 traditional currency to buy the underlying commodity.
             2
                        219.       Unsurprisingly, for these reasons numerous commentators, including a tenured
             3
                 professor at NYU’s Stern Business School, point to BitMEX as the culprit behind these price
             4
                 movements.
             5
                        220.       On or about 11:00PM EDT on May 16, 2019 (May 17, 2019 3:00AM UTC), one
             6
                 or more perpetrators launched a trading software algorithm configured to sell about 3600 bitcoin,
             7
                 valued at the time at about $28 million on a United States based bitcoin spot exchange BitStamp4.
             8
                 The trading algorithm wiped the buy order book of BitStamp from $7,838 all the way down to
             9
                 $6,178, sitting on the ask side of the aforesaid order book the entire time. The artificial price
           10
                 move that resulted from the execution of the aforesaid malicious trading software algorithm
           11
                 brought bitcoin price on BitStamp from $7,838 all the way down to $6,178.
           12
                        221.       The hereinabove alleged artificial bitcoin price decline on BitStamp, in turn, led to
           13
                 a liquidation of $250 million (about 10x times the size of the BitStamp sell order) long positions
           14
                 on the BitMEX derivatives exchange, which further resulted in significant price declines on all
           15
                 other crypto exchanges throughout the world, including multiple exchanges in the United States,
           16
                 costing bitcoin traders and investors hundreds of millions of dollars.
           17
                        222.       The above-alleged manipulation was repeated, almost perfectly, on Sunday, July
           18
                 14, 2019, when a perpetrator or group of perpetrators collectively acted to crash the market by
           19
                 putting in a massive sell order of 15,000 ETH, valued a $4 million, on BitStamp. This made up
           20
                 15% of its entire trading volume of BitStamp on that Sunday – all in one trade. This giant sell
           21
                 order immediately plunged the price of ETH on BitStamp from $270 to $190, which is otherwise
           22
                 known as a “flash crash”.
           23
                        223.       Like a disease, the alleged flash crash spread to ETH Perpetual Swap contracts
           24
                 traded on BitMEX, which bases the Perpetual Swap contracts’ price 33% on the Bitstmap’s price.
           25
                 4
           26     Bitstamp USA Inc. is incorporated in Delaware, maintains its headquarters at 27 Union Square
                 West, Suite 205, New York, NY 10003, United States and owns the
           27    cryptocurrency exchange online platform BitStamp.net, used in the alleged manipulation, see Ex.
                 14, p. 2, item 6. BitStamp.net cryptocurrency exchange online platform used in the alleged
           28    manipulation was hosted on Amazon AWS servers located in Denver, Colorado.
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             1
                 As the result of the crash, $164 million of long Perpetual Swap contracts were liquidated on
             2
                 BitMEX in the blink of an eye and spread to bitcoin Perpetual Swaps traded on BitMEX, again
             3
                 causing significant price declines on all other crypto exchanges throughout the world, including
             4
                 multiple exchanges in the United States, costing bitcoin traders and investors hundreds of
             5
                 millions of dollars.
             6
                        224.       Plaintiff Razvan is informed and believes and thereon alleges that the alleged
             7
                 devastating manipulations were deliberately enabled by BitMEX. Specifically, the aforesaid
             8
                 artificial price action were made possible by the fact that BitMEX deliberately designed its
             9
                 indexes based on price data for cryptocurrencies from just three exchanges – BitStamp, Kraken
           10
                 and Coinbase Pro, all three of which have way lower liquidity than BitMEX. This design was
           11
                 specifically intended to amplify any large price moves to increase the amount of liquidated
           12
                 traders on BitMEX.
           13
                        225.       Plaintiff Razvan is informed and believes and thereon alleges that the reason why
           14
                 BitMEX, the most liquid exchange, calculates its contracts index price based on other exchanges
           15
                 with way less liquidity is because BitMEX is the major financial benefactor of the catastrophic
           16
                 market manipulation events, such as May 17, 2019 and July 14, 2019 events alleged hereinabove.
           17
                        226.       Plaintiff Razvan is informed and believes and thereon alleges that, at times, trader
           18
                 liquidations account for up to half of BitMEX entire revenue. When Defendants liquidate a
           19
                 trader, they take the remainder of funds left after paying the trade counterparty and deposit it into
           20
                 the Insurance Fund. The Insurance Fund has been steadily growing throughout the years.
           21
                        227.       Plaintiff Razvan is informed and believes and thereon alleges that BitMEX’s
           22
                 internal trading desk is the second major financial benefactor of the catastrophic market
           23
                 manipulation events, such as May 17, 2019 and July 14, 2019 events, alleged hereinabove, which
           24
                 were in fact perpetrated by Defendants Hayes, Delo and Reed in order to achieve financial gain
           25
                 for themselves.
           26
                        228.       BitMEX enables the perpetrators of the alleged market manipulations to avoid
           27
                 detection by authorities by providing the perpetrators with the ability to open an unlimited
           28
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             1
                 number of anonymous document check-free trading accounts on BitMEX without any trading and
             2
                 withdrawal limits.
             3
                         229.      Plaintiff Razvan is informed and believes and thereon alleges that BitMEX further
             4
                 facilitates the market manipulation by using fraudulent “system overloads” excuse to accept some
             5
                 trading orders and reject others during large market moves in order to exacerbate the artificial
             6
                 prices and increase the number of liquidations with the purpose to financially benefit therefrom.
             7
                 The aforesaid fraudulent “system overloads” were orchestrated from San Francisco offices of
             8
                 Defendant HDR, where BitMEX’s three Site Reliability Engineers are all located. Additionally,
             9
                 the aforesaid fraudulent “system overloads” were all perpetrated by Defendants through the same
           10
                 commercial website BitMEX.com, which is accessible and is extensively used, via widely
           11
                 available and inexpensive VPN software, by users located in the United States and this District.
           12
                 Therefore, these illegal acts resulting in injuries, for which Plaintiff seeks redress in this
           13
                 Complaint are directly related to Defendants’ connections to the United States and this District
           14
                 through their commercial website BitMEX.com.
           15
                         230.      Plaintiff Razvan is informed and believes and thereon alleges that BitMEX further
           16
                 facilitates the market manipulation by using fraudulent and deliberate server freezes to lock at
           17
                 least some traders out of their accounts during large market moves in order to exacerbate the
           18
                 artificial prices and increase the number of liquidations with the purpose to financially benefit
           19
                 therefrom. The aforesaid fraudulent and deliberate server freezes are orchestrated from San
           20
                 Francisco offices of Defendant HDR, where BitMEX’s three Site Reliability Engineers are all
           21
                 located. In addition, Defendants’ servers and other IT infrastructure that were involved in the
           22
                 alleged deliberate freezing are deployed on United States based Amazon EKS with offices in this
           23
                 District. Yet additionally, the fraudulent and deliberate server freezes were all perpetrated by
           24
                 Defendants through the same commercial website BitMEX.com, which is accessible and is
           25
                 extensively used, via widely available and inexpensive VPN software, by users located in the
           26
                 United States and this District. Therefore, these illegal acts resulting in injuries, for which
           27
                 Plaintiff seeks redress in this Complaint are directly related to Defendants’ connections to the
           28
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             1
                 United States and this District through their commercial website BitMEX.com.
             2
                         231.      Plaintiff Razvan is informed and believes and thereon alleges that the various
             3
                 specific acts perpetrated by Defendants to manipulate the prices of cryptocurrencies or to aid and
             4
                 abet such manipulation by other perpetrators, with the purpose to financially benefit from it,
             5
                 violate a number of United States federal criminal statutes, including, without limitation, 18
             6
                 U.S.C. § 1343 (wire fraud); 18 U.S.C. § 1956(a) (money laundering); 18 U.S.C. § 1957(a)
             7
                 (engaging in monetary transactions in property derived from specified unlawful activity); 18
             8
                 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or owning all or part
             9
                 of an unlicensed money transmitting business) and 18 U.S.C. § 2314 (interstate transportation of
           10
                 stolen property). These specific criminal acts alleged hereinbelow constitute predicate acts for
           11
                 purposes of RICO and were perpetrated by Defendants in course of conducting or conspiring to
           12
                 conduct affairs of an enterprise through a pattern of racketeering activity in violation of 18 U.S.C.
           13
                 §§ 1962(d) and (c).
           14
                         232.      As a direct result of Defendants’ manipulation of the market for their derivative
           15
                 products, including through the use of the server freezes and a (formerly concealed) internal
           16
                 trading desk to create profitable liquidations, Plaintiff have suffered significant damages in an
           17
                 amount to be proven at trial.
           18
                         233.      While the precise measurement of the harm caused to Plaintiff by Defendants’
           19
                 actions is not calculable at this stage, an approximation can be found in the value of the Insurance
           20
                 Fund, which is filled with the profits of Defendants’ liquidations. As of August 24, 2020, the
           21
                 Insurance Fund contained over 36,341 bitcoins valued at over $427,000,000.
           22
                                                   DERIVATIVES TRADED BY PLAINTIFF
           23
                         234.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-232 above
           24
                 as if fully set forth herein.
           25
                         235.      On May 13, 2016, BitMEX launched its first swap product, a “perpetual bitcoin
           26
                 U.S. dollar leveraged swap product,” which it has described generally as “the XBTUSD perpetual
           27
                 swap” (“XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract”). BitMEX claims its
           28
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             1
                 XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract is “the most traded cryptocurrency
             2
                 product of all time.”
             3
                        236.       Between November 22, 2014 and February 9, 2020, BitMEX has had over 2.5
             4
                 trillion contracts traded on its platform. Most of that volume—more than two trillion contracts—
             5
                 has been in the XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract.
             6
                        237.       During Relevant Period, Plaintiff Razvan directly traded (bought, sold and owned)
             7
                 the Bitcoin/US Dollar Perpetual Inverse Swap Contract with ticker symbol XBTUSD on U.S.
             8
                 based BitMEX exchange. Bitcoin/U.S. Dollar Swap Contract with ticker symbol XBTUSD
             9
                 traded by Plaintiff Razvan on BitMEX is priced based on the underlying price is the XBT/USD
           10
                 exchange rate as recorded in the .BXBT Index, which Defendants manipulated using helper
           11
                 accounts on U.S. based exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this
           12
                 Complaint. Both the underlying .BXBT index and the swap contract XBTUSD are quoted in
           13
                 USD. Margin and PNL are denominated in Bitcoin. The XBTUSD Bitcoin/U.S. Dollar Swap
           14
                 Contract traded on Kraken is priced based on bitcoin spot price on that exchange, which was
           15
           16
           17
           18
           19
           20

           21
           22
           23
           24    manipulated by Defendants by placing large market orders from helper accounts in that exchange.
           25    Both of the above derivative contracts meet the definition of a "swap" under CEA, 7 U.S.C. §
           26    1a(47)(a)(IV), which defines "Swap" as: "(iv) … an agreement, contract, or transaction that is, or
           27    in the future becomes, commonly known to the trade as a swap." For example, TradingView,
           28
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             1
                 with 15 million monthly active site users and over 40,000 publishers, brokerages, and fintechs
             2
                 utilizing its investing tools, is the industry standard used by about every trader out there. It lists
             3
                 both aforesaid XBTUSD contracts from BitMEX and Kraken as "Swaps"
             4
                 (https://www.tradingview.com/symbols/XBTUSD/).
             5
                        238.       Therefore, the traded Bitcoin/US Dollar Perpetual Inverse Swap Contract with
             6
                 ticker symbol XBTUSD is a swap under CEA 7 U.S.C. § 1a(47)(a)(iv) (agreement, contract, or
             7
                 transaction that is, or in the future becomes, commonly known to the trade as a swap).
             8
                        239.       Defendant HDR itself specifically admitted that its XBTUSD contract is known to
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
                 the trade as a "swap," thus meeting definition under CEA:
           19
                        240.       In addition, Plaintiff Razvan traded Ether/U.S. Dollar Swap Contract with ticker
           20
                 symbol ETHUSD on BitMEX, which is also a “swap” under CEA, 7 U.S.C. § 1a(47)(a)(iv).
           21
                 Ether/U.S. Dollar Swap Contract with ticker symbol ETHUSD traded by Plaintiff Razvan uses
           22
                 the .BETH index price, which Defendants manipulated using helper accounts on U.S. based
           23
                 exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this Complaint.
           24
                        241.       Moreover, the aforesaid XBTUSD contract that Plaintiff traded on BitMEX is also
           25
                 "swap" pursuant to 7 U.S.C. § 1a(47)(a)(iii)(XXII), which defines a “swap” as a “a commodity
           26
                 swap.” Because bitcoin is commodity, both XBTUSD contracts are “commodity swaps” under 7
           27
                 U.S.C. § 1a(47)(a)(iii)(XXII).
           28
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             1
                          242.      Yet, furthermore, according to CFTC Complaint, ¶ 125, “products that have traded
             2
                 on BitMEX, including “perpetual swaps” or “perpetual contracts” on bitcoin, ether, and litecoin,
             3
                 are swaps as defined by 7 U.S.C. § 1a(47).” Therefore, Plaintiff can pursue his claims under
             4
                 CEA, 7 USC § 25(a)(1)(D), which specifically covers “swaps.”
             5
                          243.      Plaintiff was enticed to trade on BitMEX through BitMEX’s own advertisements
             6
                 specifically directed at Plaintiff and traders like Plaintiff.
             7
                          244.      Some exemplaty money losing trades of Plaintiff and their respective amounts and
             8
                 causes (triggering events) are summarized in the table below, which was prepared based on
             9
                 information and belief of Plaintiff:
           10
           11    Plaintiff    Date                Exhange           Order         Trade             Order               Loss Caused By
                                                                    Book          Type                                  BTC
           12                                                                                                                      Defendant
                 Razvan       11/14/2018          BitMEX            XBTUSD        Liquidation SELL                      226.       Reed
           13
                                                                    Swap          5
                                                                                                    MARKET              16         executing a
           14                                                                                                                      large market
                                                                                                    ALL                            order from
           15                                                                                                                      helper
                                                                                                                                   account on
           16
                                                                                                                                   Kraken,
           17                                                                                                                      causing
                                                                                                                                   artificial
           18                                                                                                                      price move,
                                                                                                                                   which
           19                                                                                                                      propagarted,
                                                                                                                                   through the
           20
                                                                                                                                   .BXBT
           21                                                                                                                      index, to
                                                                                                                                   XBTUSD
           22                                                                                                                      order book of
                                                                                                                                   BitMEX and
           23                                                                                                                      triggered
           24                                                                                                                      liquidation
                                                                                                                                   Defendant
                 Razvan       11/19/2018          BitMEX            XBTUSD        Liquidation SELL                      21.7       Reed
           25
           26    5
                  Nov 14, 2018, 6:29:23 PM XBTUSD Trade Sell 7170497 5680 1,322.9566 XBT 0.0750%
           27    0.99221752 XBT Liquidation 7170497 0 5680 Liquidation
                 Nov 19, 2018, 11:44:50 AM XBTUSD Trade Sell 431795 5195.5 83.5221 XBT 0.0750%
           28    0.06264158 XBT Liquidation 431795 0 5195.5 Liquidation
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             1                                                                                                                  executing a
                                                                   Swap                          MARKET              8          large market
             2                                                                                                                  order from
                                                                                                 ALL
             3                                                                                                                  helper
                                                                                                                                account on
             4                                                                                                                  Kraken,
                                                                                                                                causing
             5                                                                                                                  artificial
                                                                                                                                price move,
             6
                                                                                                                                which
             7                                                                                                                  propagarted,
                                                                                                                                through the
             8                                                                                                                  .BXBT
                                                                                                                                index, to
             9                                                                                                                  XBTUSD
                                                                                                                                order book of
           10
                                                                                                                                BitMEX and
           11                                                                                                                   triggered
                                                                                                                                liquidation
           12
           13                     CAUSATION CHAIN OF PLAINTIFFS’ LOSSES ON KRAKEN
                        245.       The causation chain for Plaintiff’s losses on Kraken is very staright forward.
           14
                 Specifically, when Defendant Reed executed large market order on Kraken, this order caused an
           15
                 artificial price move directly resulting in liquidation of Plaintffs’ positions on that exchange.
           16
           17                      CAUSATION CHAIN OF PLAINTIFFS’ LOSSES ON BitMEX
           18           246.       Compared to causation chain for Plaintiff’s losses on Kraken, the causation chain
           19    of Plaintriffs’ losses on BitMEX includes one more link – the .BXBT price index6 used by
           20    Defendants to price the XBTUSD Perpetual Swap in BitMEX. Specifically, when Defendant
           21    Reed executed large market order on Kraken, causing artificial price move on that exchange, the
           22    artificial price move propagarted, through the .BXBT index, to the XBTUSD Perpetual Swap
           23    order book of BitMEX and triggered liquidation of Plaintiff’s positions there.
           24
                                                       THE RAKETEERING ENTERPRISE
           25
                        247.       Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-245 above
           26
           27
                 6
                  As of May 20, 2019, .BXBT index was calculated as (⅓ * Bitstamp + ⅓ * Coinbase Pro + ⅓ *
           28    Kraken) and .BETH index was calculated as (⅓ * Bitstamp + ⅓ * Coinbase Pro + ⅓ * Kraken).
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             1
                 as if fully set forth herein.
             2
                         248.      Each of the Defendants HDR, ABS, Hayes, Delo and Reed are respective persons
             3
                 or entities capable of holding a legal or beneficial interest in property.
             4
                         249.      From at least January 2017 and until present, Defendants HDR, ABS, Defendant
             5
                 Unknown Exchange, Grape Park, Mark Sweep, Hayes, Delo, Reed, Agata Reed, Barbara Reed
             6
                 and Trace Reed have been a union or group of entities and individuals associated in fact
             7
                 collectively constituting a continuing “enterprise” (“Enterprise”) within the meaning of RICO as
             8
                 defined in 18 U.S.C. § 1961. Since at least January of 2017, each of HDR, ABS, Defendant
             9
                 Unknown Exchange, Grape Park, Mark Sweep, Hayes, Delo and Reed, Agata Reed, Barbara
           10
                 Reed and Trace Reed has been a person separate and distinct from the Enterprise itself, while, at
           11
                 the same time, being a member of the Enterprise. The purposes of the Enterprise included,
           12
                 among others: (1) maximizing profits and minimizing trading losses for the Defendants, and each
           13
                 of them, and their co-conspirators, through unlawful trading practices; (2) concealing trading
           14
                 gains obtained through unlawful practices from regulatory and tax authorities; (3) generating
           15
                 illicit income from unlicensed money transmissions; (4) promoting and enhancing the
           16
                 racketeering conspiracy and the activities of the Defendants, and each of them, and their co-
           17
                 conspirators; (5) concealing the unlawful activities of the Defendants, and each of them, and their
           18
                 co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement; and concealing
           19
                 or disguising the nature, the location, the source, the ownership, or the control of the proceeds of
           20
                 unlawful activities by investing said proceeds into United States real estate using nominee entities.
           21
                         250.      The activity of the Enterprise and the predicate acts of racketeering alleged
           22
                 hereinbelow affect interstate or foreign commerce. Specifically, the Enterprise directly engaged
           23
                 in the production, distribution, or acquisition of goods and services in interstate commerce,
           24
                 including, without limitation, cryptocurrency derivatives trading services.
           25
                         251.      At various times during the Relevant Period each of the Defendants HDR, ABS,
           26
                 Hayes, Delo and Reed was employed in or associated with the Enterprise as alleged hereinabove.
           27
           28                               ROLES OF DEFENDANTS IN THE ENTERPRISE
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             1
                         252.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-250 above
             2
                 as if fully set forth herein.
             3
                         253.      Plaintiff Razvan is informed and believes and thereon alleges that individual
             4
                 Defendants Hayes, Delo and Reed were the masterminds behind the alleged Enterprise and the
             5
                 predicate criminal acts alleged hereinbelow. Specifically, Plaintiff Razvan is informed and
             6
                 believes and thereon alleges that Defendant Hayes was responsible for, among other things,
             7
                 conducting overall planning, oversight and supervision of the affairs of the Enterprise and
             8
                 coordination between the remaining co-conspirators as well as controlling bank accounts and
             9
                 financial flows within the Enterprise. Plaintiff Razvan is informed and believes and thereon
           10
                 alleges that Defendant Reed was responsible for, among other things, planning and initiating the
           11
                 deliberate server freezes and fraudulent system overloads on BitMEX as alleged herein as well as
           12
                 effective transfers of market manipulation winnings from helper accounts on United States based
           13
                 exchanges Kraken, Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           14
                 market orders on those exchanges with maximum slippage to cause large artificial moves in the
           15
                 .BXBT and index price and .BETH index price on a daily basis, including during each of the
           16
                 specific Manipulation Times alleged in Paragraph 353 below, and performance of other illegal
           17
                 acts conducted by the Enterprise, by issuing electronic wire transmissions containing trading
           18
                 orders and other computer system commands and writing, deploying and remotely executing
           19
                 software scripts from his office located in Milwaukee, WI 53202. Defendant Reed was further
           20
                 responsible, together with each of Defendants Agata Reed, Barbara Reed and Trace Reed, for
           21
                 laundering a substantial portion of the tainted bitcoin-denominated proceeds of the illegal
           22
                 activities on the BitMEX platform from Defendants’ general account (bitcoin wallet) through the
           23
                 Defendant Unknown Exchange and a real estate investment scheme involving multiple real estate
           24
                 properties in Wisconsin and Massachusetts with the purpose to conceal or disguise the nature, the
           25
                 location, the source, the ownership, or the control of the proceeds of the unlawful activities taking
           26
                 place on the BitMEX platform. Defendants Grape Park and Mark Sweep are nominee shell
           27
                 entities that were used by the Enterprise to conceal or disguise the true source of funds used for
           28
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             1
                 acquiring the real estate properties and their true ownership and control, Ex. 12, 13.
             2
                        254.       Plaintiff Razvan is informed and believes and thereon alleges that Defendant ABS
             3
                 designs, develops, implements, operates and supports the online derivatives trading platform
             4
                 BitMEX from within this District. Defendant ABS was responsible for, among other things, day
             5
                 to day operations of the BitMEX platform and for effectuating the market manipulation, including,
             6
                 without limitation deliberate server freezes and fraudulent system overloads alleged herein as
             7
                 well as effective transfers of market manipulation winnings from helper accounts to winner
             8
                 accounts and performance of other illegal acts conducted by the Enterprise. Plaintiff Razvan is
             9
                 informed and believes and thereon alleges that Defendant HDR was responsible for, among other
           10
                 things, planning the overall operation of the BitMEX platform to effectuate the market
           11
                 manipulation, including, without limitation deliberate server freezes and fraudulent system
           12
                 overloads alleged herein as well as effective transfers of market manipulation winnings from
           13
                 helper accounts to winner accounts and performance of other illegal acts conducted by the
           14
                 Enterprise. Finally, Plaintiff Razvan is informed and believes and thereon alleges that Defendant
           15
                 Delo was responsible for performing liquidations of user positions to rip the benefits of the
           16
                 market manipulation and other illegal acts conducted by the Enterprise and depositing the
           17
                 liquidation proceeds into Insurance Fund.
           18
                        255.       The individual roles of all Defendants within the Enterprise are summarized in the
           19
                 below table, prepared according to information and belief of Plaintiff Razvan:
           20

           21
                   Defendant                                                    Role of Defendant
           22
                                        Defendant HDR is a holding company. Despite being incorporated in the
           23
                                        Seychelles, Defendant HDR does not have, and never has had, any operations
           24
                                        or employees in the Seychelles. Defendant HDR operates, or has operated
           25    HDR
                                        during the Relevant Period, primarily from San Francisco office of Defendant
           26
                                        ABS and Milwaukee office of Defendant Reed. Defendant HDR was
           27
                                        responsible for, among other things, the planning of the operation of the
           28
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             1
                                        BitMEX platform to effectuate the market manipulation, including, without
             2
                                        limitation deliberate server freezes and fraudulent system overloads alleged
             3
                                        herein as well as effective transfers of market manipulation winnings from
             4
                                        helper accounts to winner accounts and performance of other illegal acts
             5
                                        conducted by the Enterprise.
             6
                                        Defendant ABS designs, develops, implements, operates and supports the
             7
                                        online derivatives trading platform BitMEX from within this District.
             8
                                        Defendant ABS was responsible for, among other things, day to day operations
             9
                                        of the BitMEX platform and effectuating the market manipulation, including,
           10
                 ABS                    without limitation deliberate server freezes and fraudulent system overloads
           11
                                        alleged herein as well as effective transfers of market manipulation winnings
           12
                                        from helper accounts to winner accounts and performance of other illegal acts
           13
                                        conducted by the Enterprise, as well as creating custom software programs and
           14
                                        scripts for performing market manipulation and implementing server freezes.
           15
                                        Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           16
                                        or disguise the true source of funds used for acquiring the real estate properties
           17
                 Grape Park             and their true ownership and control. Defendant Reed dominates and controls
           18
                                        every aspect of business of Defendant Grape Park and funds its operations.
           19
                                        Defendant Grape Park is an alter ego of Defendant Reed.
           20
                                        Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           21
                                        or disguise the true source of funds used for acquiring the real estate properties
           22
                 Mark Sweep             and their true ownership and control. Defendant Reed dominates and controls
           23
                                        every aspect of business of Defendant Mark Sweep and funds its operations.
           24
                                        Defendant Mark Sweep is an alter ego of Defendant Reed.
           25
                                        Defendant Unknown Exchange was responsible for knowingly, willfully and
           26    Unknown
                                        deliberately laundering a substantial portion of the bitcoin-denominated
           27    Exchange
                                        proceeds of market manipulation, money laundering, operating unlicensed
           28
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             1
                                          money transmitting business and multitude of various other nefarious acts
             2
                                          taking place on the BitMEX platform, by means of converting bitcoins into
             3
                                          various traditional (“fiat”) currencies, including United States dollars and Hong
             4
                                          Kong dollars.
             5
                                          Defendant Hayes was responsible for, among other things, conducting overall
             6
                                          planning, oversight and supervision of the affairs of the Enterprise and
             7
                                          coordination between the remaining co-conspirators, as well as controlling bank
             8
                                          accounts and financial flows within the Enterprise. In addition, Defendant
             9
                                          Hayes gave directions to other members of the Enterprise, occupied the top
           10
                                          position in the "chain of command" of the Enterprise through which the affairs
           11
                                          of the Enterprise are conducted and was indispensable to the achievement of the
           12
                                          Enterprise’s goals of maximizing profits and minimizing trading losses for the
           13
                  Hayes                   Defendants, and each of them, and their co-conspirators, through unlawful
           14
                                          trading practices, including market manipulation, concealing trading gains
           15
                                          obtained through unlawful practices from regulatory and tax authorities using,
           16
                                          without limitation, money laundering, generating illicit income from unlicensed
           17
                                          money transmissions, promoting and enhancing the racketeering conspiracy and
           18
                                          the activities of the Defendants, and each of them, and their co-conspirators and
           19
                                          concealing the unlawful activities of the Defendants, and each of them, and
           20
                                          their co-conspirators from scrutiny by cryptocurrency exchanges and law
           21
                                          enforcement.
           22
                                          Defendant Delo was responsible for performing liquidations of user positions to
           23
                                          rip the benefits of the market manipulation and other illegal acts conducted by
           24
                                          the Enterprise and depositing the liquidation proceeds into Insurance Fund. In
           25     Delo
                                          addition, Defendant Delo gave directions to other members and took directions
           26
                                          from Defendant Hayes, occupied a second position in the "chain of command"
           27
                                          through which the affairs of the Enterprise are conducted, knowingly and
           28
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             1
                                          eagerly implemented decisions of Defendant Hayes and was indispensable to
             2
                                          the achievement of the Enterprise’s goals of maximizing profits and minimizing
             3
                                          trading losses for the Defendants, and each of them, and their co-conspirators,
             4
                                          through unlawful trading practices, including market manipulation, concealing
             5
                                          trading gains obtained through unlawful practices from regulatory and tax
             6
                                          authorities using, without limitation, money laundering, generating illicit
             7
                                          income from unlicensed money transmissions, promoting and enhancing the
             8
                                          racketeering conspiracy and the activities of the Defendants, and each of them,
             9
                                          and their co-conspirators and concealing the unlawful activities of the
           10
                                          Defendants, and each of them, and their co-conspirators from scrutiny by
           11
                                          cryptocurrency exchanges and law enforcement.
           12
                                          Defendant Reed was responsible for, among other things, planning and
           13
                                          initiating the deliberate server freezes and fraudulent system overloads on
           14
                                          BitMEX as alleged herein as well as effective transfers of market manipulation
           15
                                          winnings from helper accounts on United States based exchanges Kraken,
           16
                                          Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           17
                                          market orders on those exchanges with maximum slippage to cause large
           18
                                          artificial moves in the .BXBT and index price and .BETH index price on a daily
           19
                                          basis and performance of other illegal acts conducted by the Enterprise, by
           20     Reed
                                          issuing electronic wire transmissions containing trading orders and other
           21
                                          computer system commands and writing, deploying and remotely executing
           22
                                          software scripts from his office located in Milwaukee, WI 53202. Defendant
           23
                                          Reed was further responsible for laundering a substantial portion of the tainted
           24
                                          proceeds of the illegal activities on the BitMEX platform from Defendants’
           25
                                          general account (bitcoin wallet) through a real estate investment scheme
           26
                                          involving multiple real estate properties in Wisconsin and Massachusetts, by
           27
                                          concealing the nature of the funds used in acquisition of said properties and the
           28
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             1
                                        true state of ownership and control thereof. In addition, Defendant Reed gave
             2
                                        directions to other members and took directions from Defendant Hayes,
             3
                                        occupied a third position in the "chain of command" through which the affairs
             4
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
             5
                                        of Defendants Hayes and Delo and was indispensable to the achievement of the
             6
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
             7
                                        Defendants, and each of them, and their co-conspirators, through unlawful
             8
                                        trading practices, including market manipulation, concealing trading gains
             9
                                        obtained through unlawful practices from regulatory and tax authorities using,
           10
                                        without limitation, money laundering, generating illicit income from unlicensed
           11
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
           12
                                        the activities of the Defendants, and each of them, and their co-conspirators and
           13
                                        concealing the unlawful activities of the Defendants, and each of them, and
           14
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
           15
                                        enforcement.
           16
                                        Defendant Agata Reed was responsible for laundering a substantial portion of
           17
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           18
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           19
                                        scheme involving real estate properties in Massachusetts with the purpose to
           20
                                        conceal or disguise the nature, the location, the source, the ownership, or the
           21
                                        control of the proceeds of the alleged unlawful activity taking placeon the
           22     Agata Reed
                                        BitMEX platform. In addition, Defendant Agata Reed gave directions to other
           23
                                        members and took directions from Defendant Reed, occupied a fourth position
           24
                                        in the "chain of command" through which the affairs of the Enterprise are
           25
                                        conducted, knowingly and eagerly implemented decisions of Defendants
           26
                                        Hayes, Delo and Reed and was indispensable to the achievement of the
           27
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
           28
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             1
                                        Defendants, and each of them, and their co-conspirators, through unlawful
             2
                                        trading practices, including market manipulation, concealing trading gains
             3
                                        obtained through unlawful practices from regulatory and tax authorities using,
             4
                                        without limitation, money laundering, generating illicit income from unlicensed
             5
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
             6
                                        the activities of the Defendants, and each of them, and their co-conspirators and
             7
                                        concealing the unlawful activities of the Defendants, and each of them, and
             8
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
             9
                                        enforcement.
           10
                                        Defendant Barbara Reed was responsible for laundering a substantial portion of
           11
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           12
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           13
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           14
                                        of the funds used in acquisition of said properties and the true state of
           15
                                        ownership and control thereof.             In addition, Defendant Barbara Reed gave
           16
                                        directions to other members and took directions from Defendant Reed,
           17
                                        occupied a fifth position in the "chain of command" through which the affairs
           18
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           19     Barbara Reed
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           20
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           21
                                        for the Defendants, and each of them, and their co-conspirators, through
           22
                                        unlawful trading practices, including market manipulation, concealing trading
           23
                                        gains obtained through unlawful practices from regulatory and tax authorities
           24
                                        using, without limitation, money laundering, generating illicit income from
           25
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           26
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           27
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           28
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             1
                                         of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             2
                                         and law enforcement.
             3
                                         Defendant Trace Reed was responsible for laundering a substantial portion of
             4
                                         the tainted proceeds of the illegal activities on the BitMEX platform from
             5
                                         Defendants’ general account (bitcoin wallet) through a real estate investment
             6
                                         scheme involving real estate properties in Wisconsin, by concealing the nature
             7
                                         of the funds used in acquisition of said properties and the true state of
             8
                                         ownership and control thereof. In addition, Defendant Trace Reed gave
             9
                                         directions to other members and took directions from Defendant Reed,
           10
                                         occupied a sixth position in the "chain of command" through which the affairs
           11
                                         of the Enterprise are conducted, knowingly and eagerly implemented decisions
           12
                                         of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           13     Trace Reed
                                         of the Enterprise’s goals of maximizing profits and minimizing trading losses
           14
                                         for the Defendants, and each of them, and their co-conspirators, through
           15
                                         unlawful trading practices, including market manipulation, concealing trading
           16
                                         gains obtained through unlawful practices from regulatory and tax authorities
           17
                                         using, without limitation, money laundering, generating illicit income from
           18
                                         unlicensed money transmissions, promoting and enhancing the racketeering
           19
                                         conspiracy and the activities of the Defendants, and each of them, and their co-
           20
                                         conspirators and concealing the unlawful activities of the Defendants, and each
           21
                                         of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           22
                                         and law enforcement.
           23
                         256.       Additional and other facts regarding Defendants’ roles in the Enterprise are hidden
           24
                  from Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody
           25
                  and control. To date, Defendants provided absolutely no discovery to Plaintiff what so ever,
           26
                  despite being served with multiple discovery requests, which Defendants stonewalled. Plaintiff
           27
                  accordingly reserves the right to supplement and amend these allegations, if appropriate or
           28
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             1
                  necessary, following completion of relevant fact discovery.
             2
             3            THE RAKETEERING CONSPIRACY AND RACKETEERING ACTIVITY
                          257.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-255 above
             4
                  as if fully set forth herein.
             5
                          258.      Pursuant to 18 U.S.C. § 1961, “racketeering activity” for purposes of RICO means
             6
                  “any act which is indictable under any of the following provisions of title 18, United States
             7
                  Code: … section 1343 (relating to wire fraud) … section 1956 (relating to the laundering of
             8
                  monetary instruments), section 1957 (relating to engaging in monetary transactions in property
             9
                  derived from specified unlawful activity), … section 1960 (relating to illegal money
           10
                  transmitters), … sections 2314 and 2315 (relating to interstate transportation of stolen property).”
           11
                          259.      During the Relevant Period, the Defendants, and each of them, solely or together
           12
                  with other individuals, being persons employed by and associated with Enterprise they engaged in,
           13
                  and the activities of which affected interstate and foreign commerce, knowingly and intentionally,
           14
                  conspired to conduct and participate, directly and indirectly, and actually participated in conduct
           15
                  of the Enterprise’s affairs through a pattern of racketeering activity, as that terms is defined in 18
           16
                  U.S.C. § 1961, consisting of multiple acts, which are indictable under 18 U.S.C. § 1343, 18 U.S.C.
           17
                  § 1956, 18 U.S.C. § 1957, 18 U.S.C. § 1960(a) and 18 U.S.C. § 2314.
           18
                          260.      It was a part of the conspiracy that each Defendant agreed that a conspirator would
           19
                  commit at least two acts of racketeering activity in the conduct of the affairs of the Enterprise.
           20
                          261.      The purposes of the alleged racketeering conspiracy of the Defendants, and each of
           21
                  them, included the following, among others: (1) maximizing profits and minimizing trading
           22
                  losses for the Defendants, and each of them, and their co-conspirators, through unlawful trading
           23
                  practices, including market manipulation; (2) concealing trading gains obtained through unlawful
           24
                  practices from regulatory and tax authorities, including, without limitation, by means of money
           25
                  laundering; (3) generating illicit income from unlicensed money transmissions; (4) promoting and
           26
                  enhancing the racketeering conspiracy and the activities of the Defendants, and each of them, and
           27
                  their co-conspirators; (5) concealing the unlawful activities of the Defendants, and each of them,
           28
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             1
                  and their co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement; and (6)
             2
                  laundering the bitcoin denominated proceeds of the market manipulation on the BitMEX platform
             3
                  by first converting them into fiat currencies such as United States dollars using Defendant
             4
                  Unknown Exchange and then reinvesting the converted fiat currency proceeds into real estate
             5
                  properties in Wisconsin and Massachusetts using nominee entities Grape Park and Mark Sweep
             6
                  (collectively “Purposes”).
             7
             8              OVERT ACTS IN FURTHERANCE OF RAKETEERING CONSPIRACY
                          262.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-260 above
             9
                  as if fully set forth herein.
           10
                          263.      In furtherance of the racketeering conspiracy, and to achieve its purposes, the
           11
                  Defendants committed and caused to be committed the following acts, among others, alleged in
           12
                  this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           13
                  leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           14
                  calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           15
                  money launderers to avoid detection by providing them with the ability to open unlimited number
           16
                  of anonymous document check-free trading accounts without any trading and withdrawal limits;
           17
                  4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           18
                  some trading orders and reject others during large market moves to exacerbate price fluctuations
           19
                  and cause the most liquidations; 5) regularly manipulating price of cryptocurrencies including,
           20
                  without limitation, bitcoin, by executing large market orders from helper accounts on illiquid spot
           21
                  exchanges Coinbase Pro, BitStamp and Kraken in order to cause massive liquidations of traders’
           22
                  derivatives positions on BitMEX and capture resulting market manipulation profits using winner
           23
                  accounts on that exchange; 6) knowingly, willfully and deliberately effectively transmitting
           24
                  market manipulation winnings from the helper accounts to the winner accounts in violation of 18
           25
                  U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314; and 7)
           26
                  knowingly, willfully and deliberately transmitting a portion of the money from the winner
           27
                  accounts back to the helper accounts in order to replenish them before next manipulation in
           28
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             1
                  violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. §
             2
                  2314. For example, Ex. 3, p. 4 describes how a helper account on BitStamp was used on May 17,
             3
                  2019 to effectively transmit 80 times of the amount money spent from that helper account to a
             4
                  winner account on BitMEX. See also Ex. 2, pp. 2-3 describing a similar scheme that used helper
             5
                  accounts on BitStamp to artificially induce massive liquidations of traders, like Plaintiff, on
             6
                  Bitmex on July 14, 2019, resulting in effective transmission of manipulation winnings from
             7
                  helper accounts on BitStamp to winner accounts on BitMEX. Plaintiff Razvan is informed and
             8
                  believes and thereon alleges that Defendants use this unlawful scheme on a regular basis using
             9
                  helper accounts operated on United States based cryptocurrency exchanges BitStamp, Kraken and
           10
                  Coinbase Pro. Additionally, the aforesaid illegal acts of effectively transmitting market
           11
                  manipulation winnings from helper accounts to winner accounts were all perpetrated by
           12
                  Defendants through the same commercial website BitMEX.com, which is accessible and is
           13
                  extensively used, via widely available and inexpensive VPN software, by users located in the
           14
                  United States and this District. Therefore, these illegal acts for which Plaintiff seeks redress in
           15
                  this Complaint were directly related to Defendants’ connections to the United States and this
           16
                  District through their commercial website BitMEX.com. Moreover, BitMEX platform is
           17
                  operated from this District, which also houses the three site reliability engineers of BitMEX who
           18
                  personally caused the BitMEX servers to freeze during manipulation times.
           19
                         264.       In addition, in furtherance of the racketeering conspiracy, and to achieve its
           20
                  purposes, the Defendants committed and caused to be committed, in this District and elsewhere,
           21
                  the acts, among others, as alleged in this Complaint.
           22
                         265.       Plaintiff Razvan was injured in his property by one or more of the foregoing and
           23
                  other overt acts in furtherance of the alleged racketeering conspiracy. For example, Plaintiff
           24
                  Razvan was financially injured when Defendants effectively transmitted funds, which was
           25
                  perpetrated willfully and deliberately by Defendants through their commercial website
           26
                  BitMEX.com, and with full knowledge of the nature and purpose of the funds involved in the
           27
                  transfer, in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18
           28
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             1
                  U.S.C. § 2314 between helper and winner accounts by way of using the helper accounts to
             2
                  perpetrate manipulation by pumping or dumping the cryptocurrency market, thereby causing a
             3
                  liquidation cascade affecting Plaintiff’s account, and using the winner accounts to capture the
             4
                  financial benefits of the aforesaid manipulation. As the result of the actions of the Defendants
             5
                  alleged in this Paragraph, the positions of Plaintiff were liquidated.
             6
                          266.      Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
             7
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             8
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
             9
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           10
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           11
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           12
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           13
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           14
                  and operated by United States based Amazon EKS with offices in this District.
           15
                          267.      Moreover, the aforesaid illegal acts of effectively transmitting market
           16
                  manipulation winnings from helper accounts to winner accounts, which resulted in the injury to
           17
                  Plaintiff, were all perpetrated by Defendants through the same commercial website BitMEX.com,
           18
                  which is accessible and is extensively used, via widely available and inexpensive VPN software,
           19
                  by users located in the United States and this District. Therefore, Defendants’ illegal acts
           20
                  resulting in injuries to Plaintiff, for which Plaintiff seeks redress in this Complaint, were directly
           21
                  related to Defendants’ connections to the United States and this District through their commercial
           22
                  website BitMEX.com.
           23
                      DEFENDANTS OPERATED AND CONTINUE TO OPERATE AN UNLICENSED
           24          MONEY TRANSMITTING BUSINESS IN VIOLATION OF 18 U.S.C. § 1960(a)
           25             268.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-266 above
           26     as if fully set forth herein.
           27             269.      Bitcoins and other cryptocurrencies are funds. United States v. Murgio, No. 15-cr-
           28
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             1
                  769, 2016 WL 5107128, at *4 (S.D.N.Y. Sep. 19, 2016); United States v. Budovsky, No. 15-cr-
             2
                  368, 2015 WL 5602853 (S.D.N.Y. Sep. 23, 2015); United States v. Faiella, 39 F. Supp. 3d 544
             3
                  (S.D.N.Y. 2014). Therefore, bitcoins are subject to all laws and regulations applicable to fiat
             4
                  currency monetary transactions.
             5
                         270.       Plaintiff Razvan is informed and believes and thereon alleges that during the
             6
                  Relevant Period, Defendants, and each of them, engaged in conducting, controlling, managing,
             7
                  supervising, directing, or owning all or part of an unlicensed money transmitting business in
             8
                  violation of 18 U.S.C. § 1960(a).
             9
                         271.       To use Defendant HDR’s unlicensed money transmitting services, one creates an
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20

           21     account by accessing the Defendant HDR’s website BitMEX.com. A user does not need to

           22     provide even the most basic identifying information such as date of birth, address, or other

           23     identifiers. All that Defendant HDR requires is a name, password, and an email address.

           24            272.       Unlike legitimate payment processors or digital currency exchangers, Defendant

           25     HDR does not require its users to validate their identity information by providing official

           26     identification documents, given that Defendant HDR does not require an identity at all to open an

           27     account and start trading with up to 100x leverage. For comparison, a legitimate U.S.

           28     cryptocurrency exchange Kraken requires email address, full name, date of birth, phone number,
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             1
                  and physical address to open the most basic level account.
             2
                            273.       Thus, a user can create and fund an HDR account with nothing more than an email
             3
                  address, which often has no relationship to the identity of the actual user. Accounts are therefore
             4
                  easily opened anonymously, including by customers in the United States within the Northern
             5
                  District of California. Using such anonymous account, the user is able to make unlimited
             6
                  deposits, unlimited trades with up to 100x leverage, as well as unlimited withdrawals. Instead of
             7
                  performing a proper document check before allowing users to open an account on BitMEX,
             8
                  Defendants deliberately and knowingly use utterly ineffective IP address check, which they all
             9
                  well know is uniformly subverted by very simple, inexpensive and widely available software
           10
                  tools.
           11
                            274.       Moreover, high leverage provided by Defendant HDR to all users enables
           12
                  Defendants and all BitMEX users to launder unlimited funds from one account to another using
           13
                  market manipulation as alleged hereinabove. For example, one helper account may dump a large
           14
                  amount of cryptocurrency on the market using margin, triggering a liquidation cascade and
           15
                  booking a loss, when a separate, second winner account may buy the cryptocurrency at an
           16
                  artificial below market price caused by the liquation cascade. This way, unlimited amount of
           17
                  funds may be laundered from the first helper account to the second winner account virtually
           18
                  anonymously in violation of 18 U.S.C. § 1956(a), which is a RICO predicate offense. Plaintiff
           19
                  Razvan is informed and believes and thereon alleges that Defendants themselves launder funds
           20
                  and enable BitMEX uses to launder funds in the alleged manner by providing high levels of
           21
                  leverage up to 100x and deliberately failing to conduct KYC upon account creation. In addition,
           22
                  the knowing, willful and deliberate effective transmissions of the winnings from market
           23
                  manipulation from the first helper account to the second winner account perpetrated by
           24
                  Defendants on behalf of themselves and/or on behalf of other BitMEX users as described herein,
           25
                  with full knowledge of the nature and purpose of the funds involved in the transfer, constitutes
           26
                  unlicensed money transmitting in violation of 18 U.S.C. § 1960(a), which is also a RICO
           27
                  predicate offense. Finally, the willful and deliberate money transmission from the winner account
           28
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             1
                  back to the helper account in order to replenish it before next manipulation cycle, with full
             2
                  knowledge of the nature and purpose of the funds involved in the transfer, also constitutes
             3
                  unlicensed money transmitting in violation of 18 U.S.C. § 1960(a), which is also a RICO
             4
                  predicate offense. The same money transmission further constitutes a monetary transaction in
             5
                  property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), interstate
             6
                  transportation of stolen property in violation of 18 U.S.C. § 2314 and money laundering in
             7
                  violation of 18 U.S.C. § 1956(a), which are also RICO predicate offenses. For example, Ex. 3, p.
             8
                  4 describes how a helper account on BitStamp was used on May 17, 2020 to effectively transmit
             9
                  80 times of the amount money spent from that helper account to a winner account on BitMEX.
           10
                  See also Ex. 7, illustrating a similar scheme, in which a perpetrator sold $44,000,000 over 22
           11
                  separate $2,000,0000 orders of XBTUSD Perpetual Swaps on Bitmex on July 27, 2020 to get into
           12
                  a position and then used market orders amounting to some 1000 bitcoins on Coinbase Pro
           13
                  exchange to artificially move the .BXBT index price in a favorable direction in order to close his
           14
                  large BitMEX position at a significant profit. See also Ex. 2, pp. 2-3 describing a similar scheme
           15
                  that used helper accounts on BitStamp to artificially induce massive liquidations of traders, like
           16
                  Plaintiff, on Bitmex on July 14, 2019, resulting in effective transmission of manipulation
           17
                  winnings from helper accounts on BitStamp to winner accounts on BitMEX. Plaintiff Razvan is
           18
                  informed and believes and thereon alleges that Defendants use this unlawful scheme on a regular
           19
                  basis utilizing helper accounts on United States based exchanges BitStamp, Kraken and Coinbase
           20
                  Pro and winner accounts on BitMEX.7
           21
                         275.       At all times relevant to this complaint Defendant HDR had no anti-money
           22
                  laundering (“AML”) and/or "Know-Your-Customer” (“KYC”) processes and policies in place or
           23
                  the existing policies lacked any meaningful enforcement, as evidenced, for example, by apparent
           24
                  accepting the United States - based companies, including CMT Capital Markets Trading,
           25
                  Eastmore Group / Eastmore Management, LLC, Clerkenwell Asset Management LLC, Adaptive
           26
                  7
           27       The funds are being transmitted from one exchange to another by way of arbitrage algorithms
                  that buy cryptocurrency on one platform and simultaneously sell on the other, as alleged in
           28     Paragraph 147.
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             1
                  Fund I, LP and Galois Capital, Swing Trade Pros, FalconX, Cumberland DRW, Circle Partners,
             2
                  Fund3 Capital LP/Fund3 LLC, South Lake Computers, ARK Investment Management LLC,
             3
                  Coincident Capital and Leotank Capital as clients, despite claiming that BitMEX is closed to
             4
                  United States persons. As alleged hereinabove, Defendant HDR collected and continues to
             5
                  collect virtually no customer data at all. Nor did Defendant HDR ever register with FinCEN or
             6
                  perform the required AML and KYC functions.
             7
                         276.       A user can fund a Defendant HDR account in numerous different ways. One way
             8
                  involves funding a Defendant HDR account with a user's existing digital currency. A user with
             9
                  existing digital currency, such as bitcoin, could fund an HDR account directly via bitcoin
           10
                  deposits. Defendant HDR users could also use market manipulation to launder funds from one
           11
                  account to another. Plaintiff Razvan is informed and believes and thereon alleges that this served
           12
                  as another conduit for money laundering as it allowed Defendant HDR’s customers and
           13
                  Defendants themselves to withdraw funds from their HDR account and transfer them to other
           14
                  HDR users anonymously.
           15
                         277.       18 U.S.C. § 1960(a) provides: “(a) Whoever knowingly conducts, controls,
           16
                  manages, supervises, directs, or owns all or part of an unlicensed money transmitting business,
           17
                  shall be fined in accordance with this title or imprisoned not more than 5 years, or both.”
           18
                         278.        Pursuant to 18 U.S.C. § 1960(b)(1), “the term “unlicensed money transmitting
           19
                  business” means a money transmitting business which affects interstate or foreign commerce in
           20
                  any manner or degree” and (A) is operated without an appropriate money transmitting license in a
           21
                  State where such operation is punishable as a misdemeanor or a felony under State law, whether
           22
                  or not the defendant knew that the operation was required to be licensed or that the operation was
           23
                  so punishable; (B) fails to comply with the money transmitting business registration requirements
           24
                  under section 5330 of title 31, United States Code, or regulations prescribed under such section;
           25
                  or (C) otherwise involves the transportation or transmission of funds that are known to the
           26
                  defendant to have been derived from a criminal offense or are intended to be used to promote or
           27
                  support unlawful activity.
           28
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             1
                          279.       18 U.S.C. § 1960(a) makes it a crime to operate an unlicensed money transmitting
             2
                  business. The term money transmitting includes "transferring funds on behalf of the public by any
             3
                  and all means including but not limited to transfers within this country or to locations abroad by
             4
                  wire, check, draft, facsimile, or courier." This statute makes it a violation to conduct a "money
             5
                  transmitting business" if the business is not registered as a money transmitting business with the
             6
                  U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
             7
                  regulations pursuant to that statute. Moreover, FinCEN Ruling, FIN-2014-R002, at p. 4 provides:
             8
                          280.       In addition, should the Company begin to engage as a business in the exchange of
             9
                  virtual currency against currency of legal tender (or even against other convertible virtual
           10
                  currency), the Company would become a money transmitter under FinCEN's regulations. Under
           11
                  such circumstances, the Company would have to register with FinCEN, implement an effective,
           12
                  risk-based anti-money laundering program, and comply with the recordkeeping, reporting, and
           13
                  transaction monitoring requirements applicable to money transmitters.
           14
                          281.       FinCEN Ruling, FIN-2014-R002, at p. 4. United States Federal District Court
           15
                  decision in U.S. v. Stetkiw, No. 18-20579 (E.D. Mich. Feb. 1, 2019) relied on this Ruling as a
           16
                  basis for denying defendant’s motion to dismiss and holding that defendant’s alleged conduct of
           17
                  converting fiat money into virtual currency constituted money transmitting under 18 U.S.C.
           18
                  § 1960. Thus, Defendant HDR is money transmitter under FinCEN's regulations and California
           19
                  law.
           20
                          282.       The regulations specifically apply to foreign-based money transmitting businesses
           21
                  doing substantial business in the United States. “Several sources close to the company” have
           22
                  disclosed to media sources that nearly 15 percent of the BitMEX’s 2019 trading volume—or
           23
                  about $138 billion worth—is attributable to traders located in the United States. In addition, San
           24
                  Francisco based Galois Capital also acts as liquidity provider on BitMEX generating millions of
           25
                  dollars of business for Defendants. Therefore, Defendant HDR is subject to the aforesaid federal
           26
                  and state money transmitter regulations due to its very substantial business in the United States.
           27
                  See 31 C.F.R. §§ 1010.100(ff)(5), 1022380(a)(2).
           28
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             1
                         283.       Defendant HDR falls under the statutory definition of the “unlicensed money
             2
                  transmitting business” under all of 18 U.S.C. § 1960(b)(1)(A), (B) and (C). Defendants’
             3
                  unlicensed money transmitting operation clearly affects interstate and foreign commerce, based at
             4
                  least on the high amounts (tens and even hundreds of millions of United States dollars) of funds
             5
                  involved in the money transmissions by Defendants.
             6
                         284.       With respect to 18 U.S.C. § 1960(b)(1)(A), Defendant HDR’s operates without an
             7
                  appropriate money transmitting license issued by the State of California and by any other State of
             8
                  the United States. Cal. Fin. Code § 2003(q)(3) defines “money transmission” as “receiving
             9
                  money for transmission.” Defendant HDR clearly meets this definition. Defendant HDR
           10
                  receives funds in a form of a cryptocurrency from its customers and then transmit cryptocurrency
           11
                  to a wallet address. Cal. Fin. Code § 2030(a) requires persons engaged in money transmission to
           12
                  be licensed. Finally, Cal. Fin. Code § 2152(b) provides that a “person that knowingly engages in
           13
                  an activity for which a license is required under this division without being licensed or exempt
           14
                  from licensure under this division is guilty of a felony.” Thus, Defendant HDR meets the
           15
                  definition set out in 18 U.S.C. § 1960(b)(1)(A).
           16
                         285.       With respect to 18 U.S.C. § 1960(b)(1)(B), Defendant HDR failed to register with
           17
                  the U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
           18
                  regulations pursuant to that statute.
           19
                         286.       With respect to 18 U.S.C. § 1960(b)(1)(C), Defendant HDR facilitated and
           20
                  continues to facilitate the transfer of funds involved in cryptocurrency market manipulation and
           21
                  money laundering, including, without limitation, transfer of winnings from market manipulation
           22
                  from the helper accounts into the winner accounts as alleged herein above. By way of example
           23
                  and not by way of limitation, Defendants, and each of them, during the Relevant Period,
           24
                  transferred proceeds from illegal price manipulation from BitMEX to other cryptocurrency
           25
                  exchanges, including, without limitation, Coinbase Pro, Kraken and BitStamp in order to
           26
                  replenish helper accounts on those exchanges. Such transfers were performed by Defendants, and
           27
                  each of them on a daily basis, including during each of the specific Manipulation Times alleged in
           28
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             1
                  Paragraph 353 below, during the Relevant Period. Those proceeds were used by Defendants, and
             2
                  each of them, as well as third party perpetrators to perpetrate further market manipulations as
             3
                  alleged hereinabove. In addition, Defendants transmitted funds between different exchange
             4
                  accounts, including, without limitation, helper accounts and winner accounts, by way of market
             5
                  manipulation as alleged hereinabove.
             6
                         287.       Thus, Defendant HDR is clearly “unlicensed money transmitting business[es]”
             7
                  under 18 U.S.C. § 1960(b)(1) and, therefore, Defendants, and each of them, while being
             8
                  employed in or associated with the continuing Enterprise as alleged above, knowingly conducted,
             9
                  controlled, managed, supervised, directed, and owned all and part of an unlicensed money
           10
                  transmitting business affecting interstate and foreign commerce in violation of 18 U.S.C.
           11
                  § 1960(a), which constitute the predicate acts of the Defendants, and each of them, racketeering
           12
                  activity under RICO.
           13
                         288.       Defendants have been recently caught red-handed doing at least $70,000,000 of
           14
                  business in New York and California without obtaining a money transmitting license.
           15
                  Specifically, as alleged in Paragraphs 108 and 109, California and United States residents
           16
                  generated almost $70,000,000 in trading profits on the BitMEX platform, which clearly exceeds
           17
                  any threshold8 for Defendant HDR having been required to obtain a money transmitter license in
           18
                  the United States and comply with the FinCEN regulations pursuant to 18 U.S.C. § 1960(a),
           19
                  which it knowingly and deliberately failed to do. This conclusively establishes the violation of 18
           20
                  U.S.C. § 1960(a) by Defendants. Had Defendants obtained the money transmitter license and
           21
                  complied with FinCEN regulations, as they were required by law, they would have been forced to
           22
                  institute the mandatory KYC and AML policies on the BitMEX platform, as they did on August
           23
                  14, 2020, which would have prevented at least some of the market manipulation, money
           24
                  laundering and other nefarious acts, which damaged Plaintiff as alleged in this Complaint, from
           25
                  8
           26      In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                  U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27     Klein, 6:17-cr-03056 (W.D. Mo. 2017), the threshold for triggering 18 U.S.C. § 1960(a) liability
                  was less than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants
           28     exceeded the legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x.
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             1
                  taking place on the BitMEX platform. Therefore, Plaintiff’s injuries alleged in this Complaint
             2
                  were directly and proximately caused by Defendants operating the unlicensed money transmitting
             3
                  business and failing to comply with FinCEN regulations in violation of 18 U.S.C. § 1960(a).
             4
                          289.      It should be noted that the sheer magnitude of Defendants’ unlicensed money
             5
                  transmitting operation is truly staggering. According to Defendants’ own data, Defendant HDR
             6
                  turnover averages over $3 billion per day. Thus, Defendants illegally transmitted over $3 billion
             7
                  per day without the required state money transmitter license and the required registration with
             8
                  FinCEN in violation of 18 U.S.C. § 1960(a).
             9
                          290.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           10
                  each of them, charged their customers substantial fees for the unlicensed money transmissions
           11
                  generating substantial illegal income for Defendants.
           12
                          291.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
           13
                  alleged herein, namely operation of an unlicensed money transmitting business in violation of 18
           14
                  U.S.C. § 1960(a), are related by having the same or similar purposes of manipulating
           15
                  cryptocurrency markets, generating illicit income and concealing illegal activities from
           16
                  authorities, results, Defendants – participants, victims, methods of commission or are otherwise
           17
                  interrelated by distinguishing characteristics.
           18
                          292.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
           19
                  alleged herein, namely operation of an unlicensed money transmitting business in violation of 18
           20
                  U.S.C. § 1960(a), are continuous as they constitute an open-ended scheme, which poses a threat
           21
                  of continuity through the long duration of the alleged misconduct, namely over two years, and the
           22
                  threat of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants
           23
                  is still ongoing.
           24
                          293.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           25
                  each of them, used at least a portion of the income derived from their unlicensed money
           26
                  transmitting operations in violation of 18 U.S.C. § 1960(a) to manipulate spot and derivative
           27
                  markets of cryptocurrencies, as alleged herein, which directly and proximately resulted in the
           28
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             1
                  substantial monetary cryptocurrency trading losses to Plaintiff Razvan as alleged hereinbelow.
             2
                          294.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants’,
             3
                  and each of them, alleged price manipulation schemes, including, without limitation, pumps and
             4
                  dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
             5
                  them, to transmit money in violation of 18 U.S.C. § 1960(a) directly and proximately resulted in
             6
                  substantial monetary cryptocurrency trading losses to Plaintiff Razvan as alleged herein.
             7
                        DEFENDANTS CONSPIRED TO LAUNDER, LAUNDERED AND CONTINUE
             8                TO LAUNDER FUNDS IN VIOLATION OF 18 U.S.C. § 1956
             9            295.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-293 above
           10     as if fully set forth herein.
           11             296.      18 U.S.C. § 1956 provides that “whoever, knowing that the property involved in a
           12     financial transaction represents the proceeds of some form of unlawful activity, conducts or
           13     attempts to conduct such a financial transaction which in fact involves the proceeds of specified
           14     unlawful activity (A)(i) with the intent to promote the carrying on of specified unlawful activity;
           15     or (ii) with intent to engage in conduct constituting a violation of section 7201 or 7206 of the
           16     Internal Revenue Code of 1986; or (B) knowing that the transaction is designed in whole or in
           17     part (i) to conceal or disguise the nature, the location, the source, the ownership, or the control of
           18     the proceeds of specified unlawful activity; or (ii) to avoid a transaction reporting requirement
           19     under State or Federal law, shall be sentenced to a fine of not more than $500,000 or twice the
           20     value of the property involved in the transaction, whichever is greater, or imprisonment for not
           21     more than twenty years, or both.”
           22             297.      Plaintiff Razvan is informed and believes and thereon alleges that, during the
           23     Relevant Period, Defendants, and each of them, willfully and knowingly did combine, conspire,
           24     confederate, and agree together and with each other to knowingly conduct and attempt to conduct
           25     financial transactions affecting interstate commerce and foreign commerce, which transactions
           26     involved the proceeds of specified unlawful activity, that in, operation of an unlicensed money
           27     transmitting business in violation of 18 U.S.C. § 1960(a), as alleged hereinabove, as well as
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 117 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                  proceeds of money laundering and unlawful cryptocurrency market manipulation, as alleged
             2
                  hereinbelow.
             3
                         298.       Defendants, and each of them, willfully and knowingly did conduct and continue
             4
                  to conduct financial transactions affecting interstate commerce and foreign commerce, which
             5
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
             6
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a) as well as proceeds of
             7
                  unlawful cryptocurrency market manipulation.
             8
                         299.       For example, Defendants, and each of them, transferred, on multiple occasions,
             9
                  proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           10
                  as proceeds from illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX to
           11
                  other cryptocurrency exchanges, including, without limitation, Coinbase Pro, BitStamp and
           12
                  Kraken, with intent to employ those transferred proceeds in further unlawful activity or to launder
           13
                  those proceeds by converting them into fiat currencies or through real estate investment schemes.
           14
                  Those proceeds were in fact subsequently used by Defendants, and each of them, as well as third
           15
                  party perpetrators to perpetrate further market manipulation in violation of applicable laws.
           16
                  Moreover, Defendants, and each of them, used the hereinabove alleged price manipulation
           17
                  schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation
           18
                  cascades to launder funds between different exchange accounts controlled by Defendants or third
           19
                  persons.
           20
                         300.       As a further example, the effective transmissions of the winnings from market
           21
                  manipulation from the first helper account on BitStamp, Kraken or Coinbase Pro to the second
           22
                  winner account on BitMEX perpetrated by Defendants as described herein constitutes money
           23
                  laundering in violation of 18 U.S.C. § 1956(a).
           24
                         301.       As yet further example, a substantial portion of the bitcoin-denominated proceeds
           25
                  of market manipulation, money laundering, operating of unlicensed money transmitting business
           26
                  and multitude of various other nefarious acts taking place on the BitMEX platform as alleged in
           27
                  this Complaint, were subsequently converted, by all Defendants, through the Defendant Unknown
           28
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             1
                  Exchange, into various fiat currencies, including United States dollars and Hong Kong dollars.
             2
                  All Defendants knew that these financial transactions were designed in whole or in part to conceal
             3
                  or disguise the nature, the location, the source, the ownership, or the control of the proceeds of the
             4
                  specified unlawful activity, namely cryptocurrency market manipulation, money laundering,
             5
                  operating unlicensed money transmitting business and multitude of various other nefarious acts
             6
                  taking place on the BitMEX platform as alleged in this Complaint.
             7
                         302.        As yet further example, a substantial portion of the bitcoin-denominated proceeds
             8
                  of market manipulation, money laundering and multitude of various other nefarious acts taking
             9
                  place on the BitMEX platform were subsequently converted, by Defendants Reed, Agata Reed,
           10
                  Barbara Reed and Trace Reed, into multiple real estate investments that they set up in Wisconsin
           11
                  and Massachusetts. For this purpose, the aforesaid Defendants employed fraudulent nominee
           12
                  shell companies Defendant Grape Park and Defendant Mark Sweep to disguise or conceal the true
           13
                  illegal nature of the funds used to acquire the corresponding real estate properties and the
           14
                  acquired real estate’s true ownership or control. All Defendants knew that the aforesaid financial
           15
                  transactions were designed in whole or in part to conceal or disguise the nature, the location, the
           16
                  source, the ownership, or the control of the proceeds of the specified unlawful activity, namely
           17
                  cryptocurrency market manipulation, money laundering, operating unlicensed money transmitting
           18
                  business and multitude of various other nefarious acts taking place on the BitMEX platform as
           19
                  alleged in this Complaint. All Defendants also knew the tainted nature of the funds in the
           20
                  Defendants’ general account (bitcoin wallet), from which the multiple real estate purchases
           21
                  alleged in this Complaint were ultimately funded.
           22
                         303.       Therefore, Defendants, and each of them, while being employed in or associated
           23
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           24
                  § 1956, which further constitute the predicate acts of the Defendants’, and each of them,
           25
                  racketeering activity.
           26
                         304.       Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
           27
                  alleged herein, namely money laundering in violation of 18 U.S.C. § 1956, are related by having
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 119 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                  the same or similar purposes of manipulating cryptocurrency markets, generating illicit income,
             2
                  and concealing illegal activities from authorities, results, Defendants – participants, victims,
             3
                  methods of commission or are otherwise interrelated by distinguishing characteristics.
             4
                          305.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
             5
                  alleged herein, namely money laundering in violation of 18 U.S.C. § 1956, are continuous as they
             6
                  constitute an open-ended scheme, which poses a threat of continuity through the long duration of
             7
                  the alleged misconduct, namely two years, and the threat of continuing criminal conduct, as the
             8
                  alleged criminal conduct perpetrated by Defendants is still ongoing.
             9
                          306.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants’,
           10
                  and each of them, alleged price manipulation schemes, including, without limitation, pumps and
           11
                  dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
           12
                  them, to launder funds between different exchange accounts controlled by Defendants or third
           13
                  persons in violation of 18 U.S.C. § 1956, directly and proximately resulted in substantial
           14
                  monetary cryptocurrency trading losses to Plaintiff Razvan as alleged hereinbelow.
           15
                          307.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           16
                  each of them, used at least a portion of the proceeds derived from their money laundering
           17
                  operation in violation of 18 U.S.C. § 1956 to manipulate spot and derivative markets of
           18
                  cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           19
                  monetary cryptocurrency trading losses to Plaintiff Razvan as alleged herein.
           20
                                 DEFENDANTS ENGAGED IN MONETARY TRANSACTIONS IN
           21                       PROPERTY DERIVED FROM SPECIFIED UNLAWFUL
           22                          ACTIVITY IN VIOLATION OF 18 U.S.C. § 1957
                          308.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-306 above
           23
                  as if fully set forth herein.
           24
                          309.      18 U.S.C. § 1957 provides that “(a) Whoever, in any of the circumstances set forth
           25
                  in subsection (d), knowingly engages or attempts to engage in a monetary transaction in
           26
                  criminally derived property of a value greater than $10,000 and is derived from specified
           27
                  unlawful activity, shall be punished as provided in subsection (b).”
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 120 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                         310.       Pursuant to 18 USC § 1957(f)(3), the terms “specified unlawful activity” and
             2
                  “proceeds” shall have the meaning given those terms in 18 U.S.C. § 1956.
             3
                         311.       Plaintiff Razvan is informed and believes and thereon alleges that, during the
             4
                  Relevant Period, Defendants, and each of them, willfully and knowingly attempted to engage and
             5
                  engaged in monetary transactions affecting interstate commerce and foreign commerce, which
             6
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
             7
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
             8
                  violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
             9
                  unlawful cryptocurrency market manipulation, as alleged hereinbelow.
           10
                         312.       Defendants, and each of them, willfully and knowingly did conduct and continue
           11
                  to conduct financial transactions affecting interstate commerce and foreign commerce, which
           12
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
           13
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           14
                  violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
           15
                  unlawful cryptocurrency market manipulation, as alleged herein.
           16
                         313.       For example, Defendants, and each of them, transferred, on a regular basis,
           17
                  proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           18
                  as illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX cryptocurrency
           19
                  exchange to other cryptocurrency exchanges, including, without limitation, Coinbase Pro,
           20
                  BitStamp and Kraken, with intent to employ those transferred proceeds in further unlawful
           21
                  activity. Those proceeds were in fact subsequently used by Defendants, and each of them, as well
           22
                  as third party perpetrators, to perpetrate further market manipulation in violation of applicable
           23
                  laws. Moreover, Defendants, and each of them, used the hereinabove alleged price manipulation
           24
                  schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation
           25
                  cascades to launder funds between different exchange accounts controlled by Defendants or third
           26
                  persons.
           27
                         314.       As a further example, the effective transmissions of the winnings from market
           28
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             1
                  manipulation from the first helper account to the second winner account perpetrated by
             2
                  Defendants on behalf of themselves and/or on behalf of other BitMEX users as described herein,
             3
                  with full knowledge of the nature and purpose of the funds involved in the transfer, constitutes
             4
                  violation of 18 U.S.C. § 1957. The Defendants were fully aware of the nature of the transferred
             5
                  funds and that such funds were the proceeds of specified unlawful activity within the meaning of
             6
                  18 U.S.C. § 1956.
             7
                         315.       As yet further example, Defendants, and each of them, knowingly converted
             8
                  through multiple monetary transactions, in interstate or foreign commerce, during the Relevant
             9
                  Period, on a daily basis, including during each of the specific Manipulation Times alleged in
           10
                  Paragraph 353 below, proceeds of the alleged illegal bitcoin Perpetual Swap contracts price
           11
                  manipulation, money laundering, operating unlicensed money transmitting business and other
           12
                  nefarious acts alleged in this Complaint, that took place on the BitMEX platform, into various fiat
           13
                  currencies.
           14
                         316.       Moreover, Defendants, and each of them, knowingly converted through multiple
           15
                  monetary transactions, in interstate or foreign commerce, during the Relevant Period, on or about
           16
                  July 8, 2019 and August 19, 2019, at least $2,325,000 of the fiat currency converted proceeds of
           17
                  the alleged illegal bitcoin Perpetual Swap contracts price manipulation, money laundering,
           18
                  operating unlicensed money transmitting business and other nefarious acts alleged in this
           19
                  Complaint into real estate investments in the United States, including, without limitations
           20
                  properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, Ex. 12, 13. The
           21
                  specific purpose of the financial transactions alleged herein was to launder those funds through a
           22
                  real estate investment scheme and conceal their true illegal origin as well as ownership and
           23
                  control.
           24
                         317.        Therefore, Defendants, and each of them, while being employed in or associated
           25
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           26
                  § 1957, which further constitute the predicate acts of the Defendants’, and each of them,
           27
                  racketeering activity.
           28
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             1
                          318.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
             2
                  alleged herein, namely engaging in monetary transactions in property derived from specified
             3
                  unlawful activity in violation of 18 U.S.C. § 1957, are related by having the same or similar
             4
                  purposes of manipulating cryptocurrency markets, generating illicit income, and concealing
             5
                  illegal activities from authorities, results, Defendants – participants, victims, methods of
             6
                  commission or are otherwise interrelated by distinguishing characteristics.
             7
                          319.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
             8
                  alleged herein, namely engaging in monetary transactions in property derived from specified
             9
                  unlawful activity in violation of 18 U.S.C. § 1957, are continuous as they constitute an open-
           10
                  ended scheme, which poses a threat of continuity through the long duration of the alleged
           11
                  misconduct, namely two years, and the threat of continuing criminal conduct, as the alleged
           12
                  criminal conduct perpetrated by Defendants, and each of them, is still ongoing.
           13
                          320.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants’,
           14
                  and each of them, alleged price manipulation schemes, including, without limitation, pumps and
           15
                  dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
           16
                  them, to transfer funds derived from specified unlawful activity between different exchange
           17
                  accounts controlled by Defendants or third persons in violation of 18 U.S.C. § 1957, directly and
           18
                  proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiff Razvan as
           19
                  alleged hereinbelow.
           20
                          321.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           21
                  each of them, used at least a portion of the proceeds from their transactions in property derived
           22
                  from specified unlawful activity in violation of 18 U.S.C. § 1957 to manipulate spot and
           23
                  derivative markets of cryptocurrencies, as alleged herein, which directly and proximately resulted
           24
                  in the substantial monetary cryptocurrency trading losses to Plaintiff Razvan as alleged herein.
           25
                                                 DEFENDANTS ENGAGED IN WIRE FRAUD
           26                                       IN VIOLATION OF 18 U.S.C. § 1343
           27             322.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-321 above

           28     as if fully set forth herein.
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             1
                         323.       18 U.S.C. § 1343 provides that “[w]hoever, having devised or intending to devise
             2
                  any scheme or artifice to defraud, or for obtaining money or property by means of false or
             3
                  fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by means
             4
                  of wire, radio, or television communication in interstate or foreign commerce, any writings, signs,
             5
                  signals, pictures, or sounds for the purpose of executing such scheme or artifice, shall be fined
             6
                  under this title or imprisoned not more than 20 years, or both...”
             7
                         324.       Plaintiff Razvan is informed and believes and thereon alleges that during the
             8
                  Relevant Period, Defendants, and each of them, devised a scheme or artifice to defraud, namely a
             9
                  manipulative, fraudulent and deceptive scheme to manipulate the prices of certain cryptocurrency
           10
                  derivatives, including, without limitation, bitcoin Perpetual Swap contracts, bitcoin swaps, as well
           11
                  as the cash prices of cryptocurrencies, including, without limitation, cash bitcoin and to obtain
           12
                  money of other traders by way of injecting false information into markets in order to induce other
           13
                  traders to open highly leveraged positions on BitMEX and then cause their artificial liquidation in
           14
                  violation of 7 U.S.C. §§ 9(1), (3) and 13(a)(2). This scheme was devised and intended to
           15
                  fraudulently benefit Defendants at the expense of retail traders by inducing artificial market price
           16
                  moves and using such price moves to force liquidations of traders’ positions on the BitMEX
           17
                  platform, while simultaneously deliberately freezing BitMEX’s platform to impede retail traders’
           18
                  efforts to salvage their funds. The funds forcibly confiscated from traders as the result of the
           19
                  liquidations were deposited into the Insurance Fund maintained by Defendants.
           20
                         325.       Plaintiff Razvan is informed and believes and thereon alleges that, during the
           21
                  Relevant Period, Defendants, and each of them, used wire signals to transmit various electronic
           22
                  orders to multiple cryptocurrency exchanges for the specific purpose of misleading traders and
           23
                  investors as to the cryptocurrency market’s natural forces of supply and demand and for
           24
                  manipulating prices of spot cryptocurrencies and cryptocurrency derivatives. Those actions
           25
                  further constitute wire fraud in violation of 18 U.S.C. § 1343.
           26
                         326.       Plaintiff Razvan is informed and believes and thereon alleges that the alleged
           27
                  fraudulent electronic wire transmissions were performed by Defendants on a daily basis,
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 124 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                  including during each of the specific Manipulation Times alleged in Paragraph 353 below, during
             2
                  the Relevant Period and were carried out from Defendants’ offices located in San Francisco,
             3
                  California and Milwaukee, Wisconsin, and to respective computer servers of Amazon EKS as
             4
                  well as computer serves of multiple other United States based cryptocurrency exchanges that
             5
                  Defendants used to perpetrate their manipulative and fraudulent scheme alleged hereinabove.
             6
                  Plaintiff Razvan is informed and believes and thereon alleges that each of Defendants HDR,
             7
                  ABS, Hayes, Delo and Reed issued the alleged fraudulent electronic wire transmissions on a daily
             8
                  basis during the Relevant Period, including during each of the specific Manipulation Times
             9
                  alleged in Paragraph 353 below.
           10
                         327.       Plaintiff Razvan is informed and believes and thereon alleges that the alleged wire
           11
                  transmissions contained, without limitation, electronic orders designed to inject false and
           12
                  misleading information about genuine supply and demand for bitcoin or bitcoin derivatives into
           13
                  the markets and to deceive other participants in the market into believing something untrue,
           14
                  namely that the visible order book accurately reflected market-based forces of supply and
           15
                  demand. These alleged wire transmissions were an illegitimate part of the supply-demand
           16
                  equation, prevented true price discovery, and caused artificial pricing in the cryptocurrency
           17
                  market. The false and misleading information injected by Defendants into the markets was
           18
                  intended to trick other market participants into reacting to an apparent change and imbalance of
           19
                  supply and demand by buying and selling bitcoin Perpetual Swap or spot bitcoin at times, prices
           20
                  and quantities that they otherwise would likely not have traded. Moreover, the alleged wire
           21
                  transmissions further contained, without limitation, electronic orders designed to induce artificial
           22
                  price moves in the cryptocurrency markets in order to force liquidations of traders’ positions on
           23
                  the BitMEX exchange for the benefit of Defendants’ Insurance Fund. In addition, the electronic
           24
                  wire transmissions included Defendants’ electronic commands to deliberately freeze servers of
           25
                  the BitMEX platform and Defendants’ electronic commands to generate the fraudulent system
           26
                  overload messages alleged hereinabove. Finally, the electronic wire transmissions included
           27
                  Defendants’ fraudulent transmissions regarding the fake hardware failure in BitMEX’s servers as
           28
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             1
                  well as the fake distributed denial-of-service attack (DDoS attack), which took place on or about
             2
                  March 13, 2020.
             3
                         328.       Plaintiff Razvan is informed and believes and thereon alleges that pumps and
             4
                  dumps, Barts, liquidation cascades and spoofing alleged hereinabove are specific examples of the
             5
                  conduct that was specifically designed by Defendants, and each of them, to mislead Plaintiff
             6
                  Razvan as well as other traders on the cryptocurrencies market.
             7
                         329.       Plaintiff Razvan as well as other traders were in fact mislead by Defendants’, and
             8
                  each of them, manipulative and fraudulent acts intended to mislead and defraud, including,
             9
                  without limitation, by pumps and dumps, Barts and spoofing perpetrated by Defendants, and each
           10
                  of them, and placed orders that they would not have otherwise placed.
           11
                         330.       Plaintiff Razvan, at the time of the alleged manipulative and fraudulent acts
           12
                  intended to mislead and defraud, which were perpetrated by Defendants, and each of them, and at
           13
                  the time Plaintiff Razvan took the trades herein alleged, was ignorant of the manipulative and
           14
                  fraudulent nature of conduct of the Defendants, and each of them, and believed that the apparent
           15
                  market conditions were in fact dictated by market forces of supply and demand and not the result
           16
                  of false information being injected into the markets by Defendants.
           17
                         331.       Plaintiff Razvan, at the time the alleged manipulative and fraudulent acts intended
           18
                  to mislead and defraud were made by Defendants, and each of them, and at the time Plaintiff
           19
                  Razvan took the actions herein alleged, was ignorant of secret intentions of Defendants, and each
           20
                  of them, to mislead and defraud Plaintiff Razvan and other traders and Plaintiff Razvan could not,
           21
                  in the exercise of reasonable diligence, have discovered the secret intentions of Defendants, and
           22
                  each of them.
           23
                         332.       Had Plaintiff Razvan known the actual facts, Plaintiff Razvan would not have
           24
                  taken such alleged actions.
           25
                         333.       If Plaintiff Razvan had known of the actual intention of Defendants, and each of
           26
                  them, Plaintiff Razvan would not have taken the alleged trades. Plaintiff Razvan’s reliance on
           27
                  fraudulent and manipulative conduct of Defendants, and each of them, was justified because
           28
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             1
                  Plaintiff Razvan rightfully assumed that the market conditions of spot bitcoin and bitcoin
             2
                  derivatives markets were due to the actual market forces of supply and demand.
             3
                          334.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
             4
                  alleged herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are related by
             5
                  having the same or similar purposes of manipulating cryptocurrency markets, generating illicit
             6
                  income, and concealing illegal activities from authorities, results, Defendants – participants,
             7
                  victims, methods of commission or are otherwise interrelated by distinguishing characteristics.
             8
                          335.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
             9
                  alleged herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are continuous as
           10
                  they constitute an open-ended scheme, which poses a threat of continuity through the long
           11
                  duration of the alleged misconduct, namely two years, and the threat of continuing criminal
           12
                  conduct, as the alleged criminal conduct perpetrated by Defendants is still ongoing.
           13
                          336.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants’
           14
                  hereinabove alleged use of the electronic wire signals to defraud Plaintiff Razvan as well as other
           15
                  market participants in violation of 18 U.S.C. § 1343 directly and proximately resulted in the
           16
                  substantial monetary cryptocurrency trading losses to Plaintiff Razvan as alleged hereinbelow.
           17
                          337.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           18
                  each of them, used at least a portion of the proceeds derived from wire fraud in violation of 18
           19
                  U.S.C. § 1343 to manipulate spot and derivative markets of cryptocurrencies, as alleged herein,
           20
                  which directly and proximately resulted in the substantial monetary cryptocurrency trading losses
           21
                  to Plaintiff Razvan as alleged herein.
           22
           23         DEFENDANTS ENGAGED IN INTERSTATE TRANSPORTATION OF STOLEN
           24                 FUNDS IN VIOLATION OF THE NATIONAL STOLEN
                                      PROPERTY ACT 18 U.S.C. § 2314
           25
                          338.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-336 above
           26
                  as if fully set forth herein.
           27
                          339.      18 U.S.C. § 2314 provides that “[w]hoever transports, transmits, or transfers in
           28
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             1
                  interstate or foreign commerce any goods, wares, merchandise, securities or money, of the value
             2
                  of $5,000 or more, knowing the same to have been stolen, converted or taken by fraud … [s]hall
             3
                  be fined under this title or imprisoned not more than ten years, or both.”
             4
                         340.       Plaintiff Razvan is informed and believes and thereon alleges that, during the
             5
                  Relevant Period, Defendants, and each of them, willfully and knowingly transmitted and
             6
                  transferred in interstate or foreign commerce cryptocurrency, including, without limitation,
             7
                  bitcoin and stablecoins, knowing that the transferred cryptocurrency was converted or taken by
             8
                  fraud from Plaintiff Razvan as well as other cryptocurrency traders as the result of fraudulent
             9
                  market manipulation as alleged hereinabove.
           10
                         341.       Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           11
                  each of them, knowingly transferred and transmitted, in interstate or foreign commerce, during
           12
                  the Relevant Period, on a daily basis, including during each of the specific Manipulation Times
           13
                  alleged in Paragraph 353 below, proceeds of the alleged illegal bitcoin Perpetual Swap contracts
           14
                  price manipulation from manipulation winner accounts as well as other accounts on BitMEX
           15
                  cryptocurrency exchange to accounts on other cryptocurrency exchanges, including, without
           16
                  limitation, Coinbase Pro, BitStamp and Kraken, as well as cryptocurrency off-ramp exchanges
           17
                  and OTC trading desks for subsequent conversion of the ill-gotten bitcoins into fiat currencies,
           18
                  including United States dollars and Hong Kong dollars. Moreover, Defendants, and each of
           19
                  them, knowingly transferred and transmitted, in interstate or foreign commerce, on or about July
           20
                  9, 2019, at least $900,000 of the fiat currency converted proceeds of the alleged illegal bitcoin
           21
                  Perpetual Swap contracts price manipulation from Defendant Unknown Exchange to Vilas Title
           22
                  Service Inc., 133 E Division St, Eagle River, WI 54521, United States. Furthermore, Defendants,
           23
                  and each of them, transferred and transmitted, in interstate or foreign commerce, on or about
           24
                  August 16, 2019, at least $1,425,000 of the fiat currency converted proceeds of the alleged illegal
           25
                  bitcoin Perpetual Swap contracts price manipulation from Defendant Unknown Exchange to
           26
                  Ligris + Associates, 399 Boylston St f7, Boston, MA 02116, United States. The specific purpose
           27
                  of the transfers of funds alleged herein was to launder those funds through a real estate
           28
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             1
                  investment scheme and conceal their true illegal origin as well as ownership and control.
             2
                         342.       Coinbase Pro and Kraken are located in California, while BitStamp is located in
             3
                  New York City, New York. The transferred proceeds were converted or taken by fraud by
             4
                  Defendants from Plaintiff Razvan as well as other cryptocurrency traders as the result of the
             5
                  fraudulent market manipulation as alleged hereinabove. The Defendants were fully aware of the
             6
                  true nature of the transferred proceeds.
             7
                         343.       For example, the effective transmissions of the winnings from market
             8
                  manipulation from the first helper account to the second winner account perpetrated by
             9
                  Defendants as described herein constitutes a violation of 18 U.S.C. § 2314. The Defendants were
           10
                  fully aware of the nature of the transferred funds and that such funds were taken by fraud from
           11
                  Plaintiff Razvan as well as other cryptocurrency traders.
           12
                         344.       Therefore, Defendants, and each of them, while being employed in or associated
           13
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           14
                  § 2314, which further constitute the predicate acts of the Defendants’, and each of them,
           15
                  racketeering activity.
           16
                         345.       Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
           17
                  alleged herein, namely engaging in interstate transportation of stolen funds in violation of 18
           18
                  U.S.C. § 2314, are related by having the same or similar purposes of manipulating cryptocurrency
           19
                  markets, generating illicit income and concealing illegal activities from authorities, results,
           20
                  Defendants – participants, victims, methods of commission or are otherwise interrelated by
           21
                  distinguishing characteristics.
           22
                         346.       Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
           23
                  alleged herein, namely engaging in interstate transportation of stolen funds in violation of 18
           24
                  U.S.C. § 2314, are continuous as they constitute an open-ended scheme, which poses a threat of
           25
                  continuity through the long duration of the alleged misconduct, namely two years, and the threat
           26
                  of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants is still
           27
                  ongoing.
           28
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             1
                          347.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants’,
             2
                  and each of them, alleged transfer of proceeds of the alleged illegal bitcoin Perpetual Swap
             3
                  contracts price manipulation from BitMEX cryptocurrency exchange to other cryptocurrency
             4
                  exchanges, including, without limitation, Coinbase Pro, BitStamp and Kraken, in violation of 18
             5
                  U.S.C. § 2314, enabling Defendants, and each of them, to engage in further market manipulation,
             6
                  directly and proximately resulted in substantial monetary cryptocurrency trading losses to
             7
                  Plaintiff Razvan as alleged hereinbelow.
             8
                          348.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
             9
                  each of them, used at least a portion of the proceeds derived from the interstate transportation of
           10
                  stolen funds in violation of 18 U.S.C. § 2314 to manipulate spot and derivative markets of
           11
                  cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           12
                  monetary cryptocurrency trading losses to Plaintiff Razvan as alleged herein.
           13
                         DEFENDANTS ENGAGED IN INTERSTATE AND FOREIGN TRAVEL OR
           14              TRANSPORTATION IN AID OF RACKETEERING ENTERPRISE IN
           15                          VIOLATION OF 18 U.S.C. § 1952
                          349.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-347 above
           16
                  as if fully set forth herein.
           17
                          350.      18 U.S.C. § 1952 provides that “[w]hoever travels in interstate or foreign
           18
                  commerce or uses the mail or any facility in interstate or foreign commerce, with intent to (1)
           19
                  distribute the proceeds of any unlawful activity; … or (3) otherwise promote, manage, establish,
           20
                  carry on, or facilitate the promotion, management, establishment, or carrying on, of any unlawful
           21
                  activity, and thereafter performs or attempts to perform—(A) an act described in paragraph (1) or
           22
                  (3) shall be fined under this title, imprisoned not more than 5 years, or both.”
           23
                          351.      Plaintiff Razvan is informed and believes and thereon alleges that, during the
           24
                  Relevant Period, Defendants Hayes, Delo and Reed, and each of them, willfully and knowingly
           25
                  traveled between Hong Kong, United States and Seychelles with intent to distribute the proceeds
           26
                  of an unlawful activity, namely market manipulation in violation of CEA, money laundering,
           27
                  operating unlicensed money transmitting business as well as numerous other nefarious acts that
           28
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             1
                  took place on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Hayes,
             2
                  Delo and Reed violated 18 U.S.C. § 1952.
             3
                         352.       Plaintiff Razvan is informed and believes and thereon alleges that, during the
             4
                  Relevant Period, Defendants Hayes, Delo and Reed, and each of them, willfully and knowingly
             5
                  traveled between Hong Kong, United States and Seychelles with intent to promote, manage,
             6
                  establish, carry on, or facilitate the promotion, management, establishment, or carrying on, of
             7
                  unlawful activity namely market manipulation in violation of CEA, money laundering, operating
             8
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
             9
                  on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Hayes, Delo and
           10
                  Reed violated 18 U.S.C. § 1952.
           11
                         353.       Plaintiff Razvan is informed and believes and thereon alleges that, during the
           12
                  Relevant Period, Defendants Reed and Agata Reed, and each of them, willfully and knowingly
           13
                  traveled between Wisconsin and Massachusetts with intent to distribute and reinvest in United
           14
                  States real estate property situated in Norwell, MA 02061 at least $1,425,000 of the proceeds of
           15
                  an unlawful activity, namely market manipulation in violation of CEA, money laundering,
           16
                  operating unlicensed money transmitting business as well as numerous other nefarious acts that
           17
                  took place on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Reed
           18
                  and Agata Reed violated 18 U.S.C. § 1952.
           19
                         354.       Plaintiff Razvan is informed and believes and thereon alleges that, during the
           20
                  Relevant Period, Defendants Reed and Agata Reed, and each of them, willfully and knowingly
           21
                  traveled between Wisconsin and Massachusetts with intent to promote, manage, establish, carry
           22
                  on, or facilitate the promotion, management, establishment, or carrying on, of unlawful activity
           23
                  namely market manipulation in violation of CEA, money laundering, operating unlicensed money
           24
                  transmitting business as well as numerous other nefarious acts that took place on the BitMEX
           25
                  platform as alleged in this Complaint. Therefore, Defendants Reed and Agata Reed violated 18
           26
                  U.S.C. § 1952.
           27
                         355.       Therefore, Defendants Hayes, Delo, Reed and Agata Reed, and each of them,
           28
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             1
                  while being employed in or associated with the continuing Enterprise as alleged above,
             2
                  committed multiple acts that violated 18 U.S.C. § 1952, which further constitute the predicate acts
             3
                  of the Defendants Hayes, Delo, Reed and Agata Reed, and each of them, racketeering activity.
             4
                          356.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
             5
                  alleged herein, namely engaging in interstate and foreign travel or transportation in aid of
             6
                  racketeering enterprise in violation of 18 U.S.C. § 1952, are related by having the same or similar
             7
                  purposes of manipulating cryptocurrency markets, generating illicit income and concealing illegal
             8
                  activities from authorities, results, Defendants – participants, victims, methods of commission or
             9
                  are otherwise interrelated by distinguishing characteristics.
           10
                          357.      Plaintiff Razvan is informed and believes and thereon alleges that predicate acts
           11
                  alleged herein, namely engaging in interstate and foreign travel or transportation in aid of
           12
                  racketeering enterprise in violation of 18 U.S.C. § 1952, are continuous as they constitute an
           13
                  open-ended scheme, which poses a threat of continuity through the long duration of the alleged
           14
                  misconduct, namely two years, and the threat of continuing criminal conduct, as the alleged
           15
                  criminal conduct perpetrated by Defendants is still ongoing.
           16
                          358.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants’,
           17
                  and each of them, alleged interstate and foreign travel or transportation in aid of racketeering
           18
                  enterprise in violation of 18 U.S.C. § 1952, enabling Defendants, and each of them, to benefit
           19
                  from and continue the market manipulation in violation of CEA, money laundering, operating
           20
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
           21
                  on the BitMEX platform as alleged in this Complaint, directly and proximately resulted in
           22
                  substantial monetary cryptocurrency trading losses to Plaintiff Razvan as alleged hereinbelow.
           23
                             SPECIFIC TIMES OF MARKET MANIPULATION BY DEFENDANTS
           24
                          359.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-357 above
           25
                  as if fully set forth herein.
           26
                          360.      Plaintiff Razvan is informed and believes and thereon alleges that Defendants
           27
                  themselves manipulated cryptocurrency prices by using their own helper accounts on United
           28
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             1
                  States based cryptocurrency exchanges Kraken, Coinbase and BitStamp to place large market
             2
                  orders on those exchanges with maximum slippage to cause large artificial moves in the .BXBT
             3
                  and index price and .BETH index price on a daily basis, including, without limitation, the
             4
                  following specific manipulation times (“Manipulation Times”):
             5
             6
                                                            From                                                     To
             7
                  1.              7AM UTC on November 14, 2018                           12AM UTC on November 15, 2018
             8
                  2.              12AM UTC on November 19, 2018                          9AM UTC on November 20, 2018
             9
                  3.              4PM UTC on November 24, 2018                           11PM UTC on November 25, 2018
           10
                  4               6AM UTC on December 24, 2018                           12AM UTC on December 25, 2018
           11
                  5.              4AM UTC on January 10, 2019                            8PM UTC on January 10, 2020
           12
                  6.              12AM UTC on April 2, 2019                              12PM UTC on April 2, 2019
           13
                  7.              2AM UTC on May 17, 2019                                4AM UTC on May 17, 2019
           14
                  8.              7PM UTC on June 26, 2019                               12AM UTC on June 27, 2019
           15
                  9.              4AM UTC on July 14, 2019                               12AM UTC on July 15, 2019
           16
                  10.             4AM UTC on September 22, 2019                          4PM UTC on September 26, 2019
           17
                  11.             12AM UTC on November 18, 2019                          12AM UTC on November 20, 2019
           18
                  12.             4AM UTC on March 12, 2020                              4AM UTC on March 13, 2020
           19
                  13.             9PM UTC on July 27, 2020                               2AM UTC on July 28, 2020
           20
                  14.             12AM UTC on August 2, 2020                             6AM UTC on August 2, 2020
           21
           22            361.       Additional and other facts regarding Defendants’ market manipulation activities

           23     are hidden from Plaintiff at this time. Such information is uniquely within Defendants’

           24     possession, custody and control. To date, Defendants provided absolutely no discovery to

           25     Plaintiff what so ever, despite being served with multiple discovery requests, which Defendants

           26     stonewalled. Plaintiff reserves the right to amend or supplement the above list of Manipulation

           27     Times after he receives discovery from Defendants.

           28
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             1
                     SPECIFIC LOCATIONS AND TIMES OF RICO OVERT ACTS OF DEFENDANTS
             2
                          362.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-360 above
             3
                  as if fully set forth herein.
             4
                          363.      RICO overt acts perpetrated by Defendants are described in the table below. All
             5
                  of those overt acts take place either on United States based cryptocurrency exchanges BitStamp,
             6
                  Coinbase Pro and Kraken or on BitMEX itself, which has the majority of cloud service providers,
             7
                  employees, engineering and software development team and the nerve center of operations in this
             8
                  District. The below table has been prepared based on information and belief of Plaintiff Razvan:
             9
           10     RICO
                  Overt             RICO Conduct Involved                                          Place of Conduct
           11       Act
           12     1          Defendants transmitting electronic                  This District (BitMEX, having the majority of
                             wire signals to inject false                        cloud service providers, employees, engineering
           13                information as to market forces of                  and software development team and the nerve
                             supply and demand into                              center of operations in this District); BitStamp,
           14                cryptocurrency markets and                          Coinbase Pro and Kraken, all located in the
                             mislead traders to open unfavorable                 United States
           15
                             trading positions to be subsequently
           16                liquidated (e.g. first leg of a Bart,
                             see paragraphs 142-144, 153, 317-
           17                330)
                  Plaintiff entered into unfavorable trading     This District (BitMEX, having the majority of
           18     positions by executing BUY MARKET              cloud service providers, employees, engineering
           19     orders, after being mislead by false market    and software development team and the nerve
                  forces information injected by Defendants      center of operations in this District) and Kraken,
           20                                                    also located in this District
                  2        Defendants electronically             BitStamp, Coinbase Pro and Kraken, all located
           21              transferring (depositing) funds to be in the United States
                           used for manipulation into helper
           22              account(s)
           23     3        Defendants transmitting electronic    BitStamp, Coinbase Pro and Kraken, all located
                           wire signals to deliberately move     in the United States
           24              BitMEX’s .BXBT index price by
                           placing large market orders SELL
           25              MARKET NN with maximum
                           slippage from the helper accounts
           26
                           on three illiquid exchanges spot
           27              used by BitMEX to calculate its
                           .BXBT index
           28     Liquidation cascade that resulted in some of   This District (BitMEX, having the majority of
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             1    Plaintiff’s damages due to liquidation of                      cloud service providers, employees, engineering
                  Plaintiff’s XBTUSD Swap positions takes                        and software development team and the nerve
             2    place, directly and proximately caused by the                  center of operations in this District) and Kraken,
             3    deliberate .BXBT index price move                              also located in this District
                  orchestrated by Defendants
             4    4          Defendants transmitting electronic                  This District (BitMEX, having the majority of
                             wire signals to capture multiplied                  cloud service providers, employees, engineering
             5               (due to disparity in liquidity)                     and software development team and the nerve
                             manipulation profits caused by the                  center of operations in this District)
             6
                             deliberate index price move using
             7               winner account(s) on BitMEX,
                             using BUY LIMIT orders
             8    5          Defendants transmitting electronic                  This District, where all three site reliability
                             wire signals to freeze BitMEX                       engineers of BitMEX, who were responsible for
             9               servers and accepting orders on                     the BitMEX trading platform uptime and who
           10                only one side of the market to                      personally perpetrated the server freezes, were
                             exacerbate the price moves during                   located
           11                manipulation times
                  6          Defendants electronically                           This District (BitMEX, having the majority of
           12                transferring (withdrawing) funds                    cloud service providers, employees, engineering
                             from winner account(s) into bitcoin                 and software development team and the nerve
           13                wallet                                              center of operations in this District)
           14     7          Defendants transmitting electronic                  BitStamp, Coinbase Pro and Kraken, all located
                             wire signals to convert proceeds of                 in the United States
           15                market manipulation into fiat (legal
                             tender) currencies
           16     8.         Defendant Reed reinvesting                          Wisconsin and Massachusetts
                             converted proceeds of market
           17
                             manipulation and money laundering
           18                into United States real estate.

           19             364.      A summary of alleged RICO predicates perpetrated by Defendants is provided in

           20     the table below, which was prepared in accordance with information and belief of Plaintiff. All

           21     of those predicates also took place either on United States based cryptocurrency exchanges

           22     BitStamp, Coinbase Pro and Kraken and on BitMEX itself, which has the majority of cloud

           23     service providers, employees, engineering and software development team and the nerve center of

           24     operations in this District:

           25
                  RICO Predicate      RICO                                                Place of Conduct
           26                      Overt Acts
                  18 U.S.C. § 1960 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
           27     Unlicensed       7                              providers, employees, engineering and software development
           28     Money                                           team and the nerve center of operations in this District);
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             1    Transmissions                                   BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States
             2    18 U.S.C. § 1956 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
             3    Money            7, 8                           providers, employees, engineering and software development
                  Laundering                                      team and the nerve center of operations in this District);
             4                                                    BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States, Wisconsin and Massachusetts
             5    18 U.S.C. § 1957 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Money            7, 8                           providers, employees, engineering and software development
             6
                  Laundering                                      team and the nerve center of operations in this District);
             7                                                    BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States, Wisconsin and Massachusetts
             8    18 U.S.C. § 1343 1, 2, 3, 4, 5,                 This District (BitMEX, having the majority of cloud service
                  Wire Fraud       6, 7                           providers, employees, engineering and software development
             9                                                    team and the nerve center of operations in this District);
           10                                                     BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States
           11     18 U.S.C. § 2314 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Transportation of 7                             providers, employees, engineering and software development
           12     Stolen Property                                 team and the nerve center of operations in this District);
                                                                  BitStamp, Coinbase Pro and Kraken, all located in the United
           13                                                     States
           14
           15            365.       Additional and other facts regarding Defendants’ RICO overt acts are hidden from
           16     Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody and
           17     control. To date, Defendants provided absolutely no discovery to Plaintiff what so ever, despite
           18     being served with multiple discovery requests, which Defendants stonewalled. Plaintiff
           19     accordingly reserves the right to supplement and amend these allegations of RICO overt acts, if
           20     appropriate or necessary, following completion of relevant fact discovery.
           21            366.       A summary of certain specific times of each of the alleged RICO predicates
           22     perpetrated by Defendants is provided in the table below. The below table has been prepared
           23     based on information and belief of Plaintiff Razvan:
           24
           25     RICO Predicate             RICO                   Defendants       Dates When Each RICO Predicate
                                            Overt Acts              Involved in                 Occurred
           26                                                     RICO Predicate
                  18 U.S.C. § 1960 2, 3, 4, 5, 6,                 HDR, ABS,      a. 7AM UTC on November 14, 2018 to
           27     Unlicensed       7                              Hayes, Delo,   12AM UTC on November 15, 2018;
                  Money                                           Reed           b. 12AM UTC on November 19, 2018 to
           28                                                                    9AM UTC on November 20, 2018;
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             1    Transmissions                                                          c. 4PM UTC on November 24, 2018 to
                                                                                         11PM UTC on November 25, 2018;
             2                                                                           d. 4AM UTC on December 24, 2018 to
                                                                                         12AM UTC on December 25, 2018;
             3                                                                           e. 4AM UTC on January 10, 2019 to 8PM
                                                                                         UTC on January 10, 2020;
             4                                                                           f. 12AM UTC on April 2, 2019 to 12PM
                                                                                         UTC on April 2, 2019;
             5                                                                           g. 2AM UTC on May 17, 2019 to 4AM
                                                                                         UTC on May 17, 2019;
             6                                                                           h. 7PM UTC on June 26, 2019 to 12AM
                                                                                         UTC on June 27, 2019;
             7                                                                           i. 4AM UTC on July 14, 2019 to 12AM
                                                                                         UTC on July 15, 2019;
             8                                                                           j. 4AM UTC on September 22, 2019 to
                                                                                         4PM UTC on September 26, 2019
             9                                                                           k. 12AM UTC on November 18, 2019 to
                                                                                         12AM UTC on November 20, 2019
           10                                                                            l. 4AM UTC on March 12, 2020 to 4AM
                                                                                         UTC on March 13, 2020;
           11                                                                            m. 9PM UTC on July 27, 2020 to 2AM
                                                                                         UTC on July 28, 2020; and
           12                                                                            n. 12AM UTC on August 2, 2020 to 6AM
                                                                                         UTC on August 2, 2020.
           13     18 U.S.C. § 1956 2, 3, 4, 5, 6,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
                  Money            7, 8                           Hayes, Delo,           12AM UTC on November 15, 2018;
           14     Laundering                                      Reed, Grape            b. 12AM UTC on November 19, 2018 to
                                                                  Park, Mark             9AM UTC on November 20, 2018;
           15                                                     Sweep                  c. 4PM UTC on November 24, 2018 to
                                                                                         11PM UTC on November 25, 2018;
           16                                                                            d. 4AM UTC on December 24, 2018 to
                                                                                         12AM UTC on December 25, 2018;
           17                                                                            e. 4AM UTC on January 10, 2019 to 8PM
                                                                                         UTC on January 10, 2020;
           18                                                                            f. 12AM UTC on April 2, 2019 to 12PM
                                                                                         UTC on April 2, 2019;
           19                                                                            g. 2AM UTC on May 17, 2019 to 4AM
                                                                                         UTC on May 17, 2019;
           20                                                                            h. 7PM UTC on June 26, 2019 to 12AM
                                                                                         UTC on June 27, 2019;
           21                                                                            i. July 7, 2019;
                                                                                         j. 4AM UTC on July 14, 2019 to 12AM
           22                                                                            UTC on July 15, 2019;
                                                                                         k. 4AM UTC on September 22, 2019 to
           23                                                                            4PM UTC on September 26, 2019
                                                                                         l. 12AM UTC on November 18, 2019 to
           24                                                                            12AM UTC on November 20, 2019
                                                                                         m. 4AM UTC on March 12, 2020 to 4AM
           25                                                                            UTC on March 13, 2020;
                                                                                         n. 9PM UTC on July 27, 2020 to 2AM
           26                                                                            UTC on July 28, 2020; and
                                                                                         o. 12AM UTC on August 2, 2020 to 6AM
           27                                                                            UTC on August 2, 2020.
                  18 U.S.C. § 1957 2, 3, 4, 5, 6,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
           28                                                     Hayes, Delo,           12AM UTC on November 15, 2018;
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             1    Money                     7, 8                  Reed, Grape            b. 12AM UTC on November 19, 2018 to
                  Laundering                                      Park, Mark             9AM UTC on November 20, 2018;
             2                                                    Sweep                  c. 4PM UTC on November 24, 2018 to
                                                                                         11PM UTC on November 25, 2018;
             3                                                                           d. 4AM UTC on December 24, 2018 to
                                                                                         12AM UTC on December 25, 2018;
             4                                                                           e. 4AM UTC on January 10, 2019 to 8PM
                                                                                         UTC on January 10, 2020;
             5                                                                           f. 12AM UTC on April 2, 2019 to 12PM
                                                                                         UTC on April 2, 2019;
             6                                                                           g. 2AM UTC on May 17, 2019 to 4AM
                                                                                         UTC on May 17, 2019;
             7                                                                           h. 7PM UTC on June 26, 2019 to 12AM
                                                                                         UTC on June 27, 2019;
             8                                                                           i. July 7, 2019;
                                                                                         j. 4AM UTC on July 14, 2019 to 12AM
             9                                                                           UTC on July 15, 2019;
                                                                                         k. 4AM UTC on September 22, 2019 to
           10                                                                            4PM UTC on September 26, 2019
                                                                                         l. 12AM UTC on November 18, 2019 to
           11                                                                            12AM UTC on November 20, 2019
                                                                                         m. 4AM UTC on March 12, 2020 to 4AM
           12                                                                            UTC on March 13, 2020;
                                                                                         n. 9PM UTC on July 27, 2020 to 2AM
           13                                                                            UTC on July 28, 2020; and
                                                                                         o. 12AM UTC on August 2, 2020 to 6AM
           14                                                                            UTC on August 2, 2020.
                  18 U.S.C. § 1343 1, 2, 3, 4, 5,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
           15     Wire Fraud       6, 7                           Hayes, Delo,           12AM UTC on November 15, 2018;
                                                                  Reed                   b. 12AM UTC on November 19, 2018 to
           16                                                                            9AM UTC on November 20, 2018;
                                                                                         c. 4PM UTC on November 24, 2018 to
           17                                                                            11PM UTC on November 25, 2018;
                                                                                         d. 4AM UTC on December 24, 2018 to
           18                                                                            12AM UTC on December 25, 2018;
                                                                                         e. 4AM UTC on January 10, 2019 to 8PM
           19                                                                            UTC on January 10, 2020;
                                                                                         f. 12AM UTC on April 2, 2019 to 12PM
           20                                                                            UTC on April 2, 2019;
                                                                                         g. 2AM UTC on May 17, 2019 to 4AM
           21                                                                            UTC on May 17, 2019;
                                                                                         h. 7PM UTC on June 26, 2019 to 12AM
           22                                                                            UTC on June 27, 2019;
                                                                                         i. 4AM UTC on July 14, 2019 to 12AM
           23                                                                            UTC on July 15, 2019;
                                                                                         j. 4AM UTC on September 22, 2019 to
           24                                                                            4PM UTC on September 26, 2019
                                                                                         k. 12AM UTC on November 18, 2019 to
           25                                                                            12AM UTC on November 20, 2019
                                                                                         l. 4AM UTC on March 12, 2020 to 4AM
           26                                                                            UTC on March 13, 2020;
                                                                                         m. 9PM UTC on July 27, 2020 to 2AM
           27                                                                            UTC on July 28, 2020; and
                                                                                         n. 12AM UTC on August 2, 2020 to 6AM
           28                                                                            UTC on August 2, 2020.
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             1    18 U.S.C. § 2314 2, 3, 4, 5, 6,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
                  Transportation of 7                             Hayes, Delo,           12AM UTC on November 15, 2018;
             2    Stolen Property                                 Reed                   b. 12AM UTC on November 19, 2018 to
                                                                                         9AM UTC on November 20, 2018;
             3                                                                           c. 4PM UTC on November 24, 2018 to
                                                                                         11PM UTC on November 25, 2018;
             4                                                                           d. 4AM UTC on December 24, 2018 to
                                                                                         12AM UTC on December 25, 2018;
             5                                                                           e. 4AM UTC on January 10, 2019 to 8PM
                                                                                         UTC on January 10, 2020;
             6                                                                           f. 12AM UTC on April 2, 2019 to 12PM
                                                                                         UTC on April 2, 2019;
             7                                                                           g. 2AM UTC on May 17, 2019 to 4AM
                                                                                         UTC on May 17, 2019;
             8                                                                           h. 7PM UTC on June 26, 2019 to 12AM
                                                                                         UTC on June 27, 2019;
             9                                                                           i. 4AM UTC on July 14, 2019 to 12AM
                                                                                         UTC on July 15, 2019;
           10                                                                            j. 4AM UTC on September 22, 2019 to
                                                                                         4PM UTC on September 26, 2019
           11                                                                            k. 12AM UTC on November 18, 2019 to
                                                                                         12AM UTC on November 20, 2019
           12                                                                            l. 4AM UTC on March 12, 2020 to 4AM
                                                                                         UTC on March 13, 2020;
           13                                                                            m. 9PM UTC on July 27, 2020 to 2AM
                                                                                         UTC on July 28, 2020; and
           14                                                                            n. 12AM UTC on August 2, 2020 to 6AM
                                                                                         UTC on August 2, 2020.
           15
                         367.       Additional and other facts regarding Defendants’ RICO overt acts and their timing
           16
                  are hidden from Plaintiff at this time. Such information is uniquely within Defendants’
           17
                  possession, custody and control. To date, Defendants provided absolutely no discovery to
           18
                  Plaintiff what so ever, despite being served with multiple discovery requests, which Defendants
           19
                  stonewalled. Plaintiff accordingly reserves the right to supplement and amend these allegations
           20
                  of RICO overt acts and their timing, if appropriate or necessary, following completion of relevant
           21
                  fact discovery.
           22
                         368.       The individual roles of all Defendants with respect to RICO predicates are
           23
                  summarized in the below table, prepared according to information and belief of Plaintiff Razvan:
           24
           25
                    Defendant                                                    Role of Defendant
           26
                                         Defendant HDR is a holding company. Despite being incorporated in the
           27     HDR
                                         Seychelles, Defendant HDR does not have, and never has had, any operations
           28
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             1
                                         or employees in the Seychelles. Defendant HDR operates, or has operated
             2
                                         during the Relevant Period, primarily from San Francisco office of Defendant
             3
                                         ABS and Milwaukee office of Defendant Reed. Defendant HDR was
             4
                                         responsible for, among other things, the planning of the operation of the
             5
                                         BitMEX platform to effectuate the market manipulation, including, without
             6
                                         limitation deliberate server freezes and fraudulent system overloads alleged
             7
                                         herein as well as effective transfers of market manipulation winnings from
             8
                                         helper accounts to winner accounts and performance of other illegal acts
             9
                                         conducted by the Enterprise.
           10
                                         Defendant ABS designs, develops, implements, operates and supports the
           11
                                         online derivatives trading platform BitMEX from within this District.
           12
                                         Defendant ABS was responsible for, among other things, day to day operations
           13
                                         of the BitMEX platform and effectuating the market manipulation, including,
           14
                  ABS                    without limitation deliberate server freezes and fraudulent system overloads
           15
                                         alleged herein as well as effective transfers of market manipulation winnings
           16
                                         from helper accounts to winner accounts and performance of other illegal acts
           17
                                         conducted by the Enterprise, as well as creating custom software programs and
           18
                                         scripts for performing market manipulation and implementing server freezes.
           19
                                         Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           20
                                         or disguise the true source of funds used for acquiring the real estate properties
           21
                  Grape Park             and their true ownership and control. Defendant Reed dominates and controls
           22
                                         every aspect of business of Defendant Grape Park and funds its operations.
           23
                                         Defendant Grape Park is an alter ego of Defendant Reed.
           24
                                         Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           25
                                         or disguise the true source of funds used for acquiring the real estate properties
           26     Mark Sweep
                                         and their true ownership and control. Defendant Reed dominates and controls
           27
                                         every aspect of business of Defendant Mark Sweep and funds its operations.
           28
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             1
                                          Defendant Mark Sweep is an alter ego of Defendant Reed.
             2
                                          Defendant Unknown Exchange was responsible for knowingly, willfully and
             3
                                          deliberately laundering a substantial portion of the bitcoin-denominated
             4
                                          proceeds of market manipulation, money laundering, operating unlicensed
             5    Unknown
                                          money transmitting business and multitude of various other nefarious acts
             6    Exchange
                                          taking place on the BitMEX platform, by means of converting bitcoins into
             7
                                          various traditional (“fiat”) currencies, including United States dollars and Hong
             8
                                          Kong dollars.
             9
                                          Defendant Hayes was responsible for, among other things, conducting overall
           10
                                          planning, oversight and supervision of the affairs of the Enterprise and
           11
                                          coordination between the remaining co-conspirators, as well as controlling bank
           12
                                          accounts and financial flows within the Enterprise. In addition, Defendant
           13
                                          Hayes gave directions to other members of the Enterprise, occupied the top
           14
                                          position in the "chain of command" of the Enterprise through which the affairs
           15
                                          of the Enterprise are conducted and was indispensable to the achievement of the
           16
                                          Enterprise’s goals of maximizing profits and minimizing trading losses for the
           17
                  Hayes                   Defendants, and each of them, and their co-conspirators, through unlawful
           18
                                          trading practices, including market manipulation, concealing trading gains
           19
                                          obtained through unlawful practices from regulatory and tax authorities using,
           20
                                          without limitation, money laundering, generating illicit income from unlicensed
           21
                                          money transmissions, promoting and enhancing the racketeering conspiracy and
           22
                                          the activities of the Defendants, and each of them, and their co-conspirators and
           23
                                          concealing the unlawful activities of the Defendants, and each of them, and
           24
                                          their co-conspirators from scrutiny by cryptocurrency exchanges and law
           25
                                          enforcement.
           26
                                          Defendant Delo was responsible for performing liquidations of user positions to
           27     Delo
                                          rip the benefits of the market manipulation and other illegal acts conducted by
           28
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             1
                                          the Enterprise and depositing the liquidation proceeds into Insurance Fund. In
             2
                                          addition, Defendant Delo gave directions to other members and took directions
             3
                                          from Defendant Hayes, occupied a second position in the "chain of command"
             4
                                          through which the affairs of the Enterprise are conducted, knowingly and
             5
                                          eagerly implemented decisions of Defendant Hayes and was indispensable to
             6
                                          the achievement of the Enterprise’s goals of maximizing profits and minimizing
             7
                                          trading losses for the Defendants, and each of them, and their co-conspirators,
             8
                                          through unlawful trading practices, including market manipulation, concealing
             9
                                          trading gains obtained through unlawful practices from regulatory and tax
           10
                                          authorities using, without limitation, money laundering, generating illicit
           11
                                          income from unlicensed money transmissions, promoting and enhancing the
           12
                                          racketeering conspiracy and the activities of the Defendants, and each of them,
           13
                                          and their co-conspirators and concealing the unlawful activities of the
           14
                                          Defendants, and each of them, and their co-conspirators from scrutiny by
           15
                                          cryptocurrency exchanges and law enforcement.
           16
                                          Defendant Reed was responsible for, among other things, planning and
           17
                                          initiating the deliberate server freezes and fraudulent system overloads on
           18
                                          BitMEX as alleged herein as well as effective transfers of market manipulation
           19
                                          winnings from helper accounts on United States based exchanges Kraken,
           20
                                          Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           21
                                          market orders on those exchanges with maximum slippage to cause large
           22     Reed
                                          artificial moves in the .BXBT and index price and .BETH index price on a daily
           23
                                          basis and performance of other illegal acts conducted by the Enterprise, by
           24
                                          issuing electronic wire transmissions containing trading orders and other
           25
                                          computer system commands and writing, deploying and remotely executing
           26
                                          software scripts from his office located in Milwaukee, WI 53202. Defendant
           27
                                          Reed was further responsible for laundering a substantial portion of the tainted
           28
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             1
                                        proceeds of the illegal activities on the BitMEX platform from Defendants’
             2
                                        general account (bitcoin wallet) through a real estate investment scheme
             3
                                        involving multiple real estate properties in Wisconsin and Massachusetts, by
             4
                                        concealing the nature of the funds used in acquisition of said properties and the
             5
                                        true state of ownership and control thereof. In addition, Defendant Reed gave
             6
                                        directions to other members and took directions from Defendant Hayes,
             7
                                        occupied a third position in the "chain of command" through which the affairs
             8
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
             9
                                        of Defendants Hayes and Delo and was indispensable to the achievement of the
           10
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
           11
                                        Defendants, and each of them, and their co-conspirators, through unlawful
           12
                                        trading practices, including market manipulation, concealing trading gains
           13
                                        obtained through unlawful practices from regulatory and tax authorities using,
           14
                                        without limitation, money laundering, generating illicit income from unlicensed
           15
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
           16
                                        the activities of the Defendants, and each of them, and their co-conspirators and
           17
                                        concealing the unlawful activities of the Defendants, and each of them, and
           18
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
           19
                                        enforcement.
           20
                                        Defendant Agata Reed was responsible for laundering a substantial portion of
           21
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           22
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           23
                                        scheme involving real estate properties in Massachusetts, by concealing the
           24     Agata Reed
                                        nature of the funds used in acquisition of said properties and the true state of
           25
                                        ownership and control thereof. In addition, Defendant Agata Reed gave
           26
                                        directions to other members and took directions from Defendant Reed,
           27
                                        occupied a fourth position in the "chain of command" through which the affairs
           28
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             1
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
             2
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
             3
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
             4
                                        for the Defendants, and each of them, and their co-conspirators, through
             5
                                        unlawful trading practices, including market manipulation, concealing trading
             6
                                        gains obtained through unlawful practices from regulatory and tax authorities
             7
                                        using, without limitation, money laundering, generating illicit income from
             8
                                        unlicensed money transmissions, promoting and enhancing the racketeering
             9
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           10
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           11
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           12
                                        and law enforcement.
           13
                                        Defendant Barbara Reed was responsible for laundering a substantial portion of
           14
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           15
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           16
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           17
                                        of the funds used in acquisition of said properties and the true state of
           18
                                        ownership and control thereof.             In addition, Defendant Barbara Reed gave
           19
                                        directions to other members and took directions from Defendant Reed,
           20
                  Barbara Reed          occupied a fifth position in the "chain of command" through which the affairs
           21
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           22
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           23
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           24
                                        for the Defendants, and each of them, and their co-conspirators, through
           25
                                        unlawful trading practices, including market manipulation, concealing trading
           26
                                        gains obtained through unlawful practices from regulatory and tax authorities
           27
                                        using, without limitation, money laundering, generating illicit income from
           28
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             1
                                         unlicensed money transmissions, promoting and enhancing the racketeering
             2
                                         conspiracy and the activities of the Defendants, and each of them, and their co-
             3
                                         conspirators and concealing the unlawful activities of the Defendants, and each
             4
                                         of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             5
                                         and law enforcement.
             6
                                         Defendant Trace Reed was responsible for laundering a substantial portion of
             7
                                         the tainted proceeds of the illegal activities on the BitMEX platform from
             8
                                         Defendants’ general account (bitcoin wallet) through a real estate investment
             9
                                         scheme involving real estate properties in Wisconsin, by concealing the nature
           10
                                         of the funds used in acquisition of said properties and the true state of
           11
                                         ownership and control thereof. In addition, Defendant Trace Reed gave
           12
                                         directions to other members and took directions from Defendant Reed,
           13
                                         occupied a sixth position in the "chain of command" through which the affairs
           14
                                         of the Enterprise are conducted, knowingly and eagerly implemented decisions
           15
                                         of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           16     Trace Reed
                                         of the Enterprise’s goals of maximizing profits and minimizing trading losses
           17
                                         for the Defendants, and each of them, and their co-conspirators, through
           18
                                         unlawful trading practices, including market manipulation, concealing trading
           19
                                         gains obtained through unlawful practices from regulatory and tax authorities
           20
                                         using, without limitation, money laundering, generating illicit income from
           21
                                         unlicensed money transmissions, promoting and enhancing the racketeering
           22
                                         conspiracy and the activities of the Defendants, and each of them, and their co-
           23
                                         conspirators and concealing the unlawful activities of the Defendants, and each
           24
                                         of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           25
                                         and law enforcement.
           26
                         369.       Additional and other facts regarding Defendants’ roles in the Enterprise are hidden
           27
                  from Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 145 -   RAZVAN V. HDR ET AL.   CASE NO. 3:20-CV-08034
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             1
                  and control. To date, Defendants provided absolutely no discovery to Plaintiff what so ever,
             2
                  despite being served with multiple discovery requests, which Defendants stonewalled. Plaintiff
             3
                  accordingly reserves the right to supplement and amend these allegations of Defendants’ roles in
             4
                  the Enterprise, if appropriate or necessary, following completion of relevant fact discovery.
             5
                          370.       Certain specific electronic wire communications alleged herein are summarized in
             6
                  the following table, prepared based on Plaintiff Razvan’s information and belief:
             7
             8
                  Type of            Date                    From                     To                       Content or Purpose of
             9    Comm.                                                                                          Communication

           10     Wire          11/14/2018           Hayes (New                 Delo (Hong             Directions and specific
                                                     York)                      Kong)                  instructions on which specific
           11                                                                                          orders to place, software scripts
                                                                                                       to execute and computer
           12
                                                                                                       commands to issue and how to
           13                                                                                          otherwise manipulate bitcoin
                                                                                                       market for the benefit of
           14                                                                                          Defendants.
           15     Wire          11/14/2018           Hayes (New                 Reed                   Directions and specific
                                                     York)                      (Wisconsin)            instructions on which specific
           16
                                                                                                       orders to place, software scripts
           17                                                                                          to execute and computer
                                                                                                       commands to issue and how to
           18                                                                                          otherwise manipulate bitcoin
                                                                                                       market for the benefit of
           19                                                                                          Defendants.
           20     Wire          11/14/2018           Reed                       BitMEX/ABS             Trading orders (BUY MARKET
           21                                        (Wisconsin)                (San Francisco)        NN) to inject false information as
                                                                                                       to market forces of supply and
           22                                                                                          demand into cryptocurrency
                                                                                                       markets and mislead traders to
           23                                                                                          open unfavorable trading
                                                                                                       positions to be subsequently
           24
                                                                                                       liquidated, see paragraphs 142-
           25                                                                                          144, 153, 317-330.

           26     Wire          11/14/2018           Reed                       Kraken (San            Trading orders (BUY MARKET
                                                     (Wisconsin)                Francisco)             NN) to inject false information as
           27                                                                                          to market forces of supply and
                                                                                                       demand into cryptocurrency
           28
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             1                                                                                       markets and mislead traders to
                                                                                                     open unfavorable trading
             2                                                                                       positions to be subsequently
             3                                                                                       liquidated.

             4    Wire          11/14/2018           Reed                       Bitcoin Network      Instruction for electronically
                                                     (Wisconsin)                (Cloud)              transferring (depositing) bitcoin
             5                                                                                       funds to be used for manipulation
                                                                                                     into a helper account on Kraken,
             6                                                                                       see paragraphs 142-144, 153,
             7                                                                                       317-330.

             8    Wire          11/14/2018           Reed                       Kraken (San          Electronic computer instruction
                                                     (Wisconsin)                Francisco)           to execute large market trading
             9                                                                                       order (SELL MARKET NN) on
                                                                                                     BTC/USD order book from
           10                                                                                        helper account with maximum
           11                                                                                        slippage to deliberately move
                                                                                                     BitMEX’s .BXBT index price.
           12
                  Wire          11/14/2018           Reed                       BitMEX/ABS           Computer instruction to execute
           13                                        (Wisconsin)                (San Francisco)      server freeze application to freeze
                                                                                                     BitMEX servers and to initiate
           14                                                                                        accepting orders on only one side
                                                                                                     of the market to exacerbate the
           15
                                                                                                     price move.
           16
                  Wire          11/14/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           17                                        Kong)                      (San Francisco)      prepare liquidation engine for
                                                                                                     deployment and deploy
           18                                                                                        liquidation engine to liquidate
                                                                                                     trader accounts.
           19
           20     Wire          11/14/2018           Reed                       BitMEX/ABS           Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           21                                                                                        to disparity in liquidity)
                                                                                                     manipulation profits caused by
           22                                                                                        the deliberate .BXBT index price
                                                                                                     move using winner account(s) on
           23                                                                                        BitMEX.
           24
                  Wire          11/14/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to transfer
           25                                        Kong)                      (San Francisco)      trader liquidation proceeds from
                                                                                                     trader wallets into Insurance
           26                                                                                        Fund bitcoin wallet.
           27     Wire          11/14/2018           Reed                       BitMEX/ABS           Computer instruction to
                                                     (Wisconsin)                (San Francisco)      electronically transfer (withdraw)
           28
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             1                                                                                         funds from winner account(s)
                                                                                                       into bitcoin wallet.
             2
             3    Wire          11/14/2018           Hayes (New                 Bitcoin Network        Instruction for electronically
                                                     York)                      (Cloud)                transferring (depositing) bitcoin
             4                                                                                         funds from bitcoin wallet to
                                                                                                       account on Coinbase exchange.
             5
                  Wire          11/14/2018           Hayes (New                 Coinbase (San          Trading orders to convert bitcoin
             6                                       York)                      Francisco)             proceeds of market manipulation
                                                                                                       into United States dollars.
             7
             8    Wire          11/14/2018           Hayes (New                 Coinbase (San          Instruction for electronically
                                                     York)                      Francisco)             transferring converted U.S. dollar
             9                                                                                         proceeds of market manipulation
                                                                                                       to bank accounts of HDR Global
           10                                                                                          Trading Limited, ABS Global
                                                                                                       Trading Limited, Hayes, Delo
           11
                                                                                                       and Reed.
           12
                  Wire          11/24/2018           Hayes (New                 Delo (Hong             Directions and specific
           13                                        York)                      Kong)                  instructions on which specific
                                                                                                       orders to place, software scripts
           14                                                                                          to execute and computer
                                                                                                       commands to issue and how to
           15                                                                                          otherwise manipulate bitcoin
           16                                                                                          market for the benefit of
                                                                                                       Defendants.
           17
                  Wire          11/24/2018           Hayes (New                 Reed                   Directions and specific
           18                                        York)                      (Wisconsin)            instructions on which specific
                                                                                                       orders to place, software scripts
           19                                                                                          to execute and computer
           20                                                                                          commands to issue and how to
                                                                                                       otherwise manipulate bitcoin
           21                                                                                          market for the benefit of
                                                                                                       Defendants.
           22
                  Wire          11/24/2018           Reed                       BitMEX/ABS             Trading orders (BUY MARKET
           23                                        (Wisconsin)                (San Francisco)        NN) to inject false information as
           24                                                                                          to market forces of supply and
                                                                                                       demand into cryptocurrency
           25                                                                                          markets and mislead traders to
                                                                                                       open unfavorable trading
           26                                                                                          positions to be subsequently
                                                                                                       liquidated, see paragraphs 142-
           27                                                                                          144, 153, 317-330.
           28
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             1
                  Wire          11/24/2018           Reed                       Kraken (San          Trading orders (BUY MARKET
             2                                       (Wisconsin)                Francisco)           NN) to inject false information as
                                                                                                     to market forces of supply and
             3                                                                                       demand into cryptocurrency
                                                                                                     markets and mislead traders to
             4                                                                                       open unfavorable trading
             5                                                                                       positions to be subsequently
                                                                                                     liquidated, see paragraphs 142-
             6                                                                                       144, 153, 317-330.

             7    Wire          11/24/2018           Reed                       Bitcoin Network      Instruction for electronically
                                                     (Wisconsin)                (Cloud)              transferring (depositing) bitcoin
             8                                                                                       funds to be used for manipulation
             9                                                                                       into a helper account on Kraken.

           10     Wire          11/24/2018           Reed                       Kraken (San          Electronic computer instruction
                                                     (Wisconsin)                Francisco)           to execute large market trading
           11                                                                                        order (SELL MARKET NN) on
                                                                                                     BTC/USD order book from
           12                                                                                        helper account with maximum
                                                                                                     slippage to deliberately move
           13
                                                                                                     BitMEX’s .BXBT index price.
           14
                  Wire          11/25/2018           Reed                       BitMEX/ABS           Computer instruction to execute
           15                                        (Wisconsin)                (San Francisco)      server freeze application to freeze
                                                                                                     BitMEX servers and to initiate
           16                                                                                        accepting orders on only one side
                                                                                                     of the market to exacerbate the
           17
                                                                                                     price move.
           18
                  Wire          11/25/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           19                                        Kong)                      (San Francisco)      prepare liquidation engine for
                                                                                                     deployment and deploy
           20                                                                                        liquidation engine to liquidate
                                                                                                     trader accounts.
           21
           22     Wire          11/25/2018           Reed                       BitMEX/ABS           Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           23                                                                                        to disparity in liquidity)
                                                                                                     manipulation profits caused by
           24                                                                                        the deliberate .BXBT index price
                                                                                                     move using winner account(s) on
           25                                                                                        BitMEX.
           26
                  Wire          11/25/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to transfer
           27                                        Kong)                      (San Francisco)      trader liquidation proceeds from
                                                                                                     trader wallets into Insurance
           28
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             1                                                                                       Fund bitcoin wallet.
             2    Wire          11/25/2018           Reed                       BitMEX/ABS           Computer instruction to
             3                                       (Wisconsin)                (San Francisco)      electronically transfer (withdraw)
                                                                                                     funds from winner account(s)
             4                                                                                       into bitcoin wallet.

             5    Wire          11/25/2018           Hayes (New                 Bitcoin Network      Instruction for electronically
                                                     York)                      (Cloud)              transferring (depositing) bitcoin
             6                                                                                       funds from bitcoin wallet to
                                                                                                     account on Coinbase exchange.
             7
             8    Wire          11/25/2018           Hayes (New                 Coinbase (San        Trading orders to convert bitcoin
                                                     York)                      Francisco)           proceeds of market manipulation
             9                                                                                       into United States dollars.

           10     Wire          11/25/2018           Hayes (New                 Coinbase (San        Instruction for electronically
                                                     York)                      Francisco)           transferring converted U.S. dollar
           11                                                                                        proceeds of market manipulation
           12                                                                                        to bank accounts of HDR Global
                                                                                                     Trading Limited, ABS Global
           13                                                                                        Trading Limited, Hayes, Delo
                                                                                                     and Reed.
           14
                  Wire          5/16/2019            Reed                       BitMEX/ABS           Trading orders (BUY MARKET
           15                                        (Wisconsin)                (San Francisco)      NN) to inject false information as
           16                                                                                        to market forces of supply and
                                                                                                     demand into cryptocurrency
           17                                                                                        markets and mislead traders to
                                                                                                     open unfavorable trading
           18                                                                                        positions to be subsequently
                                                                                                     liquidated, see paragraphs 142-
           19                                                                                        144, 153, 317-330.
           20
                  Wire          5/16/2019            Reed                       BitStamp             Trading orders (BUY MARKET
           21                                        (Wisconsin)                (Denver)             NN) to inject false information as
                                                                                                     to market forces of supply and
           22                                                                                        demand into cryptocurrency
                                                                                                     markets and mislead traders to
           23                                                                                        open unfavorable trading
           24                                                                                        positions to be subsequently
                                                                                                     liquidated, see paragraphs 142-
           25                                                                                        144, 153, 317-330.

           26     Wire          5/16/2019            Reed                       Bitcoin Network      Instruction for electronically
                                                     (Wisconsin)                (Cloud)              transferring (depositing) bitcoin
           27                                                                                        funds to be used for manipulation
                                                                                                     into a helper account on
           28
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             1                                                                                       BitStamp.
             2    Wire          5/17/2019            Reed                       BitStamp             Electronic computer instruction
             3                                       (Wisconsin)                (Denver)             to execute large market trading
                                                                                                     order (SELL MARKET NN) on
             4                                                                                       BTC/USD order book from
                                                                                                     helper account with maximum
             5                                                                                       slippage to deliberately move
                                                                                                     BitMEX .BXBT index price.
             6
                  Wire          5/17/2019            Reed                       BitMEX/ABS           Computer instruction to execute
             7
                                                     (Wisconsin)                (San Francisco)      server freeze application to freeze
             8                                                                                       BitMEX servers and to initiate
                                                                                                     accepting orders on only one side
             9                                                                                       of the market to exacerbate the
                                                                                                     price move.
           10
                  Wire          5/17/2019            Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           11
                                                     Kong)                      (San Francisco)      prepare liquidation engine for
           12                                                                                        deployment and deploy
                                                                                                     liquidation engine to liquidate
           13                                                                                        trader accounts.

           14     Wire          5/17/2019            Reed                       BitMEX/ABS           Computer instruction to executed
                                                     (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           15                                                                                        to disparity in liquidity)
           16                                                                                        manipulation profits caused by
                                                                                                     the deliberate .BXBT index price
           17                                                                                        move using winner account(s) on
                                                                                                     BitMEX.
           18
                  Wire          5/17/2019            Reed                       BitMEX/ABS           Computer instruction to
           19                                        (Wisconsin)                (San Francisco)      electronically transfer (withdraw)
           20                                                                                        funds from winner account(s)
                                                                                                     into bitcoin wallet.
           21
                  Wire          5/17/2019            Delo (Hong                 BitMEX/ABS           Computer instruction to transfer
           22                                        Kong)                      (San Francisco)      trader liquidation proceeds from
                                                                                                     trader wallets into Insurance
           23                                                                                        Fund bitcoin wallet.
           24
                  Wire          5/17/2019            Hayes (New                 Bitcoin Network      Instruction for electronically
           25                                        York)                      (Cloud)              transferring (depositing) bitcoin
                                                                                                     funds from bitcoin wallet to
           26                                                                                        account on Coinbase exchange.
           27     Wire          5/17/2019            Hayes (New                 Coinbase (San        Trading orders to convert bitcoin
                                                     York)                      Francisco)           proceeds of market manipulation
           28
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             1                                                                                        into United States dollars.
             2    Wire          5/17/2019            Hayes (New                 Coinbase (San         Instruction for electronically
             3                                       York)                      Francisco)            transferring converted U.S. dollar
                                                                                                      proceeds of market manipulation
             4                                                                                        to bank accounts of HDR Global
                                                                                                      Trading Limited, ABS Global
             5                                                                                        Trading Limited, Hayes, Delo
                                                                                                      and Reed.
             6
                  Wire          7/3/2019             Reed                       Coinbase (San         Electronic wire transfer
             7
                                                     (Wisconsin)                Francisco)            instructions for transferring
             8                                                                                        $900,000 of converted proceeds
                                                                                                      of money laundering to Vilas
             9                                                                                        Title Service Inc., 133 E Division
                                                                                                      St, Eagle River, WI 54521,
           10                                                                                         United States.
           11
                  Wire          7/3/2019             Reed                       Vilas Title           Electronic escrow instructions for
           12                                        (Wisconsin)                Service Inc., 133     reinvesting $900,000 of
                                                                                E Division St,        converted proceeds of money
           13                                                                   Eagle River, WI       laundering into Real Estate
                                                                                54521, United         Property 1.
           14                                                                   States
           15     Wire          7/3/2019             Barbara Reed               Reed                  Instructions how to conceal or
           16                                        (Wisconsin)                (Wisconsin)           disguise the nature, the location,
                                                                                                      the source, the ownership, or the
           17                                                                                         control of the proceeds of
                                                                                                      unlawful activity taking place on
           18                                                                                         BitMEX platform using real
                                                                                                      estate investments in Wisconsin.
           19
           20     Wire          7/3/2019             Trace L.Reed               Reed                  Instructions how to conceal or
                                                     (Wisconsin)                (Wisconsin)           disguise the nature, the location,
           21                                                                                         the source, the ownership, or the
                                                                                                      control of the proceeds of
           22                                                                                         unlawful activity taking place on
                                                                                                      BitMEX platform using real
           23                                                                                         estate investments in Wisconsin.
           24
                  Wire          7/14/2019            Reed                       BitMEX/ABS            Trading orders (BUY MARKET
           25                                        (Wisconsin)                (San Francisco)       NN) to inject false information as
                                                                                                      to market forces of supply and
           26                                                                                         demand into cryptocurrency
                                                                                                      markets and mislead traders to
           27                                                                                         open unfavorable trading
           28                                                                                         positions to be subsequently
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             1                                                                                       liquidated, see paragraphs 142-
                                                                                                     144, 153, 317-330.
             2
             3    Wire          7/14/2019            Reed                       BitStamp             Trading orders (BUY MARKET
                                                     (Wisconsin)                (Denver)             NN) to inject false information as
             4                                                                                       to market forces of supply and
                                                                                                     demand into cryptocurrency
             5                                                                                       markets and mislead traders to
                                                                                                     open unfavorable trading
             6                                                                                       positions to be subsequently
             7                                                                                       liquidated, see paragraphs 142-
                                                                                                     144, 153, 317-330.
             8
                  Wire          7/14/2019            Reed                       Bitcoin Network      Instruction for electronically
             9                                       (Wisconsin)                (Cloud)              transferring (depositing) ether
                                                                                                     funds to be used for manipulation
           10                                                                                        into a helper account on
           11                                                                                        BitStamp.

           12     Wire          7/14/2019            Reed                       BitStamp             Electronic computer instruction
                                                     (Wisconsin)                (Denver)             to execute large market trading
           13                                                                                        order (SELL MARKET NN) on
                                                                                                     ETH/USD order book from
           14                                                                                        helper account with maximum
                                                                                                     slippage to deliberately move
           15
                                                                                                     BitMEX .BETH index price.
           16
                  Wire          7/14/2019            Reed                       BitMEX/ABS           Computer instruction to execute
           17                                        (Wisconsin)                (San Francisco)      server freeze application to freeze
                                                                                                     BitMEX servers and to initiate
           18                                                                                        accepting orders on only one side
                                                                                                     of the market to exacerbate the
           19
                                                                                                     price move.
           20
                  Wire          7/14/2019            Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           21                                        Kong)                      (San Francisco)      prepare liquidation engine for
                                                                                                     deployment and deploy
           22                                                                                        liquidation engine to liquidate
                                                                                                     trader accounts.
           23
           24     Wire          7/14/2019            Reed                       BitMEX/ABS           Computer instruction to executed
                                                     (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           25                                                                                        to disparity in liquidity)
                                                                                                     manipulation profits caused by
           26                                                                                        the deliberate index price move
                                                                                                     using winner account(s) on
           27                                                                                        BitMEX.
           28
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             1
                  Wire          7/14/2019            Delo (Hong                 BitMEX/ABS            Computer instruction to transfer
             2                                       Kong)                      (San Francisco)       trader liquidation proceeds from
                                                                                                      trader wallets into Insurance
             3                                                                                        Fund bitcoin wallet.
             4    Wire          7/14/2019            Reed                       BitMEX/ABS            Computer instruction to
                                                     (Wisconsin)                (San Francisco)       electronically transfer (withdraw)
             5
                                                                                                      funds from winner account(s)
             6                                                                                        into bitcoin wallet.

             7    Wire          7/14/2019            Hayes (New                 Bitcoin Network       Instruction for electronically
                                                     York)                      (Cloud)               transferring (depositing) bitcoin
             8                                                                                        funds from bitcoin wallet to
                                                                                                      account on Coinbase exchange.
             9
           10     Wire          7/14/2019            Hayes (New                 Coinbase (San         Trading orders to convert bitcoin
                                                     York)                      Francisco)            proceeds of market manipulation
           11                                                                                         into United States dollars.

           12     Wire          7/14/2019            Hayes (New                 Coinbase (San         Instruction for electronically
                                                     York)                      Francisco)            transferring converted U.S. dollar
           13                                                                                         proceeds of market manipulation
           14                                                                                         to bank accounts of HDR Global
                                                                                                      Trading Limited, ABS Global
           15                                                                                         Trading Limited, Hayes, Delo
                                                                                                      and Reed.
           16
                  Wire          8/16/2019            Reed                       Coinbase (San         Electronic wire transfer
           17                                        (Wisconsin)                Francisco)            instructions for transferring
                                                                                                      $1,425,000 of converted proceeds
           18
                                                                                                      of market manipulation to Ligris
           19                                                                                         + Associates, 399 Boylston St f7,
                                                                                                      Boston, MA 02116, United
           20                                                                                         States.
           21     Wire          8/16/2019            Reed                       Ligris +              Electronic escrow instructions for
                                                     (Wisconsin)                Associates, 399       reinvesting $1,425,000 of
           22
                                                                                Boylston St f7,       converted proceeds of money
           23                                                                   Boston, MA            laundering into Real Estate
                                                                                02116, United         Property 2.
           24                                                                   States
           25     Wire          08/29/2019           Agata Reed                 Secretary of the      Order to form Grape Park LLC
                                                     (Massachusetts)            State of              and to add an officer Agata Maria
           26                                                                   Delaware              Reed with the purpose to conceal
           27                                                                                         or disguise the nature, the
                                                                                                      location, the source, the
           28                                                                                         ownership, or the control of the
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             1                                                                                        proceeds of unlawful activity
                                                                                                      taking place on BitMEX platform
             2                                                                                        using real estate investments in
             3                                                                                        Massachusetts.

             4    Wire          11/20/2019           Reed                       Agata Reed            Instructions to form Grape Park
                                                     (Wisconsin)                (Massachusetts)       LLC in Massachusetts, a branch
             5                                                                                        of Defendant Grape Park LLC,
                                                                                                      with the purpose to conceal or
             6                                                                                        disguise the nature, the location,
             7                                                                                        the source, the ownership, or the
                                                                                                      control of the proceeds of
             8                                                                                        unlawful activity taking place on
                                                                                                      BitMEX platform using real
             9                                                                                        estate investments in
                                                                                                      Massachusetts.
           10
           11     Wire          11/20/2019           Agata Reed                 Secretary of the      Order to form Grape Park LLC
                                                     (Massachusetts)            Commonwealth          and to add an officer Agata Maria
           12                                                                   of Massachusetts      Reed with the purpose to conceal
                                                                                                      or disguise the nature, the
           13                                                                                         location, the source, the
                                                                                                      ownership, or the control of the
           14                                                                                         proceeds of unlawful activity
           15                                                                                         taking place on BitMEX platform
                                                                                                      using real estate investments in
           16                                                                                         Massachusetts.

           17     Wire          3/12/2020            Hayes (New                 Reed                  Direction to take BitMEX
                                                     York)                      (Wisconsin)           platform offline to liquidate
           18                                                                                         traders while avoiding tapping
                                                                                                      into Insurance Fund.
           19
           20     Wire          3/12/2020            Reed                       Site Reliability      Instruction to take BitMEX
                                                     (Wisconsin)                Engineers Jerry       platform offline to liquidate
           21                                                                   Aldrich, Scott H.     traders while avoiding tapping
                                                                                and Armando           into Insurance Fund.
           22                                                                   Cerna (San
                                                                                Francisco)
           23
           24             371.       Plaintiff Razvan is informed and believes and thereon alleges that the electronic

           25     wire transmission alleged in the previous Paragraph were repeated by Defendants, almost exactly,

           26     during other Manipulation Times.

           27             372.       Additional and other facts regarding Defendants’ fraudulent wire communications

           28     are hidden from Plaintiff at this time. Such information is uniquely within Defendants’
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             1
                  possession, custody and control. To date, Defendants provided absolutely no discovery to
             2
                  Plaintiff what so ever, despite being served with multiple discovery requests, which Defendants
             3
                  stonewalled. Plaintiff accordingly reserves the right to supplement and amend these allegations
             4
                  of Defendants’ fraudulent wire communications, if appropriate or necessary, following
             5
                  completion of relevant fact discovery.
             6
                      MARKET MANIPULATION EVENT ON AUGUST 2, 2020 AND DELETION OF
             7                    EVIDENCE THEREOF BY DEFENDANTS

             8           373.       Bitcoin suffered a price drop of $1,500 within few minutes on Sunday, August 2,
             9    2020. The sudden slide caught many traders off guard, liquidating nearly $1.4 billion worth of
           10     positions across major exchanges. The price drop triggered $144 million worth of sell
           11     liquidations or forced closure of long positions on BitMEX.
           12            374.       Shortly after the crash, on August 2, 2020, at 8:44PM EDT, a brand new account
           13     suddenly popped up on the number one spot on the BitMEX Leaderboard showing nearly
           14     $120,000,000 in profit. Plaintiff Razvan is informed and believes and thereon alleges that the
           15     aforesaid Leaderboard account was the winner account of Defendants Hayes, Delo and Reed,
           16     which was used by said Defendants to capture the manipulation winnings induced by said
           17     Defendants placing large market orders with maximum slippage from helper accounts on United
           18     States based exchanges Kraken, Coinbase Pro and Kraken to deliberately move the .BXBT index
           19     price, which resulted in the aforesaid August 2, 2020, $1,500 bitcoin price crash and the $144
           20     million worth of sell liquidations of BitMEX Perpetual Swap contracts, which are priced based on
           21     the aforesaid .BXBT index price manipulated by Defendants.
           22
           23
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           27            375.       The aforesaid evidence of the winner manipulation account on BitMEX was

           28     deleted by Defendants just one hour later, at 9:45PM EDT. Plaintiff Razvan is informed and
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             1
                  believes and thereon alleges that the aforesaid Leaderboard account was accidentally listed on the
             2
                  BitMEX Leaderboard and then, upon discovery, immediately deleted by Defendants, who tried to
             3
                  cover up their market manipulation acts and destroy relevant evidence. Plaintiff Razvan is
             4
                  informed and believes and thereon alleges that the aforesaid amount of $120,000,000 in the
             5
                  winner account was Defendants’ profit from perpetrating the aforesaid bitcoin market
             6
                  manipulation event of August 2, 2020.
             7
                         376.       Plaintiff Razvan is informed and believes and thereon alleges that the second
             8
                  highest ranked BitMEX Leaderboard account Quick-Grove-Mind with almost $100,000,000
             9
                  profit is also a manipulation winner account of the Defendants that was used to capture market
           10
                  manipulation profits. The multimillion-dollar profit gains in that account exactly match the
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             1
                  known bitcoin market manipulation events that took place on or about September 24, 2019,
             2
                  November 18-19, 2019 and March 11-12, 2020, when the .BXBT index price of bitcoin was
             3
                  manipulated by Defendants by placing large sell market orders on United States based Kraken,
             4
                  Coinbase Pro and BitStamp exchanges, the pricing data from which is used in the .BXBT index
             5
                  calculation, based on which the BitMEX Perpetual Swap contract traded by Plaintiff is priced, in
             6
                  order to intentionally liquidate BitMEX retail traders, including Plaintiff. Notably, this
             7
                  manipulation winner account also miraculously avoided any and all trading losses, posting only
             8
                  multimillion-dollar market manipulation gains.
             9
                   MORE THAN HALF OF TOP BITMEX TRADERS EARNING OVER $1B IN PROFITS
           10                      ENGAGED IN MONEY LAUNDERING

           11            377.       On or about November 5, 2020, BitMEX updated its leaderboard after supposedly

           12     completing KYC and AML verification for all users. Below is a leaderboard from August 2,

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             1
                  2020, with traders who could not pass the KYC and AML verification marked. Spots on the
             2
                  leaderboard are very valuable and traders would not easily forgo being listed there. Thus, more
             3
                  than half of top BitMEX traders earning over $1B in profits were unable to pass KYC and AML
             4
                  checks and, therefore, engaged in money laundering and other illegal acts. This is truly
             5
                  staggering and it proves the truly astonishing amount of money laundering that took place on
             6
                  BitMEX, as alleged herein.
             7
                          378.      Moreover, the clear manipulator account Quick-Grove-Mind with $100M
             8
                  manipulation profits listed above, whose multi million dollar profit spikes exactly match known
             9
                  market manipulation events, magically avoiding all market losses, did not pass the KYC and
           10
                  AML checks, which is another indication that this is a market manipulator.
           11
                                                         COUNT I
           12      (Conduct Of Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
           13                   Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c))
                          379.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-377 above
           14
                  as if fully set forth herein.
           15
                          380.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           16
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count I
           17
                  Defendants”).
           18
                          381.      During Relevant Period, Enterprise engaged in activities that affect interstate
           19
                  commerce. The Count I Defendants are employed by or associated with the Enterprise.
           20
                          382.      The Count I Defendants agreed to and did conduct and participate in the conduct
           21
                  of the Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose
           22
                  of intentionally defrauding Plaintiff Razvan as well as other cryptocurrency traders and
           23
                  misappropriating their cryptocurrency holdings as well as the Purposes alleged above.
           24
                  Specifically, Count I Defendants engaged in continuous pattern of racketeering activity involving,
           25
                  among other unlawful acts, operating an unlicensed money transmitting business in violation of
           26
                  18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), monetary
           27
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           28
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             1
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
             2
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
             3
                  racketeering enterprise in violation of 18 U.S.C. § 1952. The alleged acts were perpetrated by
             4
                  Count I Defendants during Relevant Period on a daily basis, including during each of the
             5
                  Manipulation Times alleged in Paragraph 353, and continue to take place.
             6
                         383.       Pursuant to and in furtherance of their fraudulent scheme, Count I Defendants
             7
                  committed multiple related acts of operating an unlicensed money transmitting business in
             8
                  violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
             9
                  in monetary transactions in property derived from specified unlawful activity in violation of 18
           10
                  U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen
           11
                  property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           12
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           13
                         384.       The acts of operating an unlicensed money transmitting business in violation of 18
           14
                  U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           15
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           16
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           17
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           18
                  racketeering enterprise in violation of 18 U.S.C. § 1952 set forth above constitute a pattern of
           19
                  racketeering activity pursuant to 18 U.S.C. § 1961(5).
           20
                         385.       Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           21
                  each of them, took part in directing the affairs of the alleged Enterprise by engaging in a
           22
                  continuing pattern of racketeering activity involving, among other unlawful acts, operating an
           23
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           24
                  violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in property derived from
           25
                  specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C.
           26
                  § 1343, interstate transportation of stolen property in violation 18 U.S.C. § 2314 and interstate
           27
                  and foreign travel or transportation in aid of racketeering enterprise in violation of 18 U.S.C.
           28
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             1
                  § 1952.
             2
                            386.    The Count I Defendants have directly and indirectly conducted and participated in
             3
                  the conduct of the enterprise’s affairs through the pattern of racketeering and activity described
             4
                  above, in violation of 18 U.S.C. § 1962(c).
             5
                            387.    Plaintiff Razvan is informed and believes and thereon alleges that Count I
             6
                  Defendants, and each of them, (1) gave or took directions; (2) occupied a position in the "chain of
             7
                  command" through which the affairs of the Enterprise are conducted; (3) knowingly implemented
             8
                  decisions of upper management; and (4) were indispensable to the achievement of the alleged
             9
                  Enterprise’s goals.
           10
                            388.    Plaintiff Razvan is informed and believes and thereon alleges that Count I
           11
                  Defendants, and each of them, conducted or participated in the conduct of the affairs of the
           12
                  alleged Enterprise engaging in a continuing pattern of racketeering activity involving, among
           13
                  other unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C.
           14
                  § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           15
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           16
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           17
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           18
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           19
                            389.    Plaintiff Razvan is informed and believes and thereon alleges that Defendants, and
           20
                  each of them, participated in a pattern of racketeering activity, which included at least two acts of
           21
                  racketeering activity including, without limitation, at least two acts of operating an unlicensed
           22
                  money transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money
           23
                  laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions
           24
                  in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two
           25
                  acts of wire fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate transportation of
           26
                  stolen property in violation 18 U.S.C. § 2314 and at least two acts of interstate and foreign travel
           27
                  or transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952. Count I
           28
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             1
                  Defendants, and each of them, committed the alleged predicate offenses as a part of conducting or
             2
                  participating in the Enterprise, and, therefore, is liable for the violation of the RICO, 18 U.S.C. §
             3
                  1964(c).
             4
                         390.       As a direct and proximate result of the Count I Defendants’, and each of them,
             5
                  conduct of or participation in the long-running Enterprise, within the meaning of 18 U.S.C. §
             6
                  1961(4), engaging in the continuing pattern of racketeering activity involving, among other
             7
                  unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
             8
                  1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             9
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           10
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           11
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           12
                  racketeering enterprise in violation of 18 U.S.C. § 1952, Plaintiff Razvan have been domestically
           13
                  injured in its business and property in the amount to be proven at trial.
           14
                         391.       As an example, Plaintiff Razvan sustained a domestic loss of at least 226 bitcoins,
           15
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 14,
           16
                  2018, due to a liquidation cascade, when a long XBTUSD Swap position9 that Plaintiff Razvan
           17
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           18
                  trading order executed on or about November 25, 2018, on the XBTUSD order book of the
           19
                  BitMEX platform through its commericl website interface www.bitmex.com. Plaintiff Razvan is
           20
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
           21
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
           22
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
           23
                  alleged in Paragraph 359, according to a general scheme alleged in Paragraphs 5-11, 356, 363 and
           24
                  involving helper account(s) and winner account(s), which further constituted an act of unlicensed
           25
                  effective transmissions of funds, representing market manipulation winnings, from helper
           26
                  9
           27       The long XBTUSD Swap position was purchased by way of execution of BUY MARKET
                  trading order placed prior to November 25, 2018, on the XBTUSD order book of the BitMEX
           28     platform through its commericl website interface www.bitmex.com.
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             1
                  account(s) to winner account(s), which Count I Defendants willfully and deliberately caused with
             2
                  full knowledge of the nature and purpose of the funds involved in the transfer, in violation 18
             3
                  U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C.
             4
                  § 2314, in a manner alleged hereinabove.
             5
                         392.       As another example, Plaintiff Razvan sustained a domestic loss of at least 21
             6
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
             7
                  November 19, 2018, due to a liquidation cascade, when XBTUSD Swap position that Plaintiff
             8
                  Razvan directly and personally purchased and owned was liquidated or closed. Plaintiff Razvan
             9
                  is informed and believes and thereon alleges that this liquidation cascade and this loss was
           10
                  directly and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956
           11
                  and 1957 perpetrated by Defendants themselves, who acted in accordance with their individual
           12
                  roles alleged in Paragraph 359, according to a general scheme alleged in Paragraphs 5-11, 356,
           13
                  363 and involving helper account(s) and winner account(s), which further constituted an act of
           14
                  unlicensed effective transmissions of funds, representing market manipulation winnings, from
           15
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
           16
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
           17
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
           18
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           19
                         393.       The aforesaid amounts constitute concrete financial losses of Plaintiff Razvan.
           20
                  Absent Defendants’ effective transmissions of funds alleged above, these losses would not have
           21
                  taken place.
           22
                         394.       Count I Defendants’ effective transmissions of funds, alleged above, were
           23
                  conducted by Count I Defendants through the same commercial website BitMEX.com, which was
           24
                  and is being extensively used by residents of the United States and this District. Therefore, Count
           25
                  I Defendants’ effective transmissions of funds, which injured Plaintiff, were directly related to the
           26
                  Count I Defendants’ contacts with the United States and this District.
           27
                         395.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           28
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             1
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             2
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
             3
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
             4
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
             5
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
             6
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
             7
                  Specifically, Plaintiff Razvan is informed and believes and thereon alleges that three Site
             8
                  Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
             9
                  this District, BitMEX servers to freeze during manipulation times, on the direction received from
           10
                  Defendant Reed, who was located in Wisconsin.
           11
                          396.      In addition, Defendant HDR as well its California alter ego Defendant ABS is a
           12
                  single enterprise with extensive presence in this District (over 80 employees). Moreover, the
           13
                  alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
           14
                  by United States based Amazon EKS with offices in this District. Furthermore, the helper
           15
                  accounts that were vital for Defendants and other perpetrators to manipulate the prices of
           16
                  cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder funds in
           17
                  violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on United
           18
                  States based cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro, two of which
           19
                  are located in the District. Defendants transferred funds to and from those vital United States
           20
                  based accounts in order to conduct the affairs of the Enterprise.
           21
                          397.      Therefore, Count I Defendants, and each of them, are liable, jointly and severally,
           22
                  to Plaintiff Razvan under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(c)
           23
                  in the amount of triple of Plaintiff Razvan’s losses to be proven at trial.
           24
                                                        COUNT II
           25      (Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
           26              A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d))
                          398.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-396 above
           27
                  as if fully set forth herein.
           28
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             1
                         399.       This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
             2
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count II
             3
                  Defendants”).
             4
                         400.       As set forth above, the Count II Defendants agreed and conspired to violate 18
             5
                  U.S.C. § 1962(a) (b) and (c). Specifically, Count II Defendants conspired to: (1) use or invest
             6
                  income that is derived from a pattern of racketeering activity alleged hereinabove in the interstate
             7
                  Enterprise (18 U.S.C. § 1962(a)); (2) acquire or maintain interests in the Enterprise through a
             8
                  pattern of racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and
             9
                  participate in the conduct of the affairs of the Enterprise through a pattern of racketeering activity
           10
                  alleged hereinabove (18 U.S.C. § 1962(c)).
           11
                         401.       The Count II Defendants have intentionally conspired and agreed to directly and
           12
                  indirectly use or invest income that is derived from a pattern of racketeering activity in an
           13
                  interstate enterprise, acquire or maintain interests in the enterprise through a pattern of
           14
                  racketeering activity alleged hereinabove, and conduct and participate in the conduct of the affairs
           15
                  of the enterprise through a pattern of racketeering activity alleged hereinabove. The Count II
           16
                  Defendants knew that their predicate acts were part of a pattern of racketeering activity alleged
           17
                  hereinabove and agreed to the commission of those acts to further the schemes described above.
           18
                  That conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(a), (b) and (c), in violation of
           19
                  18 U.S.C. § 1962(d).
           20
                         402.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
           21
                  Defendants, and each of them, intended to further the operation of an unlicensed money
           22
                  transmitting business in violation of 18 U.S.C. § 1960(a).
           23
                         403.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
           24
                  Defendants, and each of them, intended to further the money laundering endeavor in violation of
           25
                  18 U.S.C. § 1956.
           26
                         404.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
           27
                  Defendants, and each of them, intended to further the transactions in property derived from
           28
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             1
                  specified unlawful activity in violation of 18 U.S.C. § 1957.
             2
                         405.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
             3
                  Defendants, and each of them, intended to further the wire fraud in violation of 18 U.S.C. § 1343.
             4
                         406.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
             5
                  Defendants, and each of them, intended to further the interstate transportation of stolen property
             6
                  in violation of 18 U.S.C. § 2314.
             7
                         407.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
             8
                  Defendants, and each of them, intended to further the interstate and foreign travel or
             9
                  transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952.
           10
                         408.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
           11
                  Defendants, and each of them, have been aware of the essential nature and scope of the alleged
           12
                  Enterprise and intended to participate in it.
           13
                         409.       Plaintiff Razvan is informed and believes and thereon alleges that Count II
           14
                  Defendants, and each of them, agreed to commit, or participate in, the violation of two predicate
           15
                  offenses, namely at least two acts of operating an unlicensed money transmitting business in
           16
                  violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in violation of 18 U.S.C.
           17
                  § 1956, at least two acts of engaging in monetary transactions in property derived from specified
           18
                  unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of
           19
                  18 U.S.C. § 1343, at least two acts of interstate transportation of stolen property in violation 18
           20
                  U.S.C. § 2314 and at least two acts of interstate and foreign travel or transportation in aid of
           21
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           22
                         410.       In addition, in furtherance of the alleged conspiracy, and to achieve its purposes,
           23
                  the Defendants committed and caused to be committed the following acts, among others, alleged
           24
                  in this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           25
                  leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           26
                  calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           27
                  money launderers to avoid detection by providing them with the ability to open unlimited number
           28
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             1
                  of anonymous document check-free trading accounts without any trading and withdrawal limits;
             2
                  4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
             3
                  some trading orders and reject others during large market moves to exacerbate price fluctuations
             4
                  and cause the most liquidations; and 5) regularly manipulating price of cryptocurrencies
             5
                  including, without limitation, bitcoin, by executing large market orders on illiquid spot exchanges
             6
                  in order to cause massive liquidations in traders’ derivatives positions on BitMEX.
             7
                         411.       As direct and proximate result of the Count II Defendants’ conspiracy, the overt
             8
                  acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff
             9
                  Razvan have been injured in his business and property in the amount to be proven at trial.
           10
                         412.       As a proximate result of the Count II Defendants’, and each of them, conspiracy to
           11
                  conduct or participate in the long-running Enterprise, within the meaning of 18 U.S.C. § 1961(4),
           12
                  engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
           13
                  at least two acts of operating an unlicensed money transmitting business in violation of 18 U.S.C.
           14
                  § 1960(a), at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts
           15
                  of engaging in monetary transactions in property derived from specified unlawful activity in
           16
                  violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
           17
                  least two acts of interstate and foreign travel or transportation in aid of racketeering enterprise in
           18
                  violation of 18 U.S.C. § 1952, at least two acts of interstate transportation of stolen property in
           19
                  violation 18 U.S.C. § 2314 and at least two acts as alleged in Paragraphs 317-326 and 353-365,
           20
                  Plaintiff Razvan sustained concrete and certain monetary cryptocurrency trading losses in the
           21
                  amount to be proven at trial.
           22
                         413.       As an example, Plaintiff Razvan sustained a domestic loss of at least 226 bitcoins,
           23
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 14,
           24
                  2018, due to a liquidation cascade, when a long XBTUSD Swap position that Plaintiff Razvan
           25
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           26
                  trading order executed on or about November 25, 2018, on the XBTUSD order book of the
           27
                  BitMEX platform through its commericl website interface www.bitmex.com. Plaintiff Razvan is
           28
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             1
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
             2
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
             3
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
             4
                  alleged in Paragraph 361 and according to a general scheme alleged in Paragraphs 5-11, 356, 363
             5
                  and involving helper account(s) and winner account(s), which further constituted an act of
             6
                  unlicensed effective transmissions of funds, representing market manipulation winnings, from
             7
                  helper account(s) to winner account(s), which Count II Defendants willfully and deliberately
             8
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
             9
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a), 18 U.S.C. § 1952
           10
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           11
                         414.       As another example, Plaintiff Razvan sustained a domestic loss of at least 21
           12
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           13
                  November 19, 2018, due to a liquidation cascade, when XBTUSD Bitcoin Perpetual Swaps
           14
                  position that Plaintiff Razvan directly and personally purchased and owned was liquidated.
           15
                  Plaintiff Razvan is informed and believes and thereon alleges that this liquidation cascade and
           16
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
           17
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
           18
                  their individual roles alleged in Paragraph 361 and according to a general scheme alleged in
           19
                  Paragraphs 5-11, 356, 363 and involving helper account(s) and winner account(s), which further
           20
                  constituted an act of unlicensed effective transmissions of funds, representing market
           21
                  manipulation winnings, from helper account(s) to winner account(s), which Count II Defendants
           22
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
           23
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. §
           24
                  1956(a), 18 U.S.C. § 1952 and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           25
                         415.       The aforesaid amounts constitute concrete financial losses of Plaintiff Razvan.
           26
                  Absent Defendants’ effective transmissions of funds alleged above, these losses would not have
           27
                  taken place.
           28
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             1
                         416.       Count II Defendants’ effective transmissions of funds, alleged above, were
             2
                  conducted by Count II Defendants through the same commercial website BitMEX.com, which
             3
                  was and is being extensively used by residents of the United States and this District. Therefore,
             4
                  Count II Defendants’ effective transmissions of funds, which injured Plaintiff, were directly
             5
                  related to the Count II Defendants’ contacts with the United States and this District.
             6
                         417.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
             7
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             8
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
             9
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           10
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           11
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           12
                  the location where the illegal acts and the resulting injuries as alleged herein took place. In
           13
                  addition, Defendant HDR as well its California alter ego Defendant ABS is a single enterprise
           14
                  with extensive presence in this District (over 74 employees). Specifically, Plaintiff Razvan is
           15
                  informed and believes and thereon alleges that three Site Reliability Engineers Jerry Aldrich,
           16
                  Scott H. and Armando Cerna personally caused, from within this District, BitMEX servers to
           17
                  freeze during manipulation times, on the direction received from Defendant Reed, who was
           18
                  located in Wisconsin. Moreover, the alleged illegal acts were all performed on servers and other
           19
                  IT infrastructure owned and operated by United States based Amazon EKS with offices in this
           20
                  District. Furthermore, the helper accounts that were vital for Defendants and other perpetrators to
           21
                  manipulate the prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and
           22
                  to launder funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all
           23
                  maintained on United States based cryptocurrency spot exchanges BitStamp, Kraken and
           24
                  Coinbase Pro, two of which are located in the District. Defendants transferred funds to and from
           25
                  those vital United States based accounts in order to conduct the affairs of the Enterprise.
           26
                         418.       Therefore, Count II Defendants, and each of them, are liable, jointly and severally,
           27
                  to Plaintiff Razvan under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(d)
           28
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             1
                  in the amount of triple of Plaintiff Razvan’s losses to be proven at trial.
             2
                                                       COUNT III
             3      (Use Of A Manipulative Or Deceptive Device Or Contrivance In Violation Of 7 U.S.C. §
             4                                            9(1))
                          419.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-417 above
             5
                  as if fully set forth herein.
             6
                          420.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             7
                  III Defendants”).
             8
                          421.      Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), makes it unlawful for “any person,
             9
                  directly or indirectly, to use or employ or attempt to use or employ, in connection with any swap,
           10
                  or a contract of sale of any commodity in interstate commerce, … any manipulative or deceptive
           11
                  device or contrivance, in contravention of such rules and regulations as the Commission shall
           12
                  promulgate.” Regulation 180.1 makes it unlawful for “any person, directly or indirectly, in
           13
                  connections with any swap, or contract of sale of any commodity in interstate commerce, … to
           14
                  intentionally or recklessly: (1) use or employ or attempt to use or employ, any manipulative
           15
                  device, scheme, or artifice to defraud;... (3) engage, or attempt to engage, in any act practice or
           16
                  course of business, which operates or would operate as a fraud or deceit upon any person....”
           17
                          422.      Count III Defendants, and each of them, intended to affect or acted recklessly with
           18
                  regards to affecting the prices of the bitcoin Perpetual Swap contracts and cash bitcoin and
           19
                  engaged in overt acts in furtherance of their intent.
           20
                          423.      By the foregoing conduct, Count III Defendants, and each of them, intentionally or
           21
                  recklessly used or employed or attempted to use or employ a manipulative device or artifice to
           22
                  defraud and engaged in or attempted to engage in any act, practice or course of business which
           23
                  operated or would operate as a fraud or deceit upon any person, in violation of Section 6(c)(1) of
           24
                  the CEA and Regulation 180.1. Allegations of specific acts constituting fraud set forth in
           25
                  Paragraphs 317-326 above are incorporated as if fully set forth herein.
           26
                          424.      Because the actions of Count III Defendants, and each of them, occurred within
           27
                  the scope of their employment, office, or agency with Defendant HDR, this Defendant is liable as
           28
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             1
                  a principal for their violations of Section 6(c)(1) and Regulation 180.1 pursuant to Section
             2
                  2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17 C.F.R. § 1.2 (2019).
             3
                           425.       Each and every overt action in furtherance of the attempt to manipulate prices, and
             4
                  each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(1) of
             5
                  the CEA and Regulation 180.1.
             6
                           426.       As direct and proximate result of the Count III Defendants, and each of them, use
             7
                  of a manipulative device or artifice to defraud as alleged herein, in violation of Section 6(c)(1) of
             8
                  the CEA and Regulation 180.1, including, without limitation, pumps and dumps, Barts,
             9
                  liquidation cascades and spoofing perpetrated by Count III Defendants, Plaintiff Razvan has been
           10
                  domestically injured in its business and property in the amount to be proven at trial. These acts
           11
                  were an illegitimate part of the supply-demand equation, prevented true price discovery, and
           12
                  caused artificial pricing in the cryptocurrency market.
           13
                           427.       Plaintiff Razvan directly traded XBTUSD Swap contracts at the at the time the
           14
                  alleged artificial price existed due to the wrongful conduct of Count III Defendants and each of
           15
                  them.
           16
                           428.       As an example, Plaintiff Razvan sustained a domestic loss of at least 226 bitcoins,
           17
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 14,
           18
                  2018, when a long XBTUSD Swap position that Plaintiff Razvan directly and personally
           19
                  purchased and owned was liquidated by way of a ‘SELL MARKET ALL’ trading order executed
           20
                  on or about November 25, 2018, on the XBTUSD order book of the BitMEX platform through its
           21
                  commericl website interface www.bitmex.com. The aforesaid liquidation and the associated loss
           22
                  took place by reason of an artificially low price that existed due to a liquidation cascade, which,
           23
                  on information and belief of Plaintiff Razvan, was directly and proximately caused by Count III
           24
                  Defendants’ and each of them use of manipulative or deceptive device or contrivance on that day
           25
                  as alleged in Paragraphs above. If Defendants did not use the manipulative or deceptive device or
           26
                  contrivance on that day, the artificially low price would not have existed and the liquidation
           27
                  cascade would not have taken place. In connection with the use of manipulative or deceptive
           28
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             1
                  device or contrivance, Defendants acted in accordance with their individual roles alleged in
             2
                  Paragraph 361.
             3
                         429.       As an example, Plaintiff Razvan sustained a domestic loss of at least 21 bitcoins,
             4
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 19,
             5
                  2018, when XBTUSD Bitcoin Perpetual Swaps position that Plaintiff Razvan directly and
             6
                  personally purchased and owned was liquidated by reason of an artificially low price that existed
             7
                  due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly
             8
                  and proximately caused by Count III Defendants’ and each of them use of manipulative or
             9
                  deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did not
           10
                  use the manipulative or deceptive device or contrivance on that day, the artificially low price
           11
                  would not have existed and the liquidation cascade would not have taken place. In connection
           12
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
           13
                  with their individual roles alleged in Paragraph 361.
           14
                         430.       The aforesaid amounts constitute concrete financial losses of Plaintiff Razvan.
           15
                  Absent Defendants’ use of manipulative or deceptive device or contrivance alleged above, these
           16
                  losses would not have taken place.
           17
                         431.       Count III Defendants’ uses of manipulative or deceptive device or contrivance,
           18
                  alleged above, were conducted by Count III Defendants through the same commercial website
           19
                  BitMEX.com, which was and is being extensively used by residents of the United States and this
           20
                  District. Therefore, Count III Defendants’ uses of manipulative or deceptive device or
           21
                  contrivance, which injured Plaintiff, were directly related to the Count III Defendants’ contacts
           22
                  with the United States and this District.
           23
                         432.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           24
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           25
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
           26
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           27
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           28
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             1
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
             2
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
             3
                  Specifically, Plaintiff Razvan is informed and believes and thereon alleges that three Site
             4
                  Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
             5
                  this District, BitMEX servers to freeze during manipulation times, on the direction received from
             6
                  Defendant Reed, who was located in Wisconsin. Moreover, the alleged illegal acts were all
             7
                  performed on servers and other IT infrastructure owned and operated by United States based
             8
                  Amazon EKS with offices in this District. Specifically, Plaintiff Razvan is informed and believes
             9
                  and thereon alleges that three Site Reliability Engineers Jerry Aldrich, Scott H. and Armando
           10
                  Cerna personally caused, from within this District, BitMEX servers to freeze during manipulation
           11
                  times, on the direction received from Defendant Reed, who was located in Wisconsin.
           12
                  Furthermore, the helper accounts that were vital for Defendants and other perpetrators to
           13
                  manipulate the prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and
           14
                  to launder funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all
           15
                  maintained on United States based cryptocurrency spot exchanges BitStamp, Kraken and
           16
                  Coinbase Pro, two of which are located in the District. Defendants transferred funds to and from
           17
                  those vital United States based accounts in order to conduct the affairs of the Enterprise.
           18
                          433.      Therefore, Count III Defendants, and each of them, are liable, jointly and
           19
                  severally, to Plaintiff Razvan under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           20
                                                         COUNT IV
           21         (Manipulation And Attempted Manipulation Of Bitcoin Swaps And Cash Bitcoin In
                                     Violation Of 7 U.S.C. § 9(3) and 7 U.S.C. § 13(a)(2))
           22
                          434.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-432 above
           23
                  as if fully set forth herein.
           24
                          435.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           25
                  IV Defendants”).
           26
                          436.      Section 6(c)(3) of the CEA, 7 U.S.C. § 9(3), makes it unlawful for “any person,
           27
                  directly or indirectly, to manipulate or attempt to manipulate the price of any swap or of any
           28
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             1
                  commodity in interstate commerce....”
             2
                         437.       Section 9(a)(2) of the CEA, 7 U.S.C. § 13(a)(2), makes it unlawful for “[a]ny
             3
                  person to manipulate or attempt to manipulate the price of any commodity in interstate
             4
                  commerce, … or of any swap.”
             5
                         438.       Regulation 180.2 makes it “unlawful for any person, directly or indirectly, to
             6
                  manipulate or attempt to manipulate the price of any swap, or of any commodity in interstate
             7
                  commerce,..”
             8
                         439.       Count IV Defendants, and each of them, possessed an ability to influence market
             9
                  prices of spot bitcoin and bitcoin derivatives, including Perpetual Swaps. Specifically, as Count
           10
                  IV Defendants, and each of them, accumulated hundreds of millions of dollars in bitcoin. With
           11
                  such a large amount of bitcoin available for trading, Count IV Defendants have had and continue
           12
                  to have the ability to move bitcoin market price and the price of Perpetual Swaps very
           13
                  substantially.
           14
                         440.       Plaintiff Razvan is informed and believes and thereon alleges that Count IV
           15
                  Defendants, and each of them, acting in furtherance of the manipulative, fraudulent and deceptive
           16
                  scheme to manipulate the prices of certain cryptocurrency derivatives, including, without
           17
                  limitation, bitcoin future contracts, bitcoin Perpetual Swaps, as well as the cash prices of
           18
                  cryptocurrencies, including, without limitation, cash bitcoin caused an artificial price of spot
           19
                  bitcoin and bitcoin derivatives. The artificial price was further caused by diminished investor
           20
                  confidence resulting from the abusive market conduct of Count IV Defendants.
           21
                         441.       Allegations of specific acts constituting fraud set forth in Paragraphs 317-326
           22
                  above are incorporated as if fully set forth herein. These acts were an illegitimate part of the
           23
                  supply-demand equation, prevented true price discovery, and caused artificial pricing in the
           24
                  cryptocurrency market.
           25
                         442.       Plaintiff Razvan is informed and believes and thereon alleges that Count IV
           26
                  Defendants, and each of them, caused an artificial price of spot bitcoin and bitcoin derivatives in
           27
                  order to trigger a specific price-based market event, such as a liquidation cascade or execution of
           28
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             1
                  stop loss orders of other traders.
             2
                           443.     Plaintiff Razvan is informed and believes and thereon alleges that Count IV
             3
                  Defendants, and each of them, specifically intended to cause the alleged artificial price of spot
             4
                  bitcoin and bitcoin derivatives in order to trigger a specific price-based market event, such as a
             5
                  liquidation cascade or execution of stop loss orders of other traders.
             6
                           444.     By the foregoing conduct, Count IV Defendants, and each of them, manipulated or
             7
                  attempted to manipulate the price of a swap and a price of the commodity in interstate commerce
             8
                  underlying such swap, in violation of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
             9
                  180.2.
           10
                           445.     Because the actions of Count IV Defendants, and each of them, occurred within
           11
                  the scope of their employment, office, or agency with Defendant HDR, and Defendants HDR is
           12
                  liable as a principal for their violations of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
           13
                  180.2 pursuant to Section 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17
           14
                  C.F.R. § 1.2 (2019).
           15
                           446.     Each and every overt action in furtherance of the attempt to manipulate prices, and
           16
                  each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(3)
           17
                  and 9(a)(2) of the CEA and Regulation 180.2.
           18
                           447.     Plaintiff Razvan traded (directly or indirectly) the spot bitcoin and/or bitcoin
           19
                  derivatives at the time the alleged artificial price existed due to the wrongful conduct of Count IV
           20
                  Defendants and each of them.
           21
                           448.     As an example, Plaintiff Razvan sustained a domestic loss of at least 226 bitcoins,
           22
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 14,
           23
                  2018, when a long XBTUSD Swap position that Plaintiff Razvan directly and personally
           24
                  purchased and owned was liquidated by way of a ‘SELL MARKET ALL’ trading order executed
           25
                  on or about November 25, 2018, on the XBTUSD order book of the BitMEX platform through its
           26
                  commericl website interface www.bitmex.com. The aforesaid liquidation and the associated loss
           27
                  occurred by reason of an artificially low price that existed due to a liquidation cascade, which, on
           28
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             1
                  information and belief of Plaintiff Razvan, was directly and proximately caused by Count IV
             2
                  Defendants’ and each of them market manipulation on that day as alleged in Paragraphs above. If
             3
                  Defendants did not manipulate the market, the artificially low price would not have existed and
             4
                  the liquidation cascade would not have taken place. In connection with the market manipulation,
             5
                  Defendants acted in accordance with their individual roles alleged in Paragraph 361.
             6
                         449.       As another example, Plaintiff Razvan sustained a domestic loss of at least 21
             7
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
             8
                  November 19, 2018, when XBTUSD Perpetual Swap position that Plaintiff Razvan directly and
             9
                  personally purchased and owned was liquidated by reason of an artificially low price that existed
           10
                  due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly
           11
                  and proximately caused by Count IV Defendants’ and each of them market manipulation on that
           12
                  day as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially
           13
                  low price would not have existed and the liquidation cascade would not have taken place. In
           14
                  connection with the market manipulation, Defendants acted in accordance with their individual
           15
                  roles alleged in Paragraph 361.
           16
                         450.       As a proximate result of the Count IV Defendants’, and each of them,
           17
                  manipulation or attempted to manipulation of the price of certain cryptocurrency derivatives,
           18
                  including, without limitation, bitcoin swaps, as well as the cash prices of cryptocurrencies,
           19
                  including, without limitation, cash bitcoin, which caused an artificial price of spot bitcoin and
           20
                  bitcoin derivatives, Plaintiff sustained concrete monetary cryptocurrency Domestic Injury in the
           21
                  amount to be proven at trial..
           22
                         451.       The aforesaid amounts constitute concrete financial losses of Plaintiff Razvan.
           23
                  Absent Defendants’ market manipulation alleged above, these losses would not have taken place.
           24
                         452.       Count IV Defendants’ market manipulation, alleged above, was conducted by
           25
                  Count IV Defendants through the same commercial website BitMEX.com, which was and is
           26
                  being extensively used by residents of the United States and this District. Therefore, Count IV
           27
                  Defendants’ market manipulation, which injured Plaintiff, was directly related to the Count IV
           28
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             1
                  Defendants’ contacts with the United States and this District.
             2
                          453.      Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
             3
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             4
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
             5
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
             6
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
             7
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
             8
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
             9
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           10
                  and operated by United States based Amazon EKS with offices in this District. Furthermore, the
           11
                  helper accounts that were vital for Defendants and other perpetrators to manipulate the prices of
           12
                  cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder funds in
           13
                  violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on United
           14
                  States based cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro and Defendants
           15
                  transferred funds to and from those vital United States based accounts in order to conduct the
           16
                  affairs of the Enterprise.
           17
                          454.      Therefore, Count IV Defendants, and each of them, are liable, jointly and
           18
                  severally, to Plaintiff Razvan under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           19
                                                                      COUNT V
           20                                           (Principal Agent Liability Under CEA)

           21             455.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-453 above

           22     as if fully set forth herein.

           23             456.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count

           24     V Defendants”).

           25             457.      Each Count V Defendant is liable under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §

           26     2(a)(1)(B), for the manipulative acts of their agents, representatives, and/or other persons acting

           27     for them in the scope of their employment.

           28             458.      Plaintiff Razvan sustained and is entitled to actual damages for the violations of
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             1
                  the CEA alleged herein.
             2
                                                       COUNT VI
             3     (Aiding and Abetting Manipulation Of Bitcoin Swaps And Cash Bitcoin In Violation Of 7
             4                                       U.S.C. § 25(a)(1))
                          459.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-457 above
             5
                  as if fully set forth herein.
             6
                          460.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             7
                  VI Defendants”).
             8
                          461.      Count VI Defendants, and each of them, knowingly aided, abetted, counseled,
             9
                  induced and/or procured the violations of the CEA by Andrianov and unknown third persons as
           10
                  alleged herein. In addition, Defendant ABS knowingly aided, abetted, counseled, induced and/or
           11
                  procured the violations of the CEA by Defendants HDR, Hayes, Delo and Reed. Each Count VI
           12
                  Defendant did so with knowledge of other Defendants’ and unknown third persons’ manipulation
           13
                  of cryptocurrency prices through manipulative trades, and substantially and willfully intended to
           14
                  assist these manipulations to cause artificial prices, during the Relevant Period, in violation of
           15
                  Sections 13 and 22(a)(1) of the CEA, 7 U.S.C. §§ 13c(a) and 25(a)(1). For example, Defendant
           16
                  HDR knowingly aided and abetted Andrianov and unknown third persons in violation of the CEA
           17
                  by enabling the price manipulators to open unlimited number of anonymous trading accounts on
           18
                  HDR exchange and thereby hindering detection of said manipulation. Each of the Count VI
           19
                  Defendants HDR, Hayes, Delo, Reed was responsible for implementing this policy on the
           20
                  BitMEX exchange. Moreover, Defendant HDR knowingly aided and abetted Andrianov and
           21
                  unknown third persons in violation of the CEA by providing high leverage, by deliberately
           22
                  designing BitMEX indexes based on price data for cryptocurrencies from just three exchanges –
           23
                  BitStamp, Kraken and Coinbase Pro, all three of which have way lower liquidity than BitMEX
           24
                  and by using deliberate server freezes and fraudulent “system overloads” events to accept some
           25
                  trading orders and reject others during large market moves in order to exacerbate the artificial
           26
                  prices and increase the number of liquidations to benefit Defendants. Moreover, Defendant ABS
           27
                  knowingly aided, abetted, counseled, induced and/or procured the violations of the CEA by
           28
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             1
                  Defendants HDR, Hayes, Delo and Reed by furnishing to said Defendants software tools
             2
                  designed to cause deliberate server freezes alleged hereinabove using services of at least three
             3
                  Site Reliability Engineers: Jerry Aldrich, Scott H. and Armando Cerna, who created those tools
             4
                  and who all reside in and operate from this District.
             5
                          462.       As a proximate result of the Count VI Defendants’ actions as alleged herein,
             6
                  Plaintiff Razvan sustained concrete monetary cryptocurrency Domestic Injury in the amount to be
             7
                  proven at trial.
             8
                          463.       Therefore, Count VI Defendants, and each of them, are liable, jointly and
             9
                  severally, to Plaintiff Razvan under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           10
                                                                               COUNT VII
           11                                                                  (Negligence)
           12             464.       Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-462 above
           13     as if fully set forth herein.
           14             465.       This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           15     VII Defendants”).
           16             466.       California law imposes a duty to prevent purely economic loss to third parties in
           17     financial transactions. The foundational case on this subject outlines six factors for establishing a
           18     duty to protect against economic loss: “[1] the extent to which the transaction was intended to
           19     affect the plaintiff, [2] the foreseeability of harm to him, [3] the degree of certainty that the
           20     plaintiff suffered injury, [4] the closeness of the connection between the defendant’s conduct and
           21     the injury suffered, [5] the moral blame attached to the defendant’s conduct, and [6] the policy of
           22     preventing future harm.” Biakanja v. Irving, 49 Cal. 2d 647, 650 (1958).
           23             467.       Plaintiff Razvan traded on BitMEX platform XBTUSD Bitcoin Perpetual Swaps.
           24     Plaintiff Razvan was enticed to trade on BitMEX due to Defendants’ own predatory advertising
           25     tactics. Therefore, Count VII Defendants owed a duty to Plaintiff Razvan to maintain a
           26     functional cryptocurrency derivatives marketplace. In re Facebook, Inc., IPO Securities and
           27     Derivative Litigation, 986 F. Supp. 2d 428 (S.D.N.Y. 2013) (NASDAQ owed investors a duty to
           28
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             1
                  properly process orders). Berk v. Coinbase, Case No. 18-cv-01364-VC, Dkt. 75 (Judge Chhabria
             2
                  held that Coinbase owed duty to its traders to maintain a functional cryptocurrency trading
             3
                  marketplace).
             4
                          468.       Moreover, Plaintiff Razvan is informed and believes and thereon alleges that
             5
                  Count VII Defendants, and each of them, specifically intended to affect the prices of the bitcoin
             6
                  Perpetual Swap contracts and cash bitcoin in order to trigger specific market events as alleged
             7
                  above. For example, Count VII Defendants, and each of them, intended to cause the price of
             8
                  bitcoin Perpetual Swap contracts or cash bitcoin to reach levels that would trigger liquidation
             9
                  cascades and execution of other traders’ stop loss orders, as specifically alleged above. Thus,
           10
                  Count VII Defendants, and each of them, specifically intended to affect traders like Plaintiff
           11
                  Razvan, by causing their financial ruin by triggering liquidation of their positions or by causing
           12
                  triggering of execution of their stop loss orders. Moreover, Count VII Defendants, and each of
           13
                  them, specifically intended to financially benefit from the financial ruin of other traders by buying
           14
                  spot bitcoin and bitcoin derivatives at artificially below market prices or by selling spot bitcoin
           15
                  and bitcoin derivatives at artificially above market prices. In addition, Count VII Defendants, and
           16
                  each of them, specifically intended to financially benefit from the financial ruin of other traders
           17
                  by liquidating trading positions of such trades by way of inducing artificial price moves and
           18
                  forcibly confiscating their collateral for the benefit of the Insurance Fund.
           19
                          469.       Because of Count VII Defendants’, and each of them, specific intent to trigger the
           20
                  alleged market events, financial harm and even ruin to traders like Plaintiff Razvan was
           21
                  completely and entirely foreseeable to Defendants, and each of them. In fact, it was Defendants’,
           22
                  and each of them, specific intent to become unjustly enriched by reason of financially harming or
           23
                  ruining traders like Plaintiff Razvan.
           24
                          470.       By reason of Count VII Defendants’, and each of them, breach of the legal duty to
           25
                  prevent economic harm to traders like Plaintiff Razvan, imposed by California law, Plaintiff
           26
                  Razvan sustained ascertainable, concrete and certain monetary trading losses in the amount to be
           27
                  proven at trial.
           28
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             1
                           471.       Count VII Defendants’, and each of them, conduct, namely unlawful market
             2
                  manipulation alleged above, was specifically intended to cause injury to traders like Plaintiff
             3
                  Razvan.
             4
                           472.       Count VII Defendants’, and each of them, conduct was clearly fraudulent,
             5
                  unlawful and was motivated purely by personal greed. Thus, a high degree of moral blame is
             6
                  attached to the Count VII Defendants’, and each of them, intentional spot bitcoin as well as
             7
                  bitcoin derivatives market manipulation activities.
             8
                           473.       The State of California has a strong policy of preventing future harm to traders like
             9
                  Plaintiff Razvan from unlawful and fraudulent conduct by Count VII Defendants, and each of
           10
                  them.
           11
                           474.       Accordingly, under California law, Count VII Defendants, and each of them, owed
           12
                  a legal duty to prevent economic harm to Plaintiff Razvan.
           13
                           475.       Count VII Defendants, and each of them, breached the alleged legal duty to
           14
                  prevent economic harm to Plaintiff Razvan by recklessly or negligently taking offline the
           15
                  BitMEX platform on or about March 13, 2020 and by recklessly or negligently manipulating the
           16
                  prices of spot bitcoin and bitcoin derivatives and thereby causing an economic injury to Plaintiff
           17
                  Razvan.
           18
                           476.       As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
           19
                  and each of them, negligent market manipulation activities, Plaintiff Razvan sustained certain and
           20
                  concrete monetary cryptocurrency trading losses in the amount to be proven at trial.
           21
                           477.       In addition, Count VII Defendants, and each of them, breached the legal duty to
           22
                  maintain a functional cryptocurrency marketplace by recklessly or negligently taking offline the
           23
                  BitMEX platform on or about March 13, 2020.
           24
                           478.       As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
           25
                  and each of them, breach of the legal duty to maintain a functional cryptocurrency marketplace,
           26
                  Plaintiff Razvan sustained certain and concrete monetary cryptocurrency trading losses in the
           27
                  amount to be proven at trial.
           28
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             1
                          479.      The aforesaid amount constitutes a certain and concrete financial loss of the
             2
                  Plaintiff Razvan factually (directly) and legally (proximately) caused by Count VII Defendants’,
             3
                  and each of them, unlawful conduct.
             4
                                                                               COUNT VIII
             5                                                                   (Fraud)
             6            480.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-478 above
             7    as if fully set forth herein.
             8            481.      This Count is against Defendants HDR, ABS, Hayes, Delo, Reed, Agata Reed,
             9    Barbara Reed and Trace Reed (the “Count VIII Defendants”).
           10             482.      Pursuant to California law, “fraud may arise from conduct that is designed to
           11     mislead, and not only from verbal or written statements.” Tenet Healthsystem Desert, Inc. v. Blue
           12     Cross of California (2016) 245 Cal.App.4th 821, 839 [199 Cal.Rptr.3d 901].
           13             483.      Allegations of specific acts constituting fraud set forth in Paragraphs 317-326
           14     above are incorporated as if fully set forth herein.
           15             484.      Count VIII Defendants’, and each of them, market manipulation including, without
           16     limitation, pumps and dumps, Barts and spoofing, were the conduct that was specifically designed
           17     to mislead traders like Plaintiff Razvan. For example, as alleged hereinabove, pumps and dumps,
           18     Barts and spoofing were perpetrated by Count VIII Defendants, and each of them, with the
           19     specific purpose of deceiving other market participants as to market-based forces of supply and
           20     demand for an asset and enticing unsuspecting traders, or other trading algorithms, to follow the
           21     trade and place orders that they would not have otherwise placed. Moreover, pumps and dumps,
           22     Barts and spoofing were intended by Count VIII Defendants, and each of them, to trick other
           23     market participants into reacting to an apparent change and imbalance of supply and demand by
           24     buying and selling bitcoin Perpetual Swaps at times, prices and quantities that they otherwise
           25     would likely not have traded.
           26             485.      Thus, pumps and dumps, Barts and spoofing were examples of the conduct that
           27     was specifically designed by Count VIII Defendants, and each of them, to mislead Plaintiff
           28
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             1
                  Razvan as well as other traders.
             2
                         486.       Plaintiff Razvan as well as other traders were in fact mislead by Count VIII
             3
                  Defendants’, and each of them, manipulative and fraudulent acts intended to mislead and defraud,
             4
                  including, without limitation, by pumps and dumps, Barts and spoofing perpetrated by Count VIII
             5
                  Defendants, and each of them, and placed orders that they would not have otherwise placed.
             6
                         487.       Plaintiff Razvan, at the time of the alleged manipulative and fraudulent acts
             7
                  intended to mislead and defraud, which were perpetrated by Count VIII Defendants, and each of
             8
                  them, and at the time Plaintiff Razvan took the trades herein alleged, was ignorant of the
             9
                  manipulative and fraudulent nature of conduct of the Count VIII Defendants, and each of them,
           10
                  and believed that the market conditions were in fact dictated by market forces of supply and
           11
                  demand.
           12
                         488.       Plaintiff Razvan, at the time the alleged manipulative and fraudulent acts intended
           13
                  to mislead and defraud were made by Count VIII Defendants, and each of them, and at the time
           14
                  Plaintiff Razvan took the actions herein alleged, was ignorant of secret intentions of Count VIII
           15
                  Defendants, and each of them, to mislead and defraud Plaintiff Razvan and other traders and
           16
                  Plaintiff Razvan could not, in the exercise of reasonable diligence, have discovered the secret
           17
                  intentions of Count VIII Defendants, and each of them.
           18
                         489.       Had Plaintiff Razvan known the actual facts, Plaintiff Razvan would not have
           19
                  taken such alleged actions.
           20
                         490.       If Plaintiff Razvan had known of the actual intention of Count VIII Defendants,
           21
                  and each of them, Plaintiff Razvan would not have taken the alleged trades. Plaintiff Razvan’s
           22
                  reliance on fraudulent and manipulative conduct of Count VIII Defendants, and each of them,
           23
                  was justified because Plaintiff Razvan rightfully assumed that the market conditions of spot
           24
                  bitcoin and bitcoin derivatives markets were due to the actual market forces of supply and
           25
                  demand.
           26
                         491.       As a proximate result of fraud and deceit perpetrated by Count VIII Defendants,
           27
                  and each of them, and based on the facts herein alleged, Plaintiff Razvan have been damaged in
           28
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             1
                  the amount to be proven at trial.
             2
                          492.      In doing the wrongful acts herein alleged, Count VIII Defendants, and each of
             3
                  them, acted with oppression, fraud, and malice, and Plaintiff Razvan is entitled to punitive
             4
                  damages in the amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
             5
                                                                           COUNT IX
             6                                                          (Civil Conspiracy)
             7            493.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-491 above
             8    as if fully set forth herein.
             9            494.      This Count is against Defendants HDR, ABS, Hayes, Delo, Reed, Agata Reed,
           10     Barbara Reed and Trace Reed (the “Count IX Defendants”).
           11             495.      At some time point during the Relevant Period, Count IX Defendants, and each of
           12     them, knowingly and willfully conspired and agreed among themselves to defraud traders by
           13     perpetrating a manipulative, fraudulent and deceptive scheme to manipulate the prices of certain
           14     cryptocurrency derivatives, including, without limitation, bitcoin swaps, as well as the cash prices
           15     of cryptocurrencies, including, without limitation, cash bitcoin.
           16             496.      Count IX Defendants, and each of them, did the acts and things hereinabove
           17     alleged pursuant to, and in furtherance of, the conspiracy and hereinabove alleged agreement.
           18             497.      Count IX Defendants, and each of them, furthered the alleged conspiracy by
           19     cooperation with, or by lending aid and encouragement to, or ratification and adoption of the acts
           20     of other Count IX Defendants, and each of them.
           21             498.      Count IX Defendants, and each of them, were fully aware that the other
           22     Defendants, and each of them, planned to perpetrate fraud and deceit upon Plaintiff Razvan as
           23     well as other traders.
           24             499.      Count IX Defendants, and each of them, agreed with the other Count IX
           25     Defendants, and each of them, and intended that the alleged fraud and deceit be committed upon
           26     Plaintiff Razvan and other traders.
           27             500.      As a proximate result of the fraud and deceit perpetrated by Count IX Defendants,
           28
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             1
                  and each of them, and according to the facts herein alleged, Plaintiff Razvan have been damaged
             2
                  in the amount to be proven at trial.
             3
                          501.      In doing the wrongful acts herein alleged, Count IX Defendants, and each of them,
             4
                  acted with oppression, fraud, and malice, and Plaintiff Razvan is entitled to punitive damages in
             5
                  the amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
             6
                                                           COUNT X
             7         (Unfair Business Practices In Violation Of Cal. Bus. & Prof. Code §§ 17200 et seq.)
             8            502.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-500 above
             9    as if fully set forth herein.
           10             503.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           11     Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count X
           12     Defendants”).
           13             504.      By reason of Count X Defendants’, and each of them, fraudulent, deceptive,
           14     unfair, and other wrongful conduct as herein alleged, said Count X Defendants, and each of them,
           15     have violated Cal. Bus. & Prof. Code §§ 17200 et seq. by consummating an unlawful, unfair, and
           16     fraudulent business practice, designed to deprive Plaintiff Razvan of his bitcoin holdings.
           17             505.      “The ‘unlawful’ practices prohibited by Cal. Bus. & Prof. Code §§ 17200 et seq.
           18     are any practices forbidden by law, be it civil or criminal, federal, state, or municipal, statutory,
           19     regulatory, or court-made. Watson Labs., Inc. v. Rhone-Poulenc Rorer, Inc., (C.D. Cal 2001) 178
           20     F.Supp.2d 1099, 1120; People v. McKale, (1979) 25 Cal.3d 626.
           21             506.      Count X Defendants’, and each of them, unlawful practices for purposes of Cal.
           22     Bus. & Prof. Code §§ 17200 et seq. include, without limitation, the hereinabove-alleged unlawful
           23     acts perpetrated by Defendants, and each of them, which violate the following criminal statutes:
           24             a.        18 U.S.C. § 1343 (wire fraud);
           25             b.        18 U.S.C. § 1952 (engaging in interstate and foreign travel or transportation in aid
           26     of racketeering enterprise);
           27             c.        18 U.S.C. § 1956(a) (money laundering);
           28
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             1
                          d.        18 U.S.C. § 1957(a) (engaging in monetary transactions in property derived from
             2
                  specified unlawful activity);
             3
                          e.        18 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or
             4
                  owning all or part of an unlicensed money transmitting business);
             5
                          f.        18 U.S.C. § 2314 (interstate transportation of stolen property);
             6
                          g.        18 U.S.C. § 1962(c) (conducting or participating, directly or indirectly, in the
             7
                  conduct of enterprise’s affairs through a pattern of racketeering activity);
             8
                          h.        18 U.S.C. § 1962(d) (conspiracy to conduct or participate, directly or indirectly, in
             9
                  the conduct of enterprise’s affairs through a pattern of racketeering activity);
           10
                          i.        Cal. Fin. Code § 2152(b) (engaging in unlicensed money transmitting business in
           11
                  California);
           12
                          j.        31 U.S.C. § 5318(h)(1) (failing to establish an anti-money laundering program at a
           13
                  financial institution);
           14
                          k.        31 U.S.C. § 5318(l) (failing to implement reasonable procedures to verify the
           15
                  identity of any person seeking to open an account, failing to maintain records of information used
           16
                  to verify a person’s identify, and failing to consult lists of known or suspected terrorists or
           17
                  terrorist organizations);
           18
                          l.        31 U.S.C. § 5322(a) (criminal violation of Bank Secrecy Act);
           19
                          m.        31 U.S.C. § 5322(c) (criminal violation of Bank Secrecy Act);
           20
                          n.        18 U.S.C. § 371 (conspiracy to commit offense or to defraud United States); and
           21
                          o.        Cal. Pen. Code § 496 (certain transactions in property that has been stolen or that
           22
                  has been obtained in any manner constituting theft or extortion).
           23
                          507.      Count X Defendants’, and each of them, ‘unlawful’ practices for purposes of Cal.
           24
                  Bus. & Prof. Code §§ 17200 et seq. further include, without limitation, the hereinabove-alleged
           25
                  unlawful acts perpetrated by Count X Defendants, and each of them, that violate the following
           26
                  civil statutes:
           27
                          p.        7 U.S.C. § 9(1) (using a manipulative or deceptive device or contrivance in
           28
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             1
                  connection with bitcoin Perpetual Swaps and cash bitcoin);
             2
                         q.         7 U.S.C. § 9(3) (manipulation and attempted manipulation of bitcoin Perpetual
             3
                  Swaps and cash bitcoin);
             4
                         r.         7 U.S.C. § 13(a)(2) (manipulation and attempted manipulation of bitcoin Perpetual
             5
                  Swaps and cash bitcoin).
             6
                         s.         7 U.S.C. § 6(a) (2018), or, alternatively, 7 U.S.C. § 4(b) and 17 C.F.R. § 48.3
             7
                  (2019) (offering, entering into, confirming the execution of, or otherwise dealing in, off-exchange
             8
                  commodity futures transactions);
             9
                         t.         7 U.S.C. § 6c(b) (2018), and 17 C.F.R. § 32.2 (2019) (offering, entering into,
           10
                  confirming the execution of, or transacting in off- exchange transactions in commodity options);
           11
                         u.         7 U.S.C. § 6d (2018) (acting as an unregistered FCM);
           12
                         v.         7 U.S.C. § 7b-3(1) (2018), and 17 C.F.R. § 37.3(a)(1) (2019) (operating a facility
           13
                  for the trading or processing of swaps without being registered as a SEF or as a DCM);
           14
                         w.         17 C.F.R. § 166.3 (2019) (failing to supervise); and
           15
                         x.         17 C.F.R. § 42.2 (2019) (failing to comply with applicable provisions of the Bank
           16
                  Secrecy Act).
           17
                         508.       Allegations of specific acts constituting fraud set forth in Paragraphs 317-326
           18
                  above are incorporated as if fully set forth herein. These acts constitute “fraudulent, deceptive,
           19
                  unfair” acts for purposes of Cal. Bus. & Prof. Code §§ 17200 et seq.
           20
                         509.       Thus, by reason of the foregoing, Count X Defendants have violated Bus. & Prof.
           21
                  Code §§ 17200 et seq. by consummating an unlawful, unfair, deceptive and fraudulent business
           22
                  practice, designed to deprive Plaintiff Razvan of his bitcoin holdings.
           23
                         510.       By reason of the foregoing and as a proximate result of Count X Defendants’, and
           24
                  each of them, violation of Cal. Bus. & Prof. Code §§ 17200 et seq. as herein alleged, Plaintiff
           25
                  Razvan has been damaged in the amount to be proven at trial.
           26
                         511.       Therefore, Plaintiff Razvan is entitled to restitution from Count X Defendants, and
           27
                  each of them, in the amount to be proven at trial.
           28
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             1                                                        COUNT XI
                                                            (Unjust Enrichment (Restitution))
             2
                          512.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-510 above
             3
                  as if fully set forth herein.
             4
                          513.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
             5
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XI
             6
                  Defendants”).
             7
                          514.      As a result of the unlawful actions of c set forth hereinabove, Count XI
             8
                  Defendants, and each of them, have received a financial benefit at the expense of Plaintiff
             9
                  Razvan.
           10
                          515.      Count XI Defendants, and each of them, had knowledge of the alleged benefit.
           11
                          516.      Count XI Defendants, and each of them, voluntarily accepted and retained the
           12
                  benefit obtained.
           13
                          517.      For example, Defendants Agata Reed, Barbara Reed and Trace Reed are in
           14
                  possession of two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA
           15
                  02061, with the aggregate market value of over $2,500,000, acquired using funds misappropriated
           16
                  from Plaintiff through market manipulation and laundered by Defendants through the Defendant
           17
                  Unknown Exchange and thir real estate money laundering scheme.
           18
                          518.      The circumstances render Count XI Defendants’ retention of the benefit
           19
                  inequitable unless Count XI Defendants, and each of them, pay to Plaintiff Razvan the value of
           20
                  the benefit.
           21
                          519.      Count XI Defendants, and each of them, have been unjustly enriched at the
           22
                  expense of Plaintiff Razvan.
           23
                          520.      Plaintiff Razvan is entitled to damages as a result of Count XI Defendants’, and
           24
                  each of them, unjust enrichment, including the disgorgement of all benefits unlawfully obtained
           25
                  by Count XI Defendants, and each of them, from Plaintiff Razvan.
           26
                          521.      As a result of the actions of Count XI Defendants, and each of them, set forth
           27
                  hereinabove, Defendants, and each of them, became unjustly enriched, and as a result thereof,
           28
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             1
                  Plaintiff Razvan is entitled to damages in the amount to be proven at trial, which constitutes a
             2
                  certain and concrete financial loss of the Plaintiff Razvan factually (directly) and legally
             3
                  (proximately) caused by Count XI Defendants, and each of them, unlawful conduct.
             4
                                                                         COUNT XII
             5                                                        (Constructive Trust)
             6            522.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-520 above
             7    as if fully set forth herein.
             8            523.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
             9    Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XII
           10     Defendants”).
           11             524.      By reason of the fraudulent and otherwise wrongful manner in which the Count
           12     XII Defendants, or any of them, obtained their alleged right, claim or interest in and to the
           13     property of Plaintiff Razvan, Count XII Defendants and each of them, have no legal or equitable
           14     right, claim or interest therein, but, instead, Count XII Defendants, and each of them are
           15     involuntary trustees holding said property and profits therefrom in constructive trust for Plaintiff
           16     Razvan with the duty to convey the same to Plaintiff Razvan forthwith.
           17
                                                                               COUNT XIII
           18                                                                  (Accounting)

           19             525.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-523 above

           20     as if fully set forth herein.

           21             526.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown

           22     Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XIII

           23     Defendants”).

           24             527.      As a result of the actions of Count XIII Defendants, and each of them, set forth

           25     hereinabove, Count XIII Defendants, and each of them, have received money, which is due to

           26     Plaintiff Razvan from Count XIII Defendants, and each of them, as previously alleged.

           27             528.      The amount of money due from Count XIII Defendants to Plaintiff Razvan is

           28     unknown to Plaintiff Razvan and cannot be ascertained without an accounting of the receipts and
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             1
                  disbursements of Count XIII Defendants, and each of them, in connection with the alleged
             2
                  unlawful market manipulation by Count XIII Defendants.
             3
                          529.      Plaintiff Razvan has demanded an accounting of the aforementioned receipts and
             4
                  disbursements of Count XIII Defendants, and each of them, in connection with the alleged
             5
                  unlawful market manipulation and payment of the amount found due, but Count XIII Defendants,
             6
                  and each of them, have failed and refused, and continue to fail and refuse, to render such an
             7
                  accounting and to pay such sum.
             8
                                                                               COUNT XIV
             9                                                                 (Conversion)

           10             530.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-528 above

           11     as if fully set forth herein

           12             531.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Hayes,

           13     Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XIV Defendants”).

           14             532.      During the Relevant Period, Plaintiff was and still is the owner and is entitled to

           15     the possession of the following property, namely his valuable bitcoin holdings deposited in

           16     Plaintiff’s BitMEX trading account.

           17             533.      At various times mentioned in this Complaint, Defendants took the above-

           18     mentioned property, including Plaintiff’s valuable bitcoin holdings deposited in Plaintiff’s

           19     respective BitMEX and Kraken trading accounts from Plaintiff’s possession and converted the

           20     same to their own use.

           21             534.      For example, Defendants Agata Reed, Barbara Reed and Trace Reed are in

           22     possession of two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA

           23     02061, with the aggregate market value of over $2,500,000, acquired using funds misappropriated

           24     from Plaintiff through market manipulation and laundered by Defendants through the Defendant

           25     Unknown Exchange and their real estate money laundering scheme.

           26             535.      As a proximate result of Defendants’ conversion alleged herein, Plaintiff Razvan is

           27     entitled to damages in the amount to be proven at trial, which constitutes a certain and concrete

           28     financial loss of Plaintiff Razvan factually (directly) and legally (proximately) caused by Count
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             1
                  XIV Defendants, and each of them, conversion.
             2
                                                                     COUNT XV
             3                                             (Aiding and Abbeting Conversion)

             4            536.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-534 above

             5    as if fully set forth herein.

             6            537.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Hayes,

             7    Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XV Defendants”).

             8            538.      During the Relevant Period, Plaintiff was and still is the owner and is entitled to

             9    the possession of the following property, namely his valuable bitcoin holdings deposited in

           10     Plaintiff’s BitMEX trading account.

           11             539.      At various times mentioned in this Complaint, Defendants knowingly aided and

           12     abbeted perpetrators in taking the above-mentioned property, including Plaintiff’s valuable

           13     bitcoin holdings deposited in Plaintiff’s respective BitMEX trading account from Plaintiff’s

           14     possession and converting the same to their own use.

           15             540.      Defendants benefited significantly from the laundering of the converted bitcoin, as

           16     Defendants earned fees on each transaction involving the bitcoin converted from Plaintiff.

           17             541.      As a proximate result of Defendants’ aiding and abetting conversion alleged

           18     herein, Plaintiff Razvan is entitled to damages in the amount to be proven at trial, which

           19     constitutes a certain and concrete financial loss of Plaintiff Razvan factually (directly) and legally

           20     (proximately) caused by Count XV Defendants, and each of them, conversion.
                                                                       COUNT XVI
           21
                                                               (Aiding and Abbeting Fraud)
           22             542.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-540 above
           23     as if fully set forth herein.
           24             543.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Hayes,
           25     Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XVI Defendants”).
           26             544.      During the Relevant Period, Plaintiff was and still is the owner and is entitled to
           27     the possession of the following property, namely his valuable bitcoin holdings deposited in
           28
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             1
                  Plaintiff’s BitMEX trading account.
             2
                          545.      At times and in the manner alleged herein, perpetrators wrongfully took possession
             3
                  of the valuable bitcoin holdings of Plaintiff Razvan by fraud.
             4
                          546.      At various times mentioned in this Complaint, Defendants knowingly aided and
             5
                  abbeted perpetrators in taking the above-mentioned property by fraud, including Plaintiff’s
             6
                  valuable bitcoin holdings deposited in Plaintiff’s respective BitMEX trading account from
             7
                  Plaintiff’s possession.
             8
                          547.      Defendants benefited significantly from the laundering of the converted bitcoin, as
             9
                  Defendants earned fees on each transaction involving the bitcoin converted from Plaintiff.
           10
                          548.      As a proximate result of Defendants’ aiding and abbeting fraud as alleged herein,
           11
                  Plaintiff Razvan is entitled to damages in the amount to be proven at trial, which constitutes a
           12
                  certain and concrete financial loss of Plaintiff Razvan factually (directly) and legally
           13
                  (proximately) caused by Count XVI Defendants, and each of them, wrongful acts.
           14
                                                                     COUNT XVII
           15                                              (Violation of Cal. Pen. Code § 496)

           16             549.      Plaintiff Razvan incorporates the allegations set forth in Paragraphs 1-547 above

           17     as if fully set forth herein.

           18             550.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Hayes,

           19     Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XVII Defendants”).

           20             551.      California Penal Code Section 496(a) provides “Every person who buys or

           21     receives any property that has been stolen or that has been obtained in any manner constituting

           22     theft or extortion, knowing the property to be so stolen or obtained, or who conceals, sells,

           23     withholds, or aids in concealing, selling, or withholding any property from the owner, knowing

           24     the property to be so stolen or obtained, shall be punished by imprisonment in a county jail for not

           25     more than one year, or imprisonment pursuant to subdivision (h) of Section 1170.” Section

           26     496(c) provides that “Any person who has been injured by a violation of subdivision (a) . . . may

           27     bring an action for three times the amount of actual damages, if any, sustained by the plaintiff,

           28     costs of suit, and reasonable attorney’s fees.”
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             1
                         552.       Count XVII Defendants violated Section 496 by aiding the perpetrators in
             2
                  concealing or selling or withholding stolen property from the owners, knowing the property was
             3
                  stolen or obtained in a manner constituting theft.
             4
                         553.       Count XVII Defendants knew the property was stolen or obtained in a manner
             5
                  constituting theft, both because, among other things, Defendants were informed that market
             6
                  manipulation and money laundering are rampant on the BitMEX platform, and because of the
             7
                  suspicious volume and frequency of transactions on the BitMEX exchange as a result of the
             8
                  market malupulation and money laundering activities.
             9
                         554.       Count XVII Defendants aided the perpetrators in concealing or selling or
           10
                  withholding stolen property from the owners, knowing the property was stolen or obtained in a
           11
                  manner constituting theft, by, among other things, failing to take steps to freeze accounts on the
           12
                  BitMEX exchange through which the perpetrators were engaging in transactions involving the
           13
                  stolen bitcoin.
           14
                         555.       As a direct and proximate result of the foregoing, Plaintiff suffered the loss of
           15
                  property in the amount to be proven at trial. Pursuant to Section 496(c), Plaintiff seeks three times
           16
                  the amount of actual damages sustained, costs of suit, and reasonable attorney’s fees.
           17
                                                                               PRAYER
           18
                         By reason of the foregoing, Plaintiff Razvan respectfully request that this Court:
           19
                         (a)        enter a judgment that Defendants, and each of them, conducted or participated in
           20
                  the conduct of enterprise’s affairs through a pattern of racketeering activity in violation of 18
           21
                  U.S.C. § 1962(c);
           22
                         (b)        enter a judgment that Defendants, and each of them, conspired to conduct or
           23
                  participate in the conduct of enterprise’s affairs through a pattern of racketeering activity in
           24
                  violation of 18 U.S.C. § 1962(d);
           25
                         (c)        enter a judgment that Defendants, and each of them, have used deceptive or
           26
                  manipulative device in connection with cryptocurrencies Perpetual Swap contracts,
           27
                  cryptocurrencies swaps and cash cryptocurrencies in violation of 7 U.S.C. § 9(1);
           28
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             1
                         (d)        enter a judgment that Defendants, and each of them, have manipulated prices of
             2
                  cryptocurrencies Perpetual Swap contracts, cryptocurrencies swaps and cash cryptocurrencies in
             3
                  violation of 7 U.S.C. §§ 9(3) and 13(a)(2);
             4
                         (e)        enter a judgment that Defendants, and each of them, have aided and abetted
             5
                  manipulation of prices of cryptocurrencies Perpetual Swap contracts, cryptocurrencies swaps and
             6
                  cash cryptocurrencies by the other Defendants and third persons;
             7
                         (f)        enter a judgment that Defendants, and each of them, have acted negligently;
             8
                         (g)        enter a judgment that Defendants, and each of them, have perpetrated fraud upon
             9
                  Plaintiff Razvan;
           10
                         (h)        enter a judgment that Defendants, and each of them, have conspired to perpetrate
           11
                  fraud upon Plaintiff Razvan;
           12
                         (i)        enter a judgment that Defendants, and each of them, have aided and abetted fraud
           13
                  upon Plaintiff Razvan;
           14
                         (j)        enter a judgment that Defendants, and each of them, have converted Plaintiff
           15
                  Razvan’s valuable property;
           16
                         (k)        enter a judgment that Defendants, and each of them, have aided and abetted
           17
                  conversion of Plaintiff Razvan’s valuable property;
           18
                         (l)        enter a judgment that Defendants, and each of them, have engaged in unfair
           19
                  business practices in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.;
           20
                         (m)        enter a judgment that Defendants, and each of them, have engaged in violation of
           21
                  Cal. Pen. Code § 496;
           22
                         (n)        preliminarily and permanently enjoin Defendants, and each of them, their officers,
           23
                  subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in
           24
                  active concert with them, from any further violation of Federal and California laws;
           25
                         (o)        enter a judgment that Defendants, and each of them, because unjustly enriched at
           26
                  the expense of Plaintiff Razvan;
           27
                         (p)        impose a constructive trust over Defendants, and each of them, for the benefit of
           28
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             1
                  Plaintiff Razvan;
             2
                         (q)        order an accounting of the alleged receipts and disbursements of Defendants, and
             3
                  each of them, in connection with the alleged unlawful market manipulation and payment of the
             4
                  amount found due to Plaintiff Razvan;
             5
                         (r)        enter judgment that Defendants, and each of them, acted with malice, fraud and
             6
                  oppression;
             7
                         (s)        award compensatory damages to Plaintiff Razvan and against all Defendants, and
             8
                  each of them, jointly and severally, in the amount to be proven at trial.
             9
                         (t)        award treble damages to Plaintiff Razvan and against all Defendants, and each of
           10
                  them, jointly and severally, in the amount to be proven at trial pursuant to 18 U.S.C. § 1964(c);
           11
                         (u)        award reasonable attorney fees, costs and prejudgment interest to Plaintiff Razvan
           12
                  and against all Defendants, and each of them, jointly and severally;
           13
                         (v)        award Plaintiff Razvan exemplary and punitive damages, pursuant to Cal. Civ.
           14
                  Code § 3294, against all Defendants, and each of them, jointly and severally, in the amount of
           15
                  $50,000,000; and
           16
                         (w)        award Plaintiff Razvan such other relief as this Court deems just and proper.
           17
           18     Dated: November 13, 2020                                               Respectfully submitted,

           19                                                                            By: /s/ Pavel I. Pogodin
                                                                                                Pavel I. Pogodin
           20
                                                                                         CONSENSUS LAW
           21                                                                            Pavel I. Pogodin, Ph.D., Esq.
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                                                                                         Suite 302
           23                                                                            Carolina, PR 00979
                                                                                         United States of America
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           25                                                                            Email: pp@consensuslaw.io
                                                                                         Attorneys for Plaintiff Păun Gabriel-Razvan
           26
           27
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             1                                                DEMAND FOR JURY TRIAL
             2
             3            Pursuant to Fed. R. Civ. P. 38, Plaintiff Razvan demands trial by jury of all issues triable
             4    to a jury.
             5
                  Dated: November 13, 2020                                               Respectfully submitted,
             6
                                                                                         By: /s/ Pavel I. Pogodin
             7                                                                                  Pavel I. Pogodin
             8                                                                           CONSENSUS LAW
             9                                                                           Pavel I. Pogodin, Ph.D., Esq.
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           11                                                                            United States of America
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